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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


WILLIAM E. AMOR                         )
                                        )
      Plaintiff,                        )
                                        )
vs.                                     )         No.18 CV 02523
                                        )
NAPERVILLE POLICE OFFICERS              )
MICHAEL CROSS; ROBERT                   )
GUERRERI; THE ESTATE OF MARK            )
CARLSON; BRIAN CUNNINGHAM;              )
JON RIPSKY; OTHER                       )
UNIDENTIFIED NAPERVILLE                 )
POLICE OFFICERS; AND THE CITY           )
OF NAPERVILLE,                          )
                                        )
Defendants.                             )


                    DISCLOSURE OF THE EXPERT OPINIONS OF
                         DAVID J. ICOVE, Ph.D., P.E., DFE
                   SUBMITTED ON BEHALF OF THE DEFENDANTS

                                  June 17, 2021




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I.     INTRODUCTION

This is a report of the forensic fire engineering analysis conducted into the September
10, 1995, fire at an apartment located at 218 East Bailey in Naperville, Illinois. [AMOR
0269]1. Residents at the time were Plaintiff William E. Amor, his wife Tina M. Amor,
and mother-in-law Marianne Miceli who died during the fire incident.

After a joint investigation by the City of Naperville Police and Fire Departments, Mr.
Amor was charged on October 9, 1995 [DEF 643] and found guilty on September 17,
1997, of aggravated arson and first-degree murder [DEFS 3225]. He was sentenced to 45
years imprisonment on October 28, 1997 [DEFS 3225]. Mr. Amor filed a petition for
post-conviction relief based upon his argument of new evidence in his case. After a
hearing on April 6, 2017, Mr. Amor’s conviction was vacated in DuPage County Circuit
Court. Released on May 30, 2017, he was acquitted after a bench trial on February 21,
2018.

On April 9, 2018. Mr. Amor filed in the U.S. District Court for the Northern District of
Illinois, Eastern Division, a ten-count civil complaint against the City of Naperville and
certain Naperville police officers alleging they caused him to be wrongfully prosecuted,
convicted and imprisoned for murder and aggravated arson.

At the center of this case are Mr. Amor’s self-incriminating statements to the police and
a prosecutor regarding the fire’s origin and cause. Mr. Amor revealed that the fire
started due to him knocking a lit cigarette onto newspapers onto which he had
previously spilled vodka on [Doc. 1, ¶25]. After a hearing on April 6, 2017, the Circuit
Court of DuPage County vacated Amor’s conviction, explaining "There can be no question
that the lynchpin of the State's case at trial was the defendant's confession, which the State and
Defense experts today agree it is scientifically impossible.” [Doc. 1, ¶43].

This report summarizes the events surrounding this fire incident. It concludes (1) the
City of Naperville’s fire investigation in 1995 met the standards of care at that time, (2)
the Plaintiff’s expert, Douglas Carpenter, failed to correctly apply the scientific method
to the facts of this case, and (3) the fire’s cause was a lit cigarette landing on and igniting
newspapers within the southwest corner of the living room of the apartment.




1    References to a document number, [“Doc. __”], [“Bates Stamp __”], or [“Exhibit __”], refer to
     the number assigned to each document as it is designated on the Court’s docket for this case
     or by the parties in discovery materials.

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II.   DISCLOSURE

This report contains my forensic fire engineering analysis and expert opinions as
submitted to attorney Joseph M. Polick, Esq., from The Sotos Law Firm, P.C., Chicago,
Illinois. Mr. Polick’s law firm represents the Defendants in this case.

Appendix A lists the documents, information, and data reviewed, and references relied
upon in the preparation of this report. Appendix B lists my qualifications and
publications over the last ten years, along with my expert testimony in other cases for at
least the preceding four years. Appendix C contains documents pertinent to NFPA 1033.

Every effort has been made to minimize the inclusion of protected information,
documents, or testimony of a confidential or proprietary nature with regards to this
case that are included in this report. Any photographs are respectfully displayed with
sensitive areas blocked, where appropriate.

If any additional pertinent information, data, and references become available through
first-hand observations, further analysis, facts presented by experts before the court
through depositions or other disclosures, the opinions expressed in my expert
disclosure may be amended or revised.

Compensation has been invoiced to the Defendants for professional engineering
services in this matter at the rate of $400 per hour.

Exhibits that may be used in court proceedings to summarize or support my opinions in
this case include figures and tables in this report as well as any document, standard, or
report listed in the Appendices. In addition, I may use at the trial as exhibits any
materials and documents I have reviewed.

III. PROFESSIONAL BACKGROUND AND QUALIFICATIONS

I am a Board-Certified Diplomate Forensic Engineer by the National Academy of
Forensic Engineers (NAFE). My specialties include forensic fire engineering and fire
scene reconstruction.

My educational qualifications include a B.S. in Fire Protection Engineering, B.S. and
M.S. degrees in Electrical Engineering, and a Ph.D. in Engineering Science and
Mechanics. Professional certifications include a licensure as a Professional Engineer in
nineteen (19) states. I am a Certified Fire Investigator, a Certified Fire and Explosion
Investigator, and a Certified Fire Protection Specialist. This experience includes prior
certification as a firefighter and emergency medical technician.




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For more than 45 years I have investigated the origin, cause, and responsibility for fires
and explosions. This includes 27 years as a law enforcement investigator on the federal,
state, and local levels. During this time period, I investigated over 1,000 fires and
explosions, supervised fire investigation units on the local and federal levels and
participated in establishing and applying professional standards of care.

I have authored numerous scientific and academic publications, textbooks, and patents
in the field of fire and explosion investigations. I presently serve as a full-time
engineering professor at a large state university and have a consulting practice that
delivers fire investigation seminars worldwide.

I am frequently called upon to conduct peer reviews, training, and research on matters
involving fire and explosion investigations. These peer reviews consist of civil and
criminal cases, papers submitted to academic journals, and management review of
public and private organizations.

I am familiar with the legal qualification requirements in federal, state, and local court
proceedings in both civil and criminal matters. Prior testimony has included forensic
fire scene reconstructions, peer reviews of professional standards of conduct,
motivation of arsonists, and the impact of spoliation. I have testified three times before
United States Congressional Committees developing legislative initiatives on the
investigation of the crimes of arson and bombing and other violent crime matters.

IV. SUMMARY OF PROFESSIONAL OPINIONS

Based upon my forensic engineering review of the reports, data, depositions, court
filings, evidence, documents disclosed to date, and my experience in the field along
with the published standards of care in the fire and explosion investigation field in both
1995 and in 2021, I offer of the following opinions about the origin and cause2 of the fire
and investigations conducted by the City of Naperville and the Plaintiff’s expert,
Douglas J. Carpenter:

Opinion #1 - The investigation initiated and coordinated by the City of Naperville into
the September 10, 1995, apartment fire at 218 East Bailey, Naperville, Illinois, met in
1995 the minimum professional standards of professional practice for applying the



2   NFPA 921, 2021 Edition, Ch. 3.3.76, defines a fire investigation as “The process of
    determining the origin, cause, and development of a fire or explosion.” NFPA 921, Ch.
    3.3.140 defines a fire’s origin as “The general location where a fire or explosion began.”
    NFPA 921, Ch. 3.3.71 defines a fire’s cause as “The circumstances, conditions, or agencies that
    bring together a fuel, ignition source, and oxidizer (such as air or oxygen) resulting in a fire or
    combustion explosion.”

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Scientific Method to the origin and cause in the field of fire and explosion
investigations.

Opinion #2 - The investigation by Douglas J. Carpenter into the September 10, 1995,
apartment fire at 218 East Bailey, Naperville, Illinois, failed to meet the minimum
professional standards of professional practice in the field of fire and explosion
investigations by not correctly applying the scientific method to the facts of this case.

Opinion #3 – Based upon today’s standards of care as well as the standards in effect in
1995, a forensic engineering analysis of the fire in this case, to a reasonable degree of
engineering certainty, confirms that the fire started in the area of origin as determined
by the City of Naperville, and observed by Mr. William Amor and Ms. Marianne Miceli.
The fire’s cause was, with an engineering degree of certainty, a lit cigarette landing on
and igniting newspapers within that area of origin, a human act resulting in an
incendiary fire.3

The professional standards of care4 on which this analysis and opinions are based rely
upon the fundamental fire and engineering sciences recognized in internationally
accepted treatises in the field of fire and explosion investigations. These standards of
care are frequently cited in criminal and civil court cases as well as in the leading
international textbook on arson prosecution by Decker and Ottley.5

The standards used in this review include the latest present day expert treatises and
those in effect in 1995 in the field of fire and explosion investigations. These standards
include the National Fire Protection Association (NFPA) Guide for Fire and Explosion
Investigations (NFPA 921, 2021 Edition), the Standard for Professional Qualifications




3   NFPA 921 (2021 Edition). Guide for Fire and Explosion Investigations, National Fire
    Protection Association, Quincy, MA., defines an incendiary fire as “[a] fire that is imemionally
    ignited in an area or under circumstances where and when there should not be a fire.” All references
    to NFPA 921 are to the current 2021 edition unless otherwise noted.

4   Professional standards of care for example for engineers often concern their ethical or legal
    duty to “[t]he exercise of such care, skill, and diligence as other professional engineers ordinarily
    exercise under like circumstances in the same geographic area.” (National Society of Professional
    Engineers, www.nspe.org).
5   Decker, J. F. and B. L. Ottley (2009). Arson Law and Prosecution. Durham, NC, Carolina
    Academic Press.


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for Fire Investigator (NFPA 1033, 2014 Edition),6 and forensic standards published by
ASTM International.7 Appendix “A” contains a comprehensive list of these and other
standards that I relied upon.

V.     APPLICABLE FIRE INVESTIGATION METHODOLOGY

As with other professions involving technology-driven interpretations and expert
conclusions based upon observations, data, and principles of forensic science, the
investigation of fires and explosions requires an accepted science-based methodology.

NFPA 921 guides how a fire investigation is conducted using a formal process of
determining the origin, cause, and development of a fire or explosion incident. NFPA
1033 sets forth the exacting job performance responsibilities that individuals shall
adhere to in conducting these investigations.

        A.      Approaching all Fire Investigations

There is often a discussion as to what sustained level of the initial effort that an
investigator should attain, particularly when the origin and cause of a fire is not
immediately known. The leading authority on this subject is Kirk’s Fire Investigation,
whichclearly states:

        A fire investigation can begin while the fire is still burning or may not begin until
        long after suppression due to circumstances of the fire or the resulting criminal or
        civil litigation. Every fire should be investigated to detect the crime of arson, or to
        seek out dangerous products or practices to preserve the safety of the community.
        If feasible, every good fire scene investigation begins with an initial “non-
        invasive” survey of the scene and its immediate surroundings. (See Kirk’s Fire
        Investigation, p. 298, Section 5.2) (Emphasis added).

This advice is vital to the success of the inquiry. The resulting methodology in the most
reliable investigations are those that concentrate their efforts at the fire scene. From




6    NFPA 1033 (2014 Edition). Professional Qualifications for Fire Investigator, National Fire
     Protection Association, Quincy, MA. References to NFPA 1033 are to the current 2014
     edition unless otherwise noted.
7    ASTM International, formerly known as American Society for Testing and Materials, is an
     organization that develops and publishes voluntary consensus technical standards used in
     forensic engineering investigations involving materials, products, systems, and services.


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these on-scene examinations, information gleaned is often useful in interviews for
suggesting lines of inquiry, corroborating, or dismissing conclusions.

          B.      Prevailing Standards of Care

The methodology and opinions expressed in this report rely upon both the 1995 and
2021 editions of NFPA 921 – Guide for Fire and Explosion Investigations. The latest
edition of NFPA 921 was approved and issued by the NFPA Standards Council on April
5, 2020, with an effective date of April 25, 2020. The 1995 edition of NFPA 921 was
approved and issued by the NFPA Standards Council on January 13, 1995, with an
effective date of February 7, 1995.

This report also relies upon NFPA 921’s companion standard, the 1993 and 2014
Editions of NFPA 1033 – Professional Qualifications for Fire Investigator. The 1993
edition was approved by the NFPA Standards Council on January 15, 1993, with an
effective date of February 12, 1993. The latest 2014 edition was approved by the NFPA
Standards Council on May 28, 2013, with an effective date of June 17, 2013, which
supersedes all previous editions.

The 2014 edition of NFPA 1033 was also approved as a National Standard on June 17,
2013, by the American National Standards Institute (ANSI). See Table 1 for a list of
present-day requirements for NFPA 1033. For the purposes of present-day testimonies,
the latest 2021 edition of NFPA 921 and the 2014 edition of NFPA 1033 supersede all
previous editions. However, when appropriate, this report may refer to one or both.

The universally recognized and generally accepted methodology cited by both NFPA
9218 and NFPA 10339 for conducting investigations into the determination of the origin
and cause of fires, and related issues, is based upon the use of the scientific method.10



8    Per NFPA 921, 2021 Edition, Ch. 1.3.2, “As every fire and explosion incident is in some way unique
      and different from any other, this document is not designed to encompass all the necessary
      components of a complete investigation or analysis of any one case. The scientific method,
      however, should be applied in every instance.” (Emphasis added).
9    Per NFPA 1033, 2014 Edition, Ch. 4.1.2, states “The fire investigator shall employ all elements
      of the scientific method as the operating analytical process throughout the investigation and for the
      drawing of conclusions.” (Emphasis added). Per NFPA 1033, the 1993 Edition does not include
      specifically mention the scientific method.
10   Per NFPA 921, 2021 Edition, Ch. 3.3.167, Scientific Method is “The systematic pursuit of
     knowledge involving the recognition and formulation of a problem; the collection of data through
     analysis and experimentation; analysis of the data; the formation, evaluation and testing of
     hypotheses; and, where possible, the selection of a final hypothesis.”


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         C.       The Scientific Method

The scientific method process is recursive in that it takes all available data11 and sources
of information into consideration. At the same time, it continuously refines and explores
various “working” hypotheses12 until arriving at a final validated and verified
hypothesis, which becomes the professional conclusion or opinion.13 See Figure 2
detailing how working hypotheses are formed and applied within the scientific method.

Although he began his professional career as a barrister, Francis Bacon (1561–1626) is
best known for establishing and popularizing inductive logic or reasoning for
conducting critical scientific inquiries. His method of inductive logic extracts
knowledge through observation, experimentation, and testing of hypotheses.

The critical underpinning of forensic fire scene reconstruction is applying relevant
scientific principles and research in conjunction with a systematic examination of the
scene. This is particularly important for cases that later require expert witness opinions
stressed by the National Academy of Sciences. 14

The basic concepts of the scientific method are the iterative process to observe,
document, hypothesize, test, reassess, and conclude, particularly when developing
working hypotheses. This method, as shown in Figure 1, embraces sound scientific and
fire protection engineering principles combined with peer-reviewed research and
testing. This methodology is considered the best approach for conducting forensic fire
scene analysis and reconstruction.




11   Per ASTM E1138-89, ASTM International, data are “Facts or information to be used as a basis for
     discussion or decision.”
12   Per ASTM E1138-89, ASTM International, a hypothesis is “A supposition or conjecture put
     forward to account for certain facts, and used as a basis for further investigation by which it may be
     proved or disproved.”
13   Per ASTM E1138-89, ASTM International, an opinion is “A belief or judgment based on facts and
     logic, but without absolute proof of its truth.”
14   Center, F. J., & National Research Council. (2011). Reference manual on scientific evidence.
     National Academies Press.

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                     Step 1. - Recognize the                  eed                   step 7 - Selec.t the
               Respond io loss. protact scene, ssess rnsource.s                     F inal Hypothesis
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                                                                                        or Opinion "'
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                        Step ,4- - A naly-z.e the• Data
                         {Inductive Reason ing)
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               or lfre ,~namlcs, loss hJs<1:crles. l'lrn tests.. .aind
               e.xl3enrnen - deia
         ..    l'l:a,cQmm&ru:I cha         in worlklng nyi:,o , esls




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               analyslS"
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              S1:,e p 6 - Test the Wo:rkiing Hypotheses
                         (DeductiV,e. Reasoni ng)
               Compare hypalims$S ID a km,,.., facts, inCKte.nc
               ol pr'for loss ~ries, authtirltallve 1it£1 Lest dat.!I ,
               SOUl'ld put:illish tr@Illlses·. aM IDlper\m,ents
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Figure 1. Flowchart outlining the scientific method integral to NFPA 921 as it applies to
fire scene investigation and reconstruction.

Source: Icove, D. J. & Haynes, G.A. (8th Edition, 2018) Kirk’s Fire Investigation,
Pearson-Prentice Hall, Upper Saddle River, New Jersey




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              Fire
            Dynamics                Professional                   Fire
              and                  Guidelines and                 Pattern
            Modeling                  Standards                  Analysis




         Fire                                                            Human
        Testing                                                         Behavior

                                       Working
                                      Hypothesis

                                                                      Witness
      Rre Scene                                                      Statements
     Assessment



              Fire and
              Explosion             Environmental               Forensic
                  Loss               Interactions               Evidence
               Histories



Figure 2. Sources of information that may contribute to working hypotheses as it
applies to fire scene investigation and reconstruction.

Source: Icove, D. J. & Haynes, G.A. (8th Edition, 2018) Kirk’s Fire Investigation,
Pearson-Prentice Hall, Upper Saddle River, New Jersey.




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                                                                              ICOVE 14
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VI. THE FIRE INCIDENT

The following is a synopsis of the information and events leading up to, during, and
after the fire incident. This report breaks down the incident as reported and
documented through a summary of these events with references, where available of the
information source.

        A.     Weather Conditions

The Chicago O’Hare International Airport Station for September 10, 1995, at 6:00 p.m.
reported partly clouded conditions with the outside temperature of 61 degrees
Farenheight, dew point 43 Farenheight, humidity 52 percent, the wind direction of East
Northeast at 10 miles per hour, wind gusts at 0 miles per hour, barometric pressure
29.58 inches, with zero precipitation.

These data were obtained through Weather Underground.15 The data are consistent
with observations recorded by the City of Naperville Fire Department [DEFS 12046] and
the Illinois State Fire Marshal’s Office, Division of Arson Investigation [DEFS 12269].

        B.     Description of the Apartment

The apartment complex where the fire occurred is located at 218 East Bailey, Naperville,
Illinois. Apartment M as shown in Figure 3, was a two-bedroom unit located on the top
floor of a three-story building. It had carpeted floor except for the bathroom and
kitchen, gypsum board walls, and a balcony with a sliding glass door.

A wall mounted unit provided air conditioning and heating ran through baseboard
radiators. The door to the apartment opened into an enclosed hallway. The balcony
faced an inner courtyard [AMOR 021138]. Figure 4 shows a more detailed dimensional
layout of Apartment M indicating the location of rooms, doors, furniture, and the
location of the bedroom where the victim was found. [AMOR 021139]. The apartment
descriptions are taken from other sources, reports, and photographs from the materials
supplied.


15   These data were obtained through Weather Underground. The data are consistent with
     observations recorded by the City of Naperville Fire Department [DEFS 12046] and the
     Illinois State Fire Marshal’s Office, Division of Arson Investigation [DEFS 12269] Data
     obtained from Weather Underground, a commercial weather service providing real-time
     weather information over the Internet. Its information comes from the National Weather
     Service (NWS), and over 250,000 personal weather stations
     https://www.wunderground.com/history/daily/KORD/date/1995-9-10 (last visited May
     18, 2021).


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                                                                                ICOVE 15
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 PLANC                                                               Units H & M
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 With Dk Ii IQ Area
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                                                                 11'0' X14'9"




                                         IOtcllffl
                                        8' (7' X 8' (7'


                                     --BB--




   PLANC

                 200 E. BAILEY RD.. NAPERVILLE, ILUNOIS 60565



Figure 3. Floorplan layout of Apartment M at 218 East Bailey, Naperville, Illinois.
[AMOR 021137].


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                                                                                 ICOVE 16
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                    . FAMII y
                     26'11 X 25'1
                                    C   i·~ _ , 1




                                                    36'2·- - - - - - - - - > l

Figure 4. The detailed dimensional layout of Apartment M showing rooms, doors,
furniture, and location of the victim. [AMOR 021139].

      C.     The Fire Incident

William E. Amor, his wife Tina M. Amor, and mother-in-law Marianne Miceli were
living together in Apartment M at the time. After the fire and later that evening, Ms.
Amor reconstructed the events of earlier that day in a detailed interview conducted by
Investigator Michael Cross, Naperville Police Department. Present for parts of the
interview were Ms. Amor’s uncle and aunt, Gary and Pam Leavenworth. [SDT-SAO
5131].

Ms. Amor told Inv. Cross that she woke up earlier that day between 11:30 and 11:45
a.m. Both Mr. Amor and Ms. Miceli were already awake. Mr. Amor was not feeling well

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                                                                            ICOVE 17
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and slept on the couch the previous night because of an unknown illness. At 1:30 p.m.,
Ms. Amor and her mother, Ms. Miceli, left the apartment to purchase cigarettes, then
went to pick up a pizza and returned to the apartment. [SDT-SAO 5131].

Everyone but Mr. Amor ate the pizza while watching football on the television. At some
point, Mr. Amor, sitting on the couch with his wife, got up and went to lay on the floor,
where she later joined him. At approximately 6:00 p.m., Ms. Miceli went to her bedroom
to take a nap and told Ms. Amor that she was setting the clock alarm to wake at 7:00
p.m. so she could watch the Emmy Awards. [SDT-SAO 5131].

According to Ms. Amor, before she and Mr. Amor left the apartment at approximately
6:30 p.m., and she was sitting in her mother’s chair smoking a cigarette while Mr. Amor
was giving Ms. Miceli a back rub in her bedroom. As they left, Ms. Miceli was on the
telephone talking with a friend, Dorothy Atten. [SDT-SAO 5132].

Part of Inv. Cross’s interview with Ms. Amor covered the layout and furnishings of the
apartment, any problems with appliances, and any gas odors. Ms. Amor related that
they had problems with electrical appliances in the kitchen which would blow fuses
and she had trouble keeping the pilot light lit on their stove, which required a visit from
the gas company. She described that most of the furnishings were “old hand-me-
downs.” [SDT-SAO 5132].

Regarding the sliding glass door to the balcony, Ms. Amor stated that it might have
been open a “crack” normally. She related that the door opened on the right towards
the air conditioner and a pile of boxes. She also earlier related and reconfirmed that she
tripped on the chair in the room and spilled some lighter fluid. Asked about her
mother’s door, Ms. Amor stated that she remembers it was open. [SDT-SAO 5144].

In a later interview on September 14, 1995, Ms. Amor provided Inv. Cross with
additional information about the apartment. She stated that her mother’s chair was
often referred to by residents as “her throne,” where Ms. Miceli spent much of her day.
[SDT-SAO 5143].

In a handwritten statement later given on September 15, 1995, to Investigator Brian
Cunningham, Mr. Amor stated that while preparing a drink containing vodka, he
knocked over the bottle, spilling it on newspaper laying between the chair, couch, and
coffee table. On the coffee table was a burning candle. [SDT-SAO 5110]. Mr. Amor also
annotated a diagram of the scene illustrating this event as shown in Figure 5. [SDT-SAO
22777].




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                                                                               ICOVE 18
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Figure 5. Annotated diagram provided September 15, 1995, Mr. Amor detailed the
locations of the vodka bottle, candle, and the newspapers laying between the chair,
couch, and coffee table. The area where the newspapers were laying and where Mr.
Amor reported the lit cigarette landed is highlight in Yellow. [SDT-SAO 22777].




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                                                                            ICOVE 19
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On the rear of the Mr. Amor’s handwritten voluntary statement to City of Naperville
investigators on September 15, 1995, notes describe the conditions of the apartment and
other potential ignition sources. [DEFS 820]. These notes included: (1) patio door had
vertical blinds made of a woven cloth and they would open to the left, (2) the rear of the
TV had nothing on the floor, (3) VCR was under the TV on the TV stand, (4) video tapes
(approx. 15) were in the TV stand, (5) nothing in between chair & TV in front of patio
doors, (6) TV was shut off, (7) no lighting outside, (8) air conditioning not running, (9)
and no smoke or sparks from TV.

Before leaving the apartment with his wife, Mr. Amor turned off the television set, left
the light on for the lamp adjacent to Ms. Miceli’s reclining chair, and locked the front
door as they left. [SDT-SAO 5110; SDT-SAO 5133]. Note that the exact time the Amors
give for leaving the apartment that evening varies, 6:20 p.m. [DEFS 676]; 6:20 - 6:25 p.m.
[DEFS 704]; and 6:30 p.m. [DEFS 658 and 667].

On October 4, 1995, at 1:14 a.m., Mr. Amor provided more details regarding the events
leading up to when he left the apartment, with Ms. Amor leaving a minute or so
afterward. He wrote in his voluntary statement that before getting up to use the
restroom, he bumped the ashtray, knocking his cigarette onto the newspaper where the
vodka had also been spilled. [DEFS 819]. He deliberately did not pick up the cigarette,
“knowing a fire would probably result.” He added that “The [fire] loss was meant to be
minimal for personal gain. No harm was ever supposed to come to any person or persons.”
[SDT-SAO 5114].

In a recorded interview on October 4, 1995, from 2:11 through 2:14 a.m., by Mr. Amor,
after signing his written statement and reciting it verbatim, provided more information
to Naperville Police Department Investigators Robert Guerrieri and Michael Cross. Mr.
Amor confirmed that he knocked the cigarette onto the paper on purpose, saw smoke
coming from the paper, both knew and anticipated that a fire was about to start, and
that he just didn’t care. [SDT-SAO 5116 & 10690-10692, People’s Exhibit 22J].

On October 4, 1995, at 5:10 a.m., Naperville Police Department Investigators Robert
Guerrieri and Michael Cross were joined by prosecutor Brian Nigohosian. During that
taped interview with all three present, Mr. Amor provided additional details about his
involvement in setting the fire. Mr. Amor indicated that he had vaguely communicated
this plan to his wife in a letter written from jail three months before the fire.

With regards to pre-planning, Mr. Amor devised the plan while he was in the DuPage
County Jail after he married Tina, April 15, 1995 [SDT-DCPDO 5753], and before the
September 10, 1995, fire. Mr. Amor told the prosecutor during this recorded interview
that he was seeking financial gain and that the location of the cigarette was "in the
corner where he previously was", he started to see smoke, but not flame, and he left the
apartment 2-3 minutes thereafter. [SDT-SAO 3418-19].

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                                                                              ICOVE 20
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In a signed document on November 1, 1995, prosecutor Brian Nigohosian memorialized
his October 4, 1995, taped interview with Mr. Amor. [DEFS 733-737]. Mr. Amor told Mr.
Nigohosian that after intentionally knocking the lit cigarette onto the newspapers to
start a fire, he then went into Marianne Miceli’s bedroom, where she asked him to give
her a back rub. Ms. Amor then came into the bedroom and, after seeing Mr. Amor
giving her mother a backrub, became upset, and an argument between them ensued.

Mr. Amor stated he was desperate and wanted to get out of the apartment where he,
Ms. Amor, and Ms. Miceli were living, but he lacked the money. Mr. Amor repeatedly
stated that he started the fire to collect money, a concept that he developed and
discussed with a fellow inmate named “Mike” and others when incarcerated in the
DuPage County jail. Mr. Amor also discussed with those inmates potential methods,
including tainting Ms. Miceli’s medication to concoct an overdose. Mr. Amor even
wrote to Ms. Amor and told her of his plan to get money to leave the apartment. He
even thought about collecting Ms. Miceli’s life insurance which he estimated to be
around $10 to $15 thousand dollars.

During the taped interview, Mr. Amor again stated that the purpose of the fire was to
obtain insurance money to get them out of their present apartment into another home.
He indicated at the time that he and his wife were in a desperate financial straits. [SDT-
SAO 5123]. He stated that his actions that evening would create a situation where there
was a strong possibility that a fire would result. [SDT-SAO 5125]. He concluded the
taped interview, stating, “Everything I have said I said at least once and the truth and
from my heart.” [SDT-SAO 5126].

After the Amors left the apartment, Ms. Miceli called the Emergency 911 center at 6:40
p.m., stating that smoke was coming into her bedroom. She left the bedroom and placed
the fire in a burning chair which she could not pass to reach the balcony.

During the last portion of the call, Ms. Miceli indicates she is overcome by smoke,
coughing could be heard, and then there is silence. [SDT-SAO 5027-5028]. Table 1 is the
narrative of this call, listing an approximate recording time. Notice that the narrative for
the initial call on the tape occurs at 00:09 seconds, and Ms. Miceli fails to respond to the
911 operator starting at 01:18 seconds, which is a total call duration of just over 1
minute.




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                                                                               ICOVE 21
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Table 1. The Narrative of the Emergency 911 Call from at 6:40 p.m. from Ms. Miceli
listing an approximate Relative Recording Time in Seconds. [DEFS 05613].

   Relative
  Recording     Speaker                                 Narrative
    Time
  (seconds)
     00:00                Noise
     00:09    A. Haidu:   911
     00:11    Miceli:     Yes! There is smoke coming through *my bedroom.
     00:13    A. Haidu:   There is smoke coming through your bedroom?
     00:14    Miceli:     Yes, I'm in the one, two eighteen east Bailey.
     00:19    A. Haidu:   Okay, can you get out of the apartment?
     00:21    Miceli:     Ahh, No, I cannot the...the fire is in the way.
     00:24    A. Haidu:   The fire is in the way?
     00:26    Miceli:     There is a fire.
     00:27    A. Haidu:   Okay, I...can you try to stay to the ground?
     00:32    Miceli:     Okay.
     00:33    A. Haidu:   Okay, low to the ground, all right hold on while I get em going. Okay?
     00:36    Miceli:     Hold.
     00:36    A. Haidu:   What apartment number are you in?
     00:37    Miceli:      “M”
     00:39    A. Haidu:   Apartment “M”?
     00:40    Miceli:     Yes.
              A. Haidu:   Okay.
     00:48    A. Haidu:   Do you know what started the fire?
     00:50    Miceli:     Ah, no I don't I just came out and the chair was on fire.
     00:54    A. Haidu:   Okay, you can't get past the chair?
     00:56    Miceli:     I can't get past the chair No.
     00:57    A. Haidu:   Do you have a balcony?
     00:58    Miceli:     Yes I do.
              A. Haidu:   All right can you...
     01:01    Miceli:     This chair is right by the balcony, and it's also by the main entrance.
     01:04    A. Haidu:   Okay, hold on...
     01:06    Miceli:     I'm, I'm overcome with smoke.
     01:08    A. Haidu:   Okay open your windows. Can you open a window?
     01:10    Miceli:     Yes I can.
     01:13    A. Haidu:    Okay, go open the window. If it comes...
     01:15    Miceli:     (Coughing)
                          (Silence)
     01:17    A. Haidu:   Can't you leave the house?
     01:18    A. Haidu:   Hello.
     01:20    A. Haidu:   She says she is overcome with smoke, she can't get out of the apartment.
     01:25    A. Haidu:   It's a chair fire.
     01:32    A. Haidu:   Hello...Hello.
     01:35    A. Haidu:   Hello.
              Unknown:    Fire.
     01:53    A. Haidu:   I hear somebody yelling fire



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                                                                                    ICOVE 22
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VII. OPINION #1 – CITY OF NAPERVILLE INVESTIGATION

Opinion #1 - The investigation initiated and coordinated by the City of Naperville into
the September 10, 1995, apartment fire at 218 East Bailey, Naperville, Illinois, met in
1995 the minimum professional standards of professional practice for applying the
Scientific Method to the origin and cause in the field of fire and explosion
investigations.

Professions relying upon forensic-driven interpretations and expert conclusions require
as their foundation the application of generally accepted science-based and peer-
reviewed methodologies. Over time, professional standards in the forensic sciences
evolve to the point where the experts in these fields develop job performance
requirements founded upon science and engineering-based methodologies.

Examples in the forensic science/engineering field include the international standards-
making committees of ASTM International’s Committee E05 on Fire Standards,
Committee E30 on Forensic Sciences, and Committee E58 on Forensic Engineering.

The leading organization involved in developing fire protection engineering standards
nationally and internationally is the NFPA’s Standards Council, which meets
throughout the year to review and approve standards designed by international
committees of experts in a wide range of subjects.

For example, in the field of fire and explosion investigations, the NFPA has developed
two recognized peer-reviewed professional standards exist: NFPA 921 and NFPA 1033.
Both of these standards were developed, written, and peer-reviewed by a committee of
international experts and approved by the NFPA Standards Council. NFPA 921 and
NFPA 1033 address the procedures, practices, competencies, standards, and
methodologies for conducting fire and explosion investigations.

The fire investigators' standards fall directly on the Job Performance Responsibilities
(JPRs) captured in NFPA 1033. However, the knowledge required in support of these
JPRs is contained in NFPA 921 and other expert treatises in the field of fire
investigation.16




16   NFPA 1033, 2014 Edition, Ch. 1.2.2 states that “Job performance requirements for each duty
     are the tasks an individual must be able to perform in order to successfully carry out that
     duty; however, they are not intended to measure a level of knowledge. Together, the duties
     and job performance requirements define the parameters of the job of fire investigator.”


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                                                                                    ICOVE 23
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         A.     Summary of the Opinion that the City of Naperville’s
                Investigation Meets the Standards of Care

A peer review17 of the investigation initiated and coordinated by the Defendants into
the September 10, 1995, apartment fire at 218 East Bailey, Naperville, Illinois, met the
minimum professional standards of professional practice in 1995 for reporting opinions
by scientific or technical experts in the field of fire and explosion investigation.

Regarding the application of NFPA 1033, their investigation meets the requirement of
both the 1993 and 2014 Editions. Therefore in applying the 2014 Edition, the City of
Naperville also meets today’s standard of care at the time of my report in 2021.

The significant findings, which are described and documented in detail in the following
sections, are that the City of Naperville team investigation was not a rush to judgment,
but a well-documented and methodical probe that met the job performance
requirements of NFPA 1033. The following is a synopsis of the team’s approach to this
case that ensured they complied with NFPA 1033 as well as the scientific method:

     ▪   Was comprehensive, methodical, explored all relative evidence, and
         incorporated peer review by the prosecutor and outside experts.
     ▪   On September 10, 1995, Naperville Fire Investigator David Ferreri led the
         systematic examination of the apartment rooms and contents. His conclusion,
         along with the rest of the investigation team, was “that this fire’s ignition is
         suspicious in nature.” The fire was not at that time classified at to cause. [AMOR
         011710].
     ▪   Initial September 10, 1995, Supplemental reports by Naperville Police
         Department Investigator M. Cross list the case as a “Sudden Death, Suspicious
         Circumstances.”
     ▪   On September 11, 1995, the Naperville Police Department submitted a
         Laboratory Request Form to have evidence and control samples tested for
         potential presence of accelerants. [DEFS 177].
     ▪   On September 11, 1995, a “Critique of Incident” meeting was scheduled for
         September 14, 1995. [AMOR 0013].




17   The term peer review is defined as “A practice of independent and unbiased evaluation of sound
     engineering principles, judgement and their proper application in the conceptional approach and
     technical basis of a work product.” 2020 Guidelines for Peer Review in the Fire Protection
     Design Process, Society of Fire Protection Engineers, Gaithersburg, Maryland


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                                                                                         ICOVE 24
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   ▪   Starting on September 14, 1995, the City of Naperville Police Department
       conducted extensive neighborhood interviews to seek out any additional
       information on the fire. [DEFS 68-71; DEFS 695-662].
   ▪   Obtained telephone toll records. [DEFS 192-198].
   ▪   On September 11, 1995, City of Naperville investigative team attended and
       documented the autopsy at the DuPage County Coroner and determined the
       type of burns and the manner of death being smoke inhalation causing carbon
       monoxide poisoning. [AMOR 0007]
   ▪   The investigation met the standards of professional care not only in 1995 but also
       in the present.
   ▪   Although the Scientific Method was not a cited requirement by NFPA 1033 in the
       1993 Edition, there is more than adequate documentation that their investigation
       conformed to this method.
   ▪   Lt. David Ferreri requested an outside expert, Special Agent Mitchell S. Kushner,
       an investigator with the Illinois State Fire Marshal’s Office, to assist the City of
       Naperville investigators in systematically developing potential hypotheses for
       the origin and cause of the fire. [SDT-ISFM 01 - SDT-ISFM 09].
   ▪   To better understand the Fire’s cause, the Officers also engaged outside extensive
       testing by an engineering firm to understand potential causation better.
Finally, in my experience as a former supervisor of a local and federal arson and
explosions investigations units, I have no widespread criticisms of the activities and
management of this investigation.

       B.     Professional Qualifications and Levels of Performance
              Required for Fire Investigators

The methodology and opinions expressed in this report rely upon both the 1995 and
2021 editions of NFPA 921 – Guide for Fire and Explosion Investigations. The 2021
edition was approved and issued by the NFPA Standards Council on April 5, 2020, with
an effective April 25, 2020. The 1995 edition was approved and issued by the NFPA
Standards Council on January 13, 1995, with an effective date of February 7, 1995. This
report also relies upon NFPA 921’s companion standard, the 1993 and 2014 Editions of
NFPA 1033 – Professional Qualifications for Fire Investigator. For present-day
testimonies, the latest 2021 edition of NFPA 921 and the 2014 edition of NFPA 1033
supersede all previous editions. However, when appropriate, this report may refer to
one or both.




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                                                                               ICOVE 25
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Table 2. Professional Levels of Job Performance as listed in the standard NFPA 1033 –
Professional Qualifications for Fire Investigator for the years 1993 and 2014.

                1993 2014                        Job Performance Requirements
             3-1.1 4.1.1 The fire investigator shall meet the job performance requirements defined
                         in Sections 4.2 through 4.7.
General            4.1.2 Employ all elements of the Scientific Method as the operating analytical
Requirements             process
for a Fire         4.1.3 Complete site safety assessments on all scenes
Investigator 3-1.2 4.1.4 Maintain necessary liaison with other interested professionals and entities.
                         Adhere to all applicable legal and regulatory requirements
             3-1.3 4.1.5 Understand the organization and operation of the investigative team and
                   4.1.6 incident management system


            3-2.2 4.2.1 Secure the fire ground
            3-2.3 4.2.2 Conduct an exterior survey
Scene       3-2.4 4.2.3 Conduct an interior survey
Examination 3-2.5 4.2.4 Interpret fire patterns
            3-2.6 4.2.5 Interpret and analyze fire patterns
            3-2.7 4.2.6 Examine and remove fire debris
            3-2.8 4.2.7 Reconstruct the area of origin
            3-2.9 4.2.8 Inspect the performance of building systems
Documenting 3-3.2 4.3.1 4.2.9
                        Diagram Discriminate
                                  the scene the effects of explosions from other types of damage
the Scene   3-3.3 4.3.2 Photographically document the scene
            3-3.4 4.3.3 Construct investigative notes
               3-4.2 4.4.1 Utilize proper procedures for managing victims and fatalities,
Evidence       3-4.4 4.4.2 Locate, collect, and package evidence
Collection and 3-4.3 4.4.3 Select evidence for analysis
Preservation 3-4.5 4.4.4 Maintain a chain of custody
               3-4.6 4.4.5 Dispose of evidence
                3-5.2 4.5.1 Develop an interview plan
Interview       3-5.3 4.5.2 Conduct interviews
                3-5.4 4.5.3 Evaluate interview information
                3-6.2 4.6.1 Gather reports and records
Post-Incident   3-6.3 4.6.2 Evaluate the investigative file
Investigation   3-6.4 4.6.3 Coordinate expert resources
                3-6.5 4.6.4 Establish evidence as to motive and/or opportunity
                3-6.6 4.6.5 Formulate an opinion concerning origin, cause, or responsibility for the
                            fire
                3-7.2 4.7.1 Prepare a written report
Presentations   3-7.3 4.7.2 Express investigative findings verbally
                3-7.4 4.7.3 Testify during legal proceedings
                3-7.5 4.7.4 Conduct public informational presentations


Source: Updated from D.J. Icove and G.A. Haynes. 2007. “Guidelines for Conducting Peer
Reviews of Complex Fire Investigations.” (Fire and Materials Conference, San Francisco,
California, January 29-31, 2007.)

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                                                                                            ICOVE 26
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        C.     Applying a Standard of Care Analysis to Fire Investigations

Determining whether the City of Naperville conducted a competent and thorough
investigation, requires a “Standard of Care” analysis consisting of a peer review.

When conducting an engineering peer review “standards of care analysis” in evaluating
forensic fire investigations, NFPA 1033, NFPA 921, ASTM International, and related
forensic standards all play an important role. These standards cover individuals in both
the public and private sectors. They document whether sufficient information has been
gathered to apply the Scientific Method properly. The recognized authorities on
conducting peer reviews of complex fire investigations using the Scientific Method to
measure those investigations have existed for many years. 18

The primary test in a “standard of care” peer review of a fire investigator’s analysis
scrutinizes the report to determine sufficient documentation of empirical data, proper
methodologies, and sound bases for the opinions reached. The reviewer then decides if
the expert applied the proper methodologies and established sound scientific bases for
the proffered opinions. The final test is whether an independent expert or peer
reviewer, following the same processes, would correctly arrive at the same or closely
similar conclusion(s).

        D.     General Requirements for a Fire Investigator

             4.1.1 The fire investigator shall meet the job performance
NFPA 1033    requirements defined in Sections 4.2 through 4.7.
             4.1.2 Employ all elements of the Scientific Method as the operating
General      analytical process
Requirements 4.1.3 Complete site safety assessments on all scenes
for a Fire   4.1.4 Maintain necessary liaison with other interested professionals
Investigator and entities.
             4.1.5 Adhere to all applicable legal and regulatory requirements
             4.1.6 Understand the organization and operation of the investigative
             team and incident management system


The first set of the NFPA 1033 JPRs consist of the general requirements section.
Regarding the investigation conducted in 1995 by the City of Naperville Police and Fire




18   Icove, D.J. & Haynes, G.A. (2007). “Guidelines for Conducting Peer Reviews of Complex Fire
     Investigations.” (Fire and Materials Conference, San Francisco, California, January 29-31,
     2007.) (References updated, October 2, 2011)


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Departments, all of these requirements were met in this case. These requirements are
also met to today’s standard of care at the time of this report in 2021.

The bases to support this conclusion include but are not limited to the following
citations within the investigation :

     ▪   Scientific Method. Although the Scientific Method appears in the 2014 Edition
         of NFPA 1033, it was not cited in the 1993 Edition. Yet the Scientific Method
         was used by the City of Naperville here as the operational, analytical process
         by considering multiple hypotheses.
         In this original fire scene investigation, investigators examined and
         documented each room, including those uninvolved with fire. Investigators
         postulated several hypotheses, collected evidence, conducted interviews,
         examined other natural and accidental forms of ignition, inquired about any
         problems and examined electrical and natural gas utilities, checked appliances,
         brought in outside experts for peer review, had engineering tests performed,
         and used this information to test those hypotheses. Other experts confirmed
         that this method was used. [AMOR 021280].
     ▪   Site Safety. Documented in the General Data Sheet, September 10, 1995,
         entitled the “Naperville Fire Investigation Team,” the City shows its
         compliance with present-day standards of care for site safety. The protocol
         addresses weather conditions, identifies on-site investigators, and the
         disconnection of utilities. [AMOR 0209-0211; DEFS 645].
     ▪   Liaison and Investigative Team. Documented in the General Data Sheet,
         September 10, 1995, entitled the “Naperville Fire Investigation Team,” the City
         shows the participation of the Illinois State Fire Marshal’s Office. [AMOR 0209-
         0211; DEFS 645]
         The investigators further examined the potential electrical causes of ignition
         from the contribution of the television set, an electric lamp, and other artifacts.
         They relied upon external electrical engineering expertise and testing of this
         evidence [DEFS 05366-05390; AMOR 307-308; DEFS 487-490; DEFS 597]
     ▪   Legal and Regulatory. The City of Naperville complied with legal and
         regulatory requirements for legally accessing scenes and obtaining records.
     ▪   The City of Naperville use a combined team of both Fire and Police
         investigators.
Opinion. Regarding the investigation conducted in 1995, the City of Naperville met all
of these requirements here. The City also met today’s standard of care in these areas.




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         E.   Scene Examinations

            4.2.1      Secure the fire ground
NFPA 1033   4.2.2      Conduct an external survey
            4.2.3      Conduct an interior survey
Scene       4.2.4      Interpret fire patterns
Examination 4.2.5      Interpret and analyze fire patterns
            4.2.6      Examine and remove fire debris
            4.2.7      Reconstruct the area of origin
            4.2.8      Inspect the performance of building systems
            4.2.9      Discriminate effects of explosions from other types of damage

The second set of the NFPA 1033 JPRs consist of scene examinations section. Regarding
the investigation conducted in 1995, the City of Naperville Police and Fire Departments
met all of these requirements in this case. These requirements are also met to today’s
standard of care at the time of this report in 2021.

The bases to support this conclusion include but are not limited to the following
citations within the investigation:

     ▪    Securing the Fire Ground. Documentation exists that scene security was
          enforced by the posting of uniformed police officers at the scene. Only fire
          personnel were allowed access to the building. [DEFS 645].
     ▪    External Survey. Starting on September 14, 1995, the City of Naperville Police
          Department conducted extensive neighborhood interviews to seek out any
          additional information on the fire. [DEFS 68-71; DEFS 695-662].
     ▪    Interior Survey. The interior survey of the apartment was documented before
          extensive scene processing commenced. [SDT-SAO 5037-5044].
     ▪    Interpretation and Analysis of Fire Patterns. Although it appears that the fire
          suppression personnel were attempting to make sure that the fire was
          extinguished, there was sufficient evidence remaining to make interpretation
          and analysis of the fire patterns. [SDT-SAO 5037-5044].
     ▪    Fire Scene Reconstruction. Documentation exists that the furniture was placed
          into their pre-fire positions. All of these steps were photographed. [SDT-SAO
          5037-5044].
     ▪    Building Systems. Documentation exists that investigators searched for the
          missing smoke alarm. They found the mounting holes on the wall, yet not the
          existence in the fire debris. [SDT-SAO 5145]. Investigators also examined
          electrical and natural gas utilities that services that apartment.



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Opinion. Regarding the investigation conducted in 1995, the City of Naperville met all
of these requirements here. The City also met today’s standard of care in these areas.

         F.   Documenting the Scene

NFPA 1033         4.3.1 Diagram the scene
Documenting       4.3.2 Photographically document the scene
the Scene         4.3.3 Construct investigative notes


The third set of the NFPA 1033 JPRs consist of the scene documentation section. The
City of Naperville Police and Fire Departments met all of these requirements under
then existing standards and today’s standards.

The bases to support this conclusion include but are not limited to the following
citations within the investigation :

     ▪    Diagramming the scene. Extensive two- and three-dimensional diagrams were
          completed by investigators, which became useful in interviews. [AMOR
          021137-021145].
     ▪    Photographic Documentation. The fire scene was photographed and videoed
          before and after scene processing. Photo logs were used. [DEFS 645]
     ▪    Investigative Notes. Extensive documentation exists that investigative notes
          were taken and preserved. Interviews and investigations were recorded and
          entered into the official City of Naperville file systems.
Opinion. Regarding the investigation conducted in 1995, the City of Naperville met all
of these requirements here. The City also met today’s standard of care in these areas.

         G.   Evidence Collection and Preservation

NFPA 1033      4.4.1    Utilize proper procedures for managing victims and fatalities,
               4.4.2    Locate, collect, and package evidence
Evidence       4.4.3    Select evidence for analysis
Collection and 4.4.4    Maintain a chain of custody
Preservation 4.4.5      Dispose of evidence

The fourth set of the NFPA 1033 JPRs consist of the evidence collection and preservation
requirements. Regarding the investigation conducted in 1995, the City of Naperville
met all of these requirements in this case. The City also met today’s standard of care in
these areas.



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The bases to support this conclusion include but are not limited to the following
citations within the investigation :

       ▪     Evidence Procedures. As documented in the Naperville Police Department,
             Property Report, for Case Number 1995-042030, extensive efforts were in place
             to collect, package, preserve, trace, and dispose of evidence. [DEFS 177].
       ▪     Forensic Laboratory Analysis. On September 11, 1995, the Naperville Police
             Department submitted a Laboratory Request Form to have evidence and
             control samples tested for potential presence of accelerants. [DEFS 177].
       ▪     Evidence Storage and Retrieval. An example of the extensive evidence
             collection and storage system which maintains a chain of custody existed. An
             example is Special Agent John M. Gamboa to check out evidence on August 12,
             2015. [SDT-SAO 5230-5232; People’s Exhibit 26].
Opinion. Regarding the investigation conducted in 1995, the City of Naperville met all
of these requirements here. The City also met today’s standard of care in these areas.

           H.     Interviews

NFPA 1033          4.5.1 Develop an interview plan
                   4.5.2 Conduct interviews
Interview          4.5.3 Evaluate interview information

Opinion:The fifth set of the NFPA 1033 JPRs consist of the interviewing section. The
City of Naperville Police and Fire Departments met all these requirements during the
1995 investigation These requirements also met to today’s standard of care at the time
of this report in 2021.

The bases to support this conclusion include but are not limited to the following
citations within the investigation :
   ▪       Pre- and Post-Interview Plans. Several examples of these pre- and post-interview
           plans exist in the Naperville Police Department files. These include
           documentation of reasoning by witnesses [SDT-SAO 5141] and a pre-interview
           inventory of questions. [SDT-SAO 5143; AMOR 0008].
   ▪       Interviews. City of Naperville investigators and the prosecutor used written
           statements, memoranda, and taped interviews to document their interactions in
           this case.
   ▪       Polygraphs. To evaluate the veracity of the persons of interest, in this case, the
           City of Naperville investigators used voluntary polygraph examinations on
           September 12, 1995, and October 3, 1995 with Mr. Amor [DEFS 448-449; DEFS
           420-422] and Mrs. Amor [DEFS 446-447].


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Opinion. Regarding the investigation conducted in 1995, the City of Naperville met all
of these requirements here. The City also met today’s standard of care in these areas.

         I.       Post-Incident Investigation

              4.6.1 Gather reports and records
NFPA 1033     4.6.2 Evaluate the investigative file
              4.6.3 Coordinate expert resources
Post-Incident 4.6.4 Establish evidence as to motive and/or opportunity
Investigation 4.6.5 Formulate an opinion concerning the origin, cause, or
              responsibility for the fire


Opinion: The sixth set of the NFPA 1033 JPRs consist of the post-incident investigation
section. The City of Naperville Police and Fire Departments met all of these
requirements in this case during the 1995 investigation. They also met today’s standard
of care.

The bases to support this conclusion include but are not limited to the following
citations within the investigation:

     ▪        Gathering Reports and Records. City of Naperville gathered the important
              records including the Autopsy Report [DEFS 102-106],Toxicology Report
              [DEFS 178-179], Engineering Testing Reports [ ], and Polygraph Reports [DEFS
              448-449; DEFS 420-422; DEFS 446-447].
     ▪        Evaluation of Investigative File. Evidence exists that investigators documented
              and reviewed their files for potential motives, opinions of witnesses, and
              responsibility for the fire. [SDT-SAO 5141-5142].
     ▪        Coordination of Expert Resources. Evidence exists that external expert
              resources were requested and utilized. [DEFS 5366-5390]
     ▪        Telephone records. Records were obtained and reviewed. [DEFS 192-198;
              DEFS 728-729].
     ▪        Engineering Testing. The investigators effectively eliminated the potential
              electrical causes of ignition,including the television set, an electric lamp, and
              other electrical artifacts. They righty consulted and relied upon external
              electrical engineering expertise and testing of this evidence [DEFS 05366-05390;
              AMOR 307-308; DEFS 487-490; DEFS 597; DEFS 687-691].
     ▪        Investigator Ferreri drafted a comprehensive single-spaced seven-page origin
              and cause report. [AMOR 011704- 011710]
     ▪        Formulate An Opinion Concerning the Origin, Cause, or Responsibility for the
              Fire.

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            o On September 10, 1995, Naperville Fire Investigator David Ferreri led
              the systematic examination of the apartment rooms and contents. His
              conclusion, along with the rest of the investigation team, was “that this
              fire’s ingition is suspicious in nature.” The fire was not at that time
              classified at to cause. [AMOR 011710].
            o On October 10, 1995, Investigator Ferreri, Naperville Fire Department,
              entered into the case file a Fire Investigation Closure Report. [AMOR
              011704-011710]. The report determined that the fire’s origin: Along the
              west wall of the living room in the area of the swivel chair and cause:
              Incendiary/aggravated arson. Vodka was poured on a chair and
              newspapers, then ignited with a cigarette.
            o As to fire causation, the identification of the fire’s area of origin leads to
              the fire’s cause. Fire investigators are taught the once a fire’s area or
              point of origin is established, the determination of fire cause typically
              follows, which is the process of identifying the first fuel ignited, the
              ignition source, the oxidizing agent, and the circumstances that resulted
              in the fire. Generally, a fire cause determination can be considered
              reliable only if the origin has been correctly determined. (NFPA 921, Ch.
              19.1).
     ▪   Evaluate Motive and/or Opportunity. On October 3, 1995, Ms. Amor told
         Investigator Michael Cross that she “felt that Bill was probably responsible for the
         fire.” [AMOR 0212]. Note that later, on September 21, 2012, Ms. Amor told
         Erica Nichols Cook during a telephone interview that Bill admitted to her that
         he killed her mother for the insurance money when she saw him at the jail.
         [AMOR 005930].
     ▪   In an arrest on October 27, 1993, by Naperville Police Department, Mr. Amor
         was charged with the Fraudulent Use of Electronic Transmission (193-CF-
         2164-011). He was sentenced to 24 months’ Probation, 102 days in the DuPage
         County Jail time considered served, $2,186.56 restitution to First City Chicago
         Bank, and Court costs. [SDT-DCDPCS 10-20].
     ▪   In statements to City of Naperville investigators and the prosecutor, Mr. Amor
         related that he intentionally dropped a lit cigarette onto a newspaper,
         witnessed the smoldering, and left the apartment knowing that a fire would
         ensue. Mr. Amor also admitted that he set this fire to profit by collecting
         insurance. He had previously devised this plan while incarcerated in the
         DuPage County jail.
Opinion. Regarding the investigation conducted in 1995, the City of Naperville met all
of these requirements here. The City also met today’s standard of care in these areas.




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         J.        Presentations

NFPA 1033             4.7.1   Prepare a written report
                      4.7.2   Express investigative findings verbally
Presentations         4.7.3   Testify during legal proceedings
                      4.7.4   Conduct public informational presentations

The seventh set of the NFPA 1033 JPRs consist of the general presentation section. The
City of Naperville Police and Fire Departments met all of these requirements in this
case during the 1995 investigation. They also met today’s standard of care.

The bases to support this conclusion include but are not limited to the following
citations within the investigation:

     ▪        Written Reports. A review of both the Naperville Police and Fire Department
              case files shows that they are documented properly.
     ▪        Express Investigative Findings. The origin and cause investigation portion of
              the City of Naperville’s investigation was conducted by a multi-disciplinary
              team led by Investigator David Ferreri, while Investigators Cross and Guerrieri
              conducted interviews.
              In his eight-page, single-spaced Origin and Cause Narrative Report,
              Investigator Ferreri systematically recorded his observations room-by-room.
              He then narrowed the focus of his investigation to the area of fire origin and
              documented other potential causes for the fire. [SDT-SAO 5037-5044].
              In his initial report, Investigator Ferreri concludes:
                      “After examining the above information it was determined that the area
              of Origin was along the west wan, starting from the area of the swivel chair
              and continuing north to the NW comer. All burn pattern evidence Indicates
              that flash over occurred in the living room comparment [sic], which resulted in
              a large amount of very low and severe fire damage. The exact time of this event
              Is unknown, though It Is highly probable it was after the 911 call by the victim
              was terminated. All potential accidental causes were studied and a/l were
              discounted. (See report on TV/VCR test burn) It is the opinion of myself and
              the rest of the investigation team that this fire's Ignition Is suspicious in
              nature.” [SDT-SAO 5044].
     ▪        Verbal Findings and Testimony. A review of the trial testimonies shows that
              the Naperville officers that testified were professional and well prepared.
Opinion. Regarding the investigation conducted in 1995,the City of Naperville met all
of these requirements here. The City also met today’s standard of care in these areas.



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VIII.        OPINION #2 – PLAINTIFF’S EXPERT’S INVESTIGATION

Opinion #2 - The investigation by Douglas J. Carpenter into the September 10, 1995,
apartment fire at 218 East Bailey, Naperville, Illinois, failed to meet the minimum
professional standards of professional practice in the field of fire and explosion
investigations by not correctly applying the scientific method to the facts of this case.

Mr. Douglas J. Carpenter offers his opinions on the origin and cause of this fire. A peer
review of his work shows that he has misapplied the scientific method. This misstep,
along with the use of an outdated computer fire model constructed by another
undisclosed person, compromises his opinions about the fire’s origin and cause.

In his analysis, Mr. Carpenter used many dated references, did no physical testing,
never visited the scene, ignored the fact that other physical evidence that may have
been available, and failed to rerun his computer model with the current version. Of
primary concern was that Mr. Carpenter had the unique opportunity, yet never did
interview Mr. Amor to learn the details of this case and the details of the conditions
within the apartment.

        A.    Summary of Findings Expressed by Mr. Carpenter in this
              Case

Douglas J. Carpenter is Mr. Amor’s fire origin and cause expert in this case. He is a
well-known and respected licensed Fire Protection Engineer, educator, and scientist. As
the Vice President and Principal Engineer at Combustion Science & Engineering, Inc.,
Columbia, Maryland, his firm frequently often uses computer fire modeling.

In his supplementary report dated January 22, 2021, the following is a summary of his
primary opinions in which he has testified or plans to testify in this case.

        B.    Mr. Carpenter Fails to Recognize that the City of Naperville
              Fire Investigation is indeed Reliable.

Mr. Carpenter’s criticisms of the reliability of the City of Naperville investigation is
unfounded. His argument lacks the rigor of his own inexperience with conducting
complex criminal investigations.

His opinion the City of Naperville ignored the use of the Scientific Method in its
investigation is totally unfounded. An exhaustive peer review of the City’s case
investigative files, testimonies, and actions show that they indeed followed this
methodology. His criticisms will be addressed point-by-point grouped into two main
areas.


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             1.    The Scientific Method and Hypothesis Testing

Mr. Carpenter states his following opinions which he has testified or plans to testify in
this case:
     ▪   The hypothesis testing also shows that a lighted cigarette cannot ignite the
         vapors from vodka at nominal room temperature, and this fire cause
         hypothesis is also disproved by applying the Scientific Method
     ▪   No hypothesis testing was done by investigators as required by applying of the
         Scientific Method. Hypothesis testing by an analysis of the timeline disproves
         the fire cause hypothesis because it does not reproduce the observations of the
         occupants or the timing of the 911 call.
     ▪   The hypothesis testing shows there would not be the presence of a flammable
         vapor concentration above the liquid vodka or ignition at a nominal room
         temperature of 70°F. Thus, the vapors from vodka cannot be ignited at nominal
         room temperature, and the application of the Scientific Method disproves this
         fire cause hypothesis.
     ▪   If the investigators had reliably tested their fire cause hypothesis, they would
         have found that the hypothesis testing disproved their fire cause hypothesis. In
         this case, the lack of hypothesis testing results in the application of an
         unreliable methodology that produced inconsistent determinations and
         opinions.
The records and testimonies offerred by the City of Naperville into this fire show that
their investigative team, although the standards in 1995 did not require it, followed the
tenants of the scientific method. In fact, their investigation meets not only the standards
of care in 1995 but also those presently in effect in 2021.
The following is an overview summary of the City of Naperville’s investigation that
demonstrates they not only followed the scientific method, but also considered multiple
hypotheses, conducted tests, and sought outside expertise in this case:
     ▪   Peer Review of Hypotheses. The City of Naperville’s investigation
         methodically reviewed the fire scene, developed hypotheses as to potential
         sources of ignition, inspected and eliminated sources of natural and accidental
         ignitions from utilities and appliances, and had outside fire and engineering
         experts test these hypothoses.
     ▪   Timeline for the Fire. The City of Naperville’s investigation methodically
         assessed the timeline for this fire and confirmed that it met and reproduced the
         expected development of the fire. These efforts included, but were not limited
         to, repeated interviews with the Amors and other persons, an extensive
         neighborhood canvas of potential witnesses, obtained telephone call histories
         to and from the Amor apartment.


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     ▪   Competent Ignition Sequence. While it is true that explaination provided by
         Mr. Amor’s statement as to the fire’s ignition of vodka spilled on newspapers is
         not really a competent ignition scenario, this is a witnessed fire. The presence
         or absence of the vodka has little impact on the hypothesis that a lit cigarette
         can easily ignite newspaper.
     ▪   Hypothesis Development. The City of Naperville’s investigation into this fire
         considered multiple hypotheses, sought outside experts to peer review their
         hypotheses, and conducted an extensive investigation. The investigative team
         applied the tenents of the scientific method and explored multiple hypotheses.
Many persons, let alone competent fire investigators, know and instinctively realize that
a lit cigarette is a competent ignition source to start a fire on newspaper.
Mr. Amor clearly stated multiple times that he dropped the lit cigarette on the
newspaper, witnessed its smoldering combustion, and left the apartment knowing that
a fire most likely would develop. Whether or not spilled vodka had any contribution to
this fire is inmaterial in this case.

                          2.    Fire Cause Determination

Mr. Carpenter states the following opinions which he has testified or plans to testify in
this case:
     ▪   The City of Naperville’s determination of the fire cause in this case involving
         vodka, newspaper, and a cigarette was unreliable.
     ▪   For reliability, the determination of the fire cause by applying the Scientific
         Method must stem from evidence, not the lack of evidence. In addition, any
         valid fire cause hypothesis must be tested through applying the Scientific
         Method.
     ▪   As part of their investigation, the Naperville Police Department made a fire
         cause determination that resulted in a subsequent determination to classify the
         cause as an incendiary fire cause.
The following is an overview summary of the reliability of City of Naperville’s
investigation. Their investigation is clearly reliable in that they not only followed the
scientific method, but also considered multiple hypotheses, conducted tests, and sought
outside expertise in this case.
     ▪   Evidence. The City of Naperville’s investigation collected and analyzed ample
         physical evidence in this case. Mr. Carpenter’s limited scope as to incorporating
         evidence concentrated on just the vodka theory and did not assess other forms
         of evidence such as results of forensic testing, documents that established the
         timeline, witness observations.



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          They collected not only fire debris but also control samples for later
          comparison and testing, should it be necessary. An extensive fire scene
          reconstruction showed that fire patterns clearly isolated the area of fire origin
          as where Mr. Amor dropped the lit cigarette onto the newspaper. They tested
          other potential ignition sources and disquaified them as could have
          participated in the ignition sequence.
          The eyewitness evidence and later determined area of fire origin where Mr.
          Amor dropped the lit cigarette onto the newspaper is independently confirmed
          by a thorough forensic fire scene examination. Subsequent testing of the fire
          debris showed that an flammable or combustible liquid was not found,
          confirming Mr. Amor’s version of the fire’s cause and smoldering
          development.
     ▪    Fire Classification. A fire’s classification in the 1995 Edition of NFPA 921, pt.
          12-2, states that “[t]he cause of a fire may be classified as accidental, natural,
          incendiary (arson), or undetermined.” That section 12-2.3 further describes the
          incendiary fire cause as “[t]he incendiary fire is one deliberately set under
          circumstances in which the person knows that the fire should not be set.”
          Although the Scientific Method appears in the 2014 Edition of NFPA 1033, it
          was not cited in the 1993 Edition. Nevertheless, the Scientific Method was used
          by the City of Naperville in the 1995 investigation as the operational, analytical
          process by considering multiple hypotheses and the classification of the fire to
          be incendiary.
In conclusion, in the original fire scene investigation, investigators examined and
documented each room, including those uninvolved with fire. Investigators postulated
several hypotheses, collected evidence, conducted interviews, examined other natural
and accidental forms of ignition, inquired about any problems and examined electrical
and natural gas utilities, checked appliances, brought in outside experts for peer review,
had engineering tests performed, and used this information to test those hypotheses.
Other experts confirmed that this method was used. [AMOR 021280].

         C.    Mr. Carpenter’s Investigation Fails to Correctly Apply the
               Scientific Method to the Facts of This Case

When using the scientific method, fire investigators, whether they are from the public
or private sector, continually refine and explore a working hypothesis until they reach a
final expert conclusion or opinion, as shown by Figure 5.

As previously shown by Figures 1 and 2, applying the scientific method to fire
investigation and reconstruction is a methodical seven-step systematic process. This
methodology is an approach consistent with NFPA 921 and NFPA 1033.



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When properly applied, this systematic process addresses how to formulate, test, and
validate hypotheses correctly. But Mr. Carpenter’s investigation failed in almost every
one of the seven-step process defined in the scientific method (see Figures 1 and 2).

The bases to support this conclusion include but are not limited to the following:

                          1.    Failure to Recognize the Need.

Mr. Carpenter’s investigation into this case failed to recognize the need for a complete
and open investigation using the scientific method. Although he stated that he used the
scientific method in his analysis, he also admonished others for not.

The bases for my opinion include, but are not limited to, the approach in which Mr.
Carpenter took on this assignment, responsibility, and role.

       ▪   Scope and Role of a Fire Investigation. Fire investigators in both the public and
           private sectors are trained to take on the role of being fact finders to determine
           not only the origin and cause of the event but also whether future fires,
           explosions, or loss of life can be prevented through new designs, codes, or
           enforcement strategies. In public safety sectors, determining the origin and
           cause of every fire is often a statutory requirement. Identifying unsafe products
           related to the cause of the fire can also lead to recalls and the prevention of
           future incidents. 19
       ▪   Confirmation Bias. Here, Mr. Carpenter appears to have taken on an
           assignment to attempt to define and prove his version of events using a
           computer fire model and anecdotal references to articles, guides, and
           textbooks. One approach was to disprove cigarette ignition of the spilled
           vodka-soaked newspaper theory without recognizing and pursuing other
           potential hypotheses. This approach is contrary to the recommended practices
           of care and is known as conformation bias.

NFPA 921 states:

                4.3.1 * Confirmation Bias. Different hypotheses may be compatible with
                the same data. When using the schematic method, testing of hypotheses
                should be designed to disprove a hypothesis (i.e., falsification of the
                hypothesis), rather than relying only on confirming data that support the
                hypothesis. Confirmation bias occurs when the investigator relies
                exclusively on data that supports the hypothesis and fails to look for,


19   Dixon, B. M., & Kelly, R. L. (Eds.). (2000). Fire and Arson Scene Evidence: A Guide for
     Public Safety Personnel. U.S. Department of Justice, Washington, DC.

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              ignores, or dismisses contradictory or nonsupporting data. The same data
              may support alternate and even opposing hypotheses. The failure to
              consider alternate or opposing hypotheses, or prematurely discounting
              seemingly contradictory data without appropriate analysis and testing can
              result in incorrect conclusions. A hypothesis can be said to be valid only
              when rigorous testing has failed to disprove the hypothesis. Disproving
              the hypothesis is a process in which all the evidence is compared against
              the proffered hypothesis in an effort to find why the hypothesis is not
              true.”

   ▪   Presumption of Cause. Mr. Carpenter’s approach to fire investigation is that fires
       should be considered accidental unless proven elsewise. [SDT-SAO 16129].This
       approach is known as presumption and is not following the standard of care in
       fire investigations. An important concept in applying the application of the
       scientific method to forensic fire scene investigations and analyses is that the
       investigator should approach all fire scenes without a presumption of the cause,
       that is hypotheses for the fire’s origin and cause is undetermined until sufficient
       data have been collected in the examination of the scene, (NFPA 921, 2021
       Edition, pt. 4.3.8).

NFPA 921, pt. 4.3.8 states that:

              Avoid Presumption. Until data have been collected, no specific
              hypothesis can be reasonably formed or tested. All investigations of fire
              and explosion incidents should be approached by the investigator without
              presumption as to origin, ignition sequence, cause, fire spread, or
              responsibility for tl1e incident until the use of the scientific method has
              yielded testable hypotheses, which cannot be disproved by rigorous testing.

                  2.    Failure to Correctly Define the Problem

Mr. Carpenter’s investigation failed to define the problem and assess the resources
necessary and available to take on this assignment.

The bases for my opinion include, but are not limited to, the following:

   ▪   Ample Resources. The bases for this opinion is that being the Vice President of a
       consulting engineering firm, Mr. Carpenter had access to other engineers,
       support staff, interns, and fire testing facility to clearly define the problem,
       articulate a sound strategy, and implement a plan.

A review of his expert reports along with courtroom and deposition testimony shows
that he failed in his responsibility to leverage and dedicate his available company


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resources to investigate this case fully. He failed on how to devise a tentative
investigative plan, failed to leverage available information on the apartment where the
fire started, failed to use the most recent version of a computer fire model relying on
results from over 5 years ago, and failed to interview Mr. Amor to learn more about the
fire’s origin nature and construction of the furniture near to the fire’s origin.

                      3.    Failure to Collect Sufficient Data

Data are “facts or information to be used as a basis for a discussion or decision” (ASTM
International, 1989). Mr. Carpenter failed to collect sufficient data to support his version
of the application of the scientific method.

The bases for this opinion focuses on not what data were collected, but what was not,
particularly when that evidence was available.

   ▪   Insufficient Facts and Data. For example, Mr. Carpenter could have collected
       data through facts and information about the incident through direct
       observations, measurements, photography, evidence collection, testing,
       experimentation, historical case histories, and witness interviews.

   ▪   Lack of Testing. Mr. Carpenter, whose company has the equipment, resources,
       and staff to conduct fire tests, did not perform them in this case. He could have
       conducted simple ignition tests on the leading theory as to cigarette ignition of
       vodka-soaked newspapers and other ignition scenarios as required by the
       scientific method.

       For example, tests supported by peer-reviewed literature, could have shown
       other hypotheses of cigarette ignition of newspapers and furniture.

       In addition, there were control samples of evidence collected by the City of
       Naperville’s investigation. There is no documentation in Mr. Carpenter’s reports
       or testimony that he attempted to access these samples for examination or further
       testing.

   ▪   Failure to Conduct Interviews. NFPA 921 (2021 Edition, Ch. 18.1.2) is very clear
       in identifying the three factors needed to determine fire origin during an
       investigation. The determination of the origin of the fire involves the
       coordination of information derived from one or more of the following:

The first factor by NFPA 921 in determining the origin of a fire:




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       (1) Witness Information. The analysis of observations reported by
           persons who witnessed the fire or were aware of conditions present at
           the time of the fire as well as the analysis of electronic data including,
           but not limited to, security camera footage, alarm system activation,
           or other such data recorded in and around the time of the fire event.

Here, witness information provides the golden opportunity to gain access to valuable
information and data. For example, Mr. Carpenter based his computer fire model on
assumptions about the types and construction of the furniture and the status of doors,
windows, and a sliding door leading to the patio.

Mr. Carpenter’s mistake was that he had access to the primary source of information —
Amor himself. Thus, any testimonial information came via deposition transcripts and
statements. Amor’s interview could have enhanced the computer model by providing
pre-fire conditions and types of materials used in the sofa and swivel chair.

The City of Naperville investigators collected control samples of evidence in this case.
The samples consisted of carpet and chair fabric. [DEFS 180]. Nowhere does Mr.
Carpenter inquire about those samples, which could have impacted his conclusions
regarding their identification and potential flammability.

One should note that another expert, in this case, was able to interview Mr. Amor in
person on October 20, 2015. The interview at the Illinois Department of Corrections in
Taylorville, Illinois., was transcribed and now available to other experts in this case.
[SDT-SAO 5300-5380].

   ▪   Failure to Conduct Sufficient Fire Pattern Analyses. NFPA 921 (2021 Edition, Ch.
       18.1.2) second factor needed to determine fire origin during an investigation
       involves interpreting fire patterns.

The second factor by NFPA 921 in determining the origin of a fire:

       (2) Fire Patterns. The analysis of effects and patterns left by the fire,
           which may include patterns involving electrical conductors.

The determination of the origin of the fire involves the coordination of information
derived from one or more of the following: Mr. Carpenter failed to examine sufficient
data, for example, photographs depicting the fire patterns in this case. He dismisses any
use of these patterns based upon his notion that a room going to flashover conditions
would obliterate or distort these patterns.

However, a reliable technique to define an area of a fire’s origin is to examine the
impact of gypsum board exposed to incipient fire. The more intense the initial exposure,

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the more damage the gypsum board wall sustains, forming observable lines of
demarcation. Several techniques examine and explain the variation of calcination fire
effect damage in gypsum board walls20 forming lines of demarcation.21

     ▪   Failure to Correctly Assess the Impact of Fire Dynamics. NFPA 921 (2021 Edition,
         Ch. 18.1.2) third factor needed to determine fire origin during an investigation
         involves the correct application of fire dynamics to the facts of the case.

The third factor by NFPA 921 in determining the origin of a fire:

         (3) Fire Dynamics. The analysis of the fire dynamics [i.e., the physics and
             chemistry of fire initiation and growth, and the interaction between
             the fire and the building’s systems.

Mr. Carpenter spent a great deal of time citing earlier work on the flammability of
upholstered furniture. His discussions focused on smoldering conditions of various
materials. An interview with Mr. Amor, however, could have determined the exact
nature of the furniture in the room of fire origin, the condition of the door to Ms.
Miceli’s bedroom, and other factors.

The City of Naperville investigators collected control samples of evidence in this case.
The samples consisted of carpet and chair fabric. [DEFS 180]. Nowhere does Mr.
Carpenter inquire about those samples, which could have impacted his conclusions
regarding their identification and potential flammability.

Mr. Carpenter did not know the following important variables concerning the fire, nor
did he inquire. He only used default “guestimates” in his fire dynamics analysis and
computer model, an approach that introduces significant errors in his approach:

     ▪   The failure to identify of type and nature of the upholstered material inside or
         covering chair on which he considers the area of origin.
     ▪   The failure to interview Mr. Amor and determine type and brand of cigarette he
         smoked.
     ▪   The failure to realistically identify the timeframe that a lit cigarette on newspaper
         transitions to smoldering combustion.



20   NFPA 921, 2021 Edition, Ch. 3.3.25, defines calcination of gypsum as “A fire effect realized
     in gypsum products, including wallboard, as a result of exposure to heat that drives off free
     and chemically bound water.”
21   NFPA 921, 2021 Edition, Ch. 3.3.130, defines lines of demarcation as “The borders defining
     the differences between the affected area and adjacent, less-affected area.”


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   ▪   The failure to research and cite peer-reviewed literature on the propensity for
       cigarette ignition of newspaper.
   ▪   The failure to design and perform physical laboratory ignition tests to bolster his
       hypotheses.

Another oversight that impacts the fire dynamics is constructing the computer fire
model Mr. Carpenter used in this case. Figure 6 below clearly shows that Mr. Carpenter
failed to include several critical rooms in his computer model. Figure 6(a) is the actual
layout of the apartment, and Figure 6(b) is the computer model, which eliminates the
kitchen and two bathrooms in the computer model.

Of note is that bathrooms and kitchens typically have vents, which would change the
ventilation patterns in the apartment’s fire model. Including these rooms would have
taken little time and would have made the model more realistic.

                                                                                     /
                                                      '
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                                                      .,

                                                  /




                     (a)                                           (b)

Figure 6. (a) Detailed dimensional layout of Apartment M showing rooms, doors,
furniture, and location of the victim. [AMOR 021139] and (b) Computer fire model
display developed by Mr. Carpenter lacking several rooms including the kitchen and
two bathrooms (marked in (a) in yellow).

The exclusion of these critical rooms in the computer fire model is a critical misstep
since there would be ventilation openings in the kitchen and bathrooms in these rooms.
These ventilation paths would divert air, smoke, and contaminates from reaching Ms.
Miceli’s bedroom.




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This impact of ventilation would also change the amount and distribution of Carbon
Monoxide within the apartment. Mr. Carpenter cites in his PowerPoint presentation
[AMOR 038288- 038335] the effects of the intake of carbon monoxide and thermal
injuries by fire victims to establish their time to incapacitation.22

In a review of a previous expert report [Exhibit 4; AMOR 039281-039286] produced in
his deposition on March 31, 2021, he discussed fire origin hypotheses using thermal
injuries and Carbon Monoxide uptake by the victim. These analyses could have
provided additional information about Ms. Miceli’s untimely death, particularly after
calling 911.

However, Mr. Carpenter’s computer model did produce information as to the presence
and concentration of Carbon Monoxide on a room-by-room basis, yet he failed to
include that data in his calculations as to tenability of Ms. Miceli. NFPA 921, pt.
24.10.8.2.l, covers the use of the Stewart Equation to estimate the time that the victim
was exposed during the fire to Carbon Monoxide.

The equation provides a basic relationship between Carboxyhemoglobin found the in
the victim, the inhaled Carbon Monoxide concentration, the victim’s respiratory minute
volume, and exposure duration. The equation has been cited in peer reviewed forensic
literature as applicable in tenability of victims.23

This data was available to Mr. Carpenter that carboxyhemoglobin level of 42.1 percent
was detected in the toxicology report on Ms. Miceli. [DEFS 178], yet he failed to
incorporate it into his analysis. Mr. Carpenter also failed to cite the recent literature on
smoldering ignition, its development, and the propensity to detect the smell.

In summary, Mr. Carpenter used insufficient facts and data in his analysis of the fire
incident. One can only surmise why in other cases, these facts are used and why he
chose not to include them in generating hypotheses.

                        4.    Failure to Correctly Analyze Data

     ▪   Mr. Carpenter’s analysis of the data failed to account for all data that could have
         affected this fire. In the scientific method, the analysis of data uses inductive



22   McAllister, J. L., Carpenter, D. J., Roby, R. J., & Purser, D. (2014). The importance of
autopsy and injury data in the investigation of fires. Fire Technology, 50(6), 1357-1377.

23   Christensen, A. M., & Icove, D. J. (2003). The application of NIST's fire dynamics simulator
     to the investigation of carbon monoxide exposure in the deaths of three Pittsburgh fire
     fighters. Journal of Forensic Science, 49(1), 1-4.

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        reasoning to formulating a conclusion based on many observations and analyze
        all the data collected.

The investigator relies on their knowledge, training, and experience in evaluating the
totality of the data. This subjective approach to the analysis may include understanding
similar loss histories (observed or obtained from references), training in and
understanding fire dynamics, fire testing experience, and experimental data. Data
evaluation can include the pattern of fire damage, heat, and flame vectoring, arc
mapping, and fire engineering and modeling analysis.

The limited data Mr. Carpenter collected by avoiding interviewing Mr. Amor, assessing
other potential hypotheses, and incorrectly modeling the fire compromised this
important step of the scientific method. He had all of the resources of his company
available to conduct testing, use more accurate computer models and other loss
histories, yet omitted these resources.

Limiting the data collected and analyzed produces flawed hypotheses in this case.

   5.    Failure to Develop and Assess Alternative Working Hypotheses

   ▪    Mr. Carpenter’s analysis of this case failed to pursue and assess alternative
        working hypotheses thoroughly. A hypothesis is defined as “a supposition or
        conjecture put forward to account for certain facts and used as a basis for further
        investigation by which it may be proved or disproved” (ASTM International
        1989).

Based on the limited data analysis, Mr. Carpenter’s development of his tentative
working hypothesis by not pursuing alternative hypotheses, can only lead to failure to
apply the standards of care in this case. Hypotheses are used to explain, confirm, or
disprove the fire’s origin, cause, and development.

These hypotheses assess compliance with on-scene observations, physical evidence, and
testimony from witnesses. For example, hypotheses may address a causal mechanism or
a mathematical relation (e.g., plume flame height, impact of different fuel loads,
locations of competent ignition sources, room dimensions, impact of open or closed
doors and windows).

             6.    Failure to Test Alternative Working Hypotheses

   ▪    Mr. Carpenter failed to test the alternative working hypotheses, particularly
        when incorporating his computer fire model as the centerpiece of his
        investigation.



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When testing working hypotheses, fire investigators use deductive reasoning, which is
“the process by which conclusions are drawn by logical inference from given premises”
(NFPA 2021, pt. 3.3.41). This step involves coming to a conclusion based on previously
known facts while comparing the working hypothesis with all other known facts, the
incidence of prior loss histories, relevant fire test data, authoritative published treatises,
and experiments.

A critical feature of hypothesis testing is creating alternative hypotheses that also can be
tested. If the alternatives counter the working hypothesis, their evaluation may reveal
issues that need to be addressed.

After all hypotheses have been rigorously tested against the data, those that cannot be
conclusively eliminated should be considered viable. In evaluating all working
hypotheses, the investigator can recommend collecting and analyzing additional data,
seeking new information from witnesses, and developing or modifying the working
hypothesis. This may involve reviewing the analysis with other investigators with
relevant experience and training (peer review).

While the City of Naperville investigators followed and documented the philosophy of
the scientific method, there is little documentation that Mr. Carpenter documented and
supported his data collection, and alternative hypotheses with rigor. These failings
undermine the argument that Mr. Carpenter failed to apply the scientific method to the
facts of this case.

               7.    Failure to Correctly Select a Final Hypothesis

   ▪   The improper application of the scientific method, outlined in the previous step,
       caused Mr. Carpenter to incorrectly select a final hypothesis in this case.

An opinion is defined as “a belief or judgment based upon facts and logic, but without
absolute proof of its truth” (ASTM International 1989). When the working hypothesis is
thoroughly consistent with evidence and research, it becomes a final hypothesis and can
be authoritatively presented as a conclusion or opinion of the investigation.

Based on incorrectly following steps 1 through 6 of the scientific method, Mr. Carpenter
compromised his ability to select and support his final hypotheses in this case. The
effect of his approach shows that he failed to collect sufficient data, used a flawed
computer fire model that compromised his methodology, and incorrectly applied the
data he collected to the facts here.

As indicated, in collecting and analyzing data, fire investigators are trained to describe,
observe, and document the incident; photograph, sketch, diagram, and collect evidence;



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conduct tests and experiments; interview witnesses; and assemble historical loss
histories of similar incidents.

This collected data and evidence should not consist of only the data and evidence which
support the investigator’s initial or assumed hypothesis. Still, they should include all
data and evidence to consider, challenge and refute all other reasonable alternative
hypotheses considered and ruled out. To ignore considering alternative hypotheses can
only undermine objectivity and improperly introduce “expectation bias” into the
investigation.

                      8.    Failure to Account for Error Rates

   ▪   Mr. Carpenter failed to account for significant error rates when constructing the
       computer fire model he selected and used in his investigation. The cumulative
       nature of error rates can result in wrong or erroneous conclusions about a fire’s
       growth within a structure and distribution of combustible gases such as Carbon
       Monoxide.

There are inherent limitations and cautions on the use of computer fire modeling in a
forensic fire investigation. NFPA 921, pt. 21.4.1.3 offers cautions on the limits of
mathematical modeling:

       Mathematical modeling, whether simplified hand calculations or computer fire
       models, has inherent limitations and assumption that should be considered.
       Models generally rely upon empirical data and are validated via comparison with
       other empirical data. Care must be taken to assure that the model is being used
       with due regard for limitations, assumptions, and validation. While
       computational models can be used to test hypotheses, models should not be
       utilized as the sole basis of a fire origin and cause determination.

The investigator should consider error rates when they are used in the analysis of fires
within a structure. Errors can be introduced by incorrect coding of compartments,
openings, and leakage amongst compartments.

As previously shown in Figure 6, which compares the fire model that Mr. Carpenter
used, there are several rooms or compartments that were not coded into the model.
There is no mention of why this did not occur, which could have been a simple
addition. The exclusion of these critical rooms in the computer fire model is a critical
misstep since there would be ventilation openings in the kitchen and bathrooms in
these rooms. These ventilation paths would divert air, smoke, and contaminates from
reaching Ms. Miceli’s bedroom.




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The selection of an appropriate model can have an impact of accuracy. NFPA 921, pt.
21.4.9.2 states:

         There is a selection of fire models used for predicting fire phenomena. In addition
         to the required output, selection factors include computational resources, time
         limitations, level of accuracy, available input data, and underlying governing
         equations. The modeler should consider the range of candidate models and may
         use multiple models for comparison purposes. If no candidate model exists, the
         problem may require redefinition or a new model may need to be developed. The
         analyst should evaluate the available information for input to the model, the
         desired outputs, and the resources available.

In this case, Mr. Carpenter used a zone model, which gives a lesser accuracy than a field
model. Again, this selection impacts error rates. He did not select the best computer fire
model for his analysis.24

In another issue, Mr. Carpenter used an earlier version of a computer zone model
known as the Consolidated Fire and Smoke Transport (CFAST) model. 25 The model
was constructed by an employee, Haavard Boehmer, yet he is not identified in the
January 22, 2021, expert report. [Carpenter Depo, March 31, 2021; 117:23-24 and 118:1-
13]. The purpose of the model was to test the hypothesis and a time frame for the smoke
to migrate from the fire’s origin into Ms. Miceli’s bedroom. [Carpenter Depo, March 31,
2021; 131:23-24; 132:1-4].

Mr. Carpenter bases his past and present opinions using an outdated version of the
CFAST computer model Version 7.1.1, which was issued on April 21, 2016, and is about
5 years old. The present version of CFAST is Version 7.6.0, published on January 10,
2021.26



24   Mowrer, F. W. (2002). The right tool for the job. Journal of Fire Protection Engineering, 13, 39-
     44.
25   The Consolidated Model of Fire and Smoke Transport, CFAST, is a computer program that
     fire investigators, safety officials, engineers, architects, and builders can use to simulate the
     impact of past or potential fires and smoke in a specific building environment. CFAST is a
     two-zone fire model used to calculate the evolving distribution of smoke, fire gases and
     temperature throughout compartments of a building during a fire. Website:
     https://www.nist.gov/el/fire-research-division-73300/product-services/consolidated-fire-
     and-smoke-transport-model-cfast (last accessed May 18, 2021)
26   Peacock, R. D., Reneke, P. A., & Forney, G. P. (2017). CFAST–Consolidated Model of
      Fire Growth and Smoke Transport (Version 7) Volume 2: User’s Guide. NIST
      Technical Note 1889v2.

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The newest version of CFAST incorporates leakage factors between compartments or
rooms based upon the latest implementation of the model. However, Mr. Carpenter’s
analysis does not consider these leakage factors when testing the hypothesis and a time
frame for the smoke to migrate from the fire’s origin into Ms. Miceli’s bedroom.
[Carpenter Depo, March 31, 2021; 131:23-24; 132:1-4].

This misstep in considering the impact of ventilation would also change the amount
and distribution of Carbon Monoxide within the apartment that Ms. Miceli ingested.
The leakage factors coming from the exclusion of these critical rooms in the computer
fire model is a critical misstep since there would be ventilation openings in the kitchen
and bathrooms in these rooms. These ventilation paths would divert air, smoke, and
contaminates from reaching Ms. Miceli’s bedroom.

         B.    Mr. Carpenter’s Flawed use of the Scientific Method makes
               his Final Hypothesis in this Case Unreliable

     ▪   Mr. Carpenter’s analysis centers on using a computer fire model, which was
         rendered unreliable in its misapplication in this case.

Mr. Carpenter’s application of the computer fire model known as CFAST used
unreliable principles, methods, standards, and data. This model was relied on in his
January 22, 2021, expert report, PowerPoint presentation, and past testimonies on
January 14, 2016, December 12, 2016, January 24, 2018.

Babrauskas notes that computer fire modeling cannot be done in the absence of reliable
experimental data.27 This experimental data do not exist for mass loss rate (MLR), and
heat release rate (HRL) of smoldering fires, no valid numerical submodels (pyrolysis,
MLR, HRR, etc.) can be utilized as a part of computer room fire modeling. As a result,
fire models, whether based on CFD (computational fluid dynamics) or other kinds,
cannot properly encompass the smoldering process. For models to be credible, they
must be validated against appropriate experimental data.

The use of reliable principles and methods is the central theme in scientific fire cause
determination. NFPA 921 states that reliable fire cause determinations first require the
determination of the fire’s origin. It specifically states:

Fire cause determination is identifying the process of identifying the first fuel ignited,
the ignition source, the oxidizing agent, and the circumstances that led to the fire. Fire



27   Babrauskas, V. (2021). Smoldering Fires, Fire Science Publishers, New York, NY.

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cause determination generally follows origin determination. Typically, a fire cause
determination can be considered reliable only if the origin has been correctly
determined. (NFPA 921, 2021 Edition, Ch. 19.1).

     ▪     Professional Standards and Treatises. Fire investigators are expected to rely on
           and cite the latest professional standards of proper forensic principles and
           methodologies, expert treatises, and peer-reviewed literature. But Mr.
           Carpenter failed to update and mention several of these latest references. For
           example, he cites the 2014 Edition of NFPA 921 while now in the 2021 Edition.
           He also uses Dr. Vyto Babrauskas’ Ignition Handbook to discuss smoldering
           when a very recent 2021 treatise on smoldering fires is now available.28

     ▪     Flawed Application of the Scientific Method. Mr. Carpenter did not follow the
           Scientific Method in the evaluation of this fire. Nowhere in his report does Mr.
           Carpenter show where he conducted interviews of any witnesses, nor did he
           evaluate all of the original fire scene photos or witness/police videos. From
           Mr. Carpenter’s affidavit, it appears that he based his opinion solely on police
           reports and testimony. [AMOR 021280-021281].

     ▪     Computer Fire Modeling. Mr. Carpenter has continued to use the older version
           of the CFAST computer fire model. He co-wrote the input file for that program,
           which has not been updated since December 5, 2016. The problem with this
           approach is that newer and more accurate computer programs have been
           developed.

NFPA 921, 2021 Edition, pt. 21.4.1.3, states:

         While computational models can be used to test hypotheses, models should not be
         utilized as the sole basis of a fire origin and cause determination.

Mr. Carpenter’s computer model eliminates several rooms that a prudent model builder
would have included. Depending on the door openings, the position of the sliding door,
and other factors, a more accurate model could be realized, but that was not his choice
in a critical case. As in any forensic computer model, there are error rates that skew the
eventual predictions made by the expert. The latest CFAST version is more accurate
than its predecessor versions, so it would be expected that the projections may vary.

Mr. Carpenter had every chance to update the coding of his model but apparently
declined to so, a misstep that compromises his approach.




28 Babrauskas, V. (2021). Smoldering Fires, Fire Science Publishers, New York, NY.



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IX. OPINION #3 – THE FIRE’S ORIGIN AND CAUSE

Opinion #3 – Based upon today’s standards of care as well as the standards in effect in
1995, a forensic engineering analysis of the fire in this case, to a reasonable degree of
engineering certainty, confirms that the fire started in the area of origin as determined
by the City of Naperville, and observed by Mr. William Amor and Ms. Marianne Miceli.
The fire’s cause was, with and engineering degree of certainty, a lit cigarette landing on
and igniting newspapers within that area of origin, a human act resulting in an
incendiary fire.

         A.      Review of Origin and Cause Determinations

When conducting a thorough fire scene examination, the fire investigator examines the
overall structure, specific parts of the structure, and the geographic location of damage
within a fire scene to determine the area of fire origin29 and, if possible, the particular
point of fire origin This 30. process is vital and usually occurs before a cause for the fire
is determined.

Once a fire’s area or point of origin is established, the determination of fire cause31
typically follows, identifying the first fuel ignited, the ignition source, the oxidizing
agent, and the circumstances that led to the fire. Generally, a fire cause determination
can be considered reliable only if the origin has been correctly determined. (NFPA 921,
Ch. 19.1).

         B.      Ignition Source

Here, the hypothesis based on Mr. Amor’s statements was that he discarded a lit
cigarette onto newspapers on which he had previously spilled a vodka drink. Mr. Amor
claimed to see a wisp of smoke and left the apartment, knowing that the fire would
ensue and develop.



29   NFPA 921, 2021 Edition, Ch. 3.3.13 defines a fire’s area of origin as “A structure, part of a
     structure, or general geographic location within a fire scene, in which the “point of origin”
     of a fire or explosion is reasonably believed to be located.”
30   NFPA 921, 2021 Edition, Ch. 3.3.149 defines a fire’s point of origin as “The exact physical
     location within the area of origin where a heat source, a fuel, first interact, resulting in a fire
     or explosion.”
31   NFPA 921, 2021 Edition, Ch. 3.3.26 defines a fire’s cause as “The circumstances, conditions,
     or agencies that brought about or resulted in the fire or explosion incident, damage to
     property resulting from the fire or explosion incident, or bodily injury or loss of life
     resulting from the fire or explosion incident.”


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 (a) Annotated diagram by Mr. Amor              (b) Floorplan indicating the position of
     provided September 15, 1995,                   newspapers laying between the chair,
     detailing the locations of the Vodka           couch, and coffee table. [AMOR
     bottle, candle, and the newspapers             021139].
     laying between the chair, couch, and
     coffee table. [SDT-SAO 22777].

Figure 7. The detailed dimensional layout of Apartment “M” showing the family rooms
and the estimated area of origin as identified by witnesses, fire pattern analysis, and fire
dynamics.

In Mr. Amor’s repeated initial statements to the City of Naperville’s investigators and
prosecutor, there is no dispute as to the fire’s area of origin. As to fire causation, the
identification of the fire’s area of origin leads to the fire’s cause. Fire investigators are
taught the once a fire’s area or point of origin is established, the determination of fire
cause typically follows, which is the process of identifying the first fuel ignited, the
ignition source, the oxidizing agent, and the circumstances that resulted in the fire.

Generally, a fire cause determination can be considered reliable only if the origin has
been correctly determined. (NFPA 921, Ch. 19.1). My interpretation and analysis of the
fire patterns confirms that the fire’s narrowly defined area of origin was indeed located
within the intersection of where the newspapers laid on the floor between the chair,
couch, and coffee table. This is the same area where Mr. Amor admitted discarding the
lit cigarette.


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                                                                                      ICOVE 53
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       C.     The Fire’s Origin

A review of the scene documentation and photographs shows that, in my opinion, the
area of origin is in concert with that identified by the Naperville Fire and Police
Department investigation.

The accepted methodology for determining a fire’s origin is best accomplished with a
coordinated analysis of witness observations, fire patterns, and fire dynamics places a
narrowly defined area of origin as being where the pile of newspapers sat between the
couch, chair, and table as previously shown in Figure 7.

Shown in Figure 8 is the photograph of the room of fire origin. The area of origin is near
the right end of the couch. [DEFS 5178].




Figure 8. Photograph of the room of fire origin. The area of origin is near the right end
of the couch. [DEFS 5178].

NFPA 921 has three factors that, when used in concert, form the basis for determining a
fire’s origin. In review, this determination is made through the coordination of
information derived from one or more of the following [NFPA 921, 2021 Edition, 18.1.2]:

     (1) Witness information and/or Electronic Data. The analysis of observations
     reported by persons who witnessed the fire or were aware of conditions present at
     the time of the fire as well as the analysis of electronic data including but not
     limited to security camera footage, alarm system activation, or other such data
     recorded in and around the time of the fire event (see Chapter 14)




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       (2) Fire Patterns. The analysis of effects and patterns left by tJ1e fire, which may
       include patterns involving electrical conductors (see Chapter 6)

       (3) Fire Dynamics. The analysis of the fire dynamics [i.e., the physics and
       chemistry of fire initiation and growth (see Chapter 5) and the interaction between
       the fire and the building’s systems (See Chapter 7)]

Addressed below are the contributing information linking each of these three factors
now used by investigators to help determine the area of fire origin.

                               1.    Witness Information

NFPA 921 states that witness information has importance. In this case, the fire was
observed or recorded at or near the time of inception or before it spread to a secondary
fuel. Systematic analysis of witness statements in fire investigations is often critical in
identifying the origin of fires.32

Here we have essentially two eyewitnesses to help determine the fire origin:

       (1) Mr. Amor’s initial statements to investigators and later repeated to the
       prosecutor he allowed a lit cigarette to fall upon the newspapers laying between
       the chair, couch, and coffee table Amor also annotated a diagram of the scene
       illustrating this event as previously shown in Figure 5. [SDT-SAO 22777].
       (2) Ms. Miceli, who, upon realizing there was a fire and reporting it by telephone
       to 911, looked towards the patio door and saw the chair on fire which was
       adjacent to the area of origin. [DEFS 05613].
Each witness sees the fire concentrating near the chair next to the couch. The
investigation by the City of Naperville also placed the fire’s origin as to that area of
newspapers laying between the chair, couch, and coffee table, as shown in Figure 7.

I also concur with the reconstruction of the fire by the City of Naperville.

                               2.    Fire Pattern Analysis

When reconstructing fire scenes, skilled fire investigators use many indicators to
estimate the areas and points of origin, distribution, and behavior of a fire, such as
spreading direction. When correctly identified, documented, and classified, these
indicators often define a fire’s area of origin.


32   Geiman, J. A., & Lord, J. M. (2012). Systematic analysis of witness statements for fire
     investigation. Fire technology, 48(2), 219-231.

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                                                                                 ICOVE 55
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As seen in Table 3, these indicators, called fire patterns, are characteristically broken
down into five major groupings: (1) demarcations, (2) surface effects, (3) penetrations,
(4) loss of material, and (5) victim injuries. Fire investigators often classify these fire
patterns using a typology as shown in Table 3. Illustrated in Figure 9 results from a fire
test in which several of these fire pattern indicators were produced.


                                                         Figure 9. Fire pattern indicators
                                                         found at fire scenes consisting of
                                                         (1) demarcation, (2) calcination,
                                                         (3) loss of material from wooden
                                                         wainscoting and baseboard, (4)
                                                         fractured glass, (5) ignitable
                                                         liquid burn pattern on carpet,
                                                         (6) penetration into the ceiling,
                                                         and (7) area of clean burn
                                                         where paper and pyrolysis
                                                         products burned completely off
                                                         the wall.

                                                         Source: Icove, D. J. & Haynes,
                                                         G.A. (2018). Kirk’s Fire
                                                         Investigation (8th Edition),
                                                         Pearson-Prentice Hall, Upper
                                                         Saddle River, New Jersey




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                                                                                ICOVE 56
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Table 3. Typology of Common Fire Patterns


         TABLE 5 -3


      TYPI: Of
      PATl'11Rr,I              D SCRIPTIOr,1            VARIABI.ES
      Oemarc.itioru                                     ■    yp of mat r I                                   ori wall~
                                                        ■   Fire temperature,              ■   Discoloration patterns
                                                            duration, and rate of
                              on milterials where
                                ok nd h t
                                                            ho t r I      s•               •      10k       In

                              lmpin "                   ■   Fire suppression
                                                        ■   Ventilation
                                                        ■   H c1t flu)( re
                                                            surf.ice
      Surface effects         Determined by the
                              bound ry shap ,
                                                        •                                  ■   Spa il ing of ioor s-urf-acC!S
                                                                                           •    ombu lbl SU rt' e.'i
                              ,H as of
                                                                                                cor c;hed or t1arr ;;I by
                              d m-l!r 10n, nd           ■   Surfar:e-to-ma$5 r.itio            pyrolysis ;;ind oxidation
                              na ur of heat
                              app li!;;;ition to        ■   Surface cov ring!:                 Dehydr tlon
                              various surface           ■    ombu lbl .ind                 ■ Noncombustll:lle
                              types                         non ornbustible                  surface~ changing
                                                            surfaces                         color, oxidizing,
                                                        • Thermal condu            lv1ty     melting, or burning
                                                                                             c.L anlY
                                                        ■    emperature of surfac:e
                                                                                           ■ Smok      alns
                                                                                           ■   Heat shadowing
                                                        ■   Pr                                 D wnw,rd
                                                            fl                                 p n r .. tions under-
                                                            w.ills                             fu mltu re
                                                            Direct flame                   • Saddl - burns on
                                                            ;nip ngement                     exposed floor Joi
                                                        ■   He@tf!ux                       • Fa iiure of wallli,
                                                        ■   Duration of flrt:!               ceilings, and floors

                                                        ■    up r       slon               ■ lntorn I ct ·
                                                                                               w II nd
                                                                                           ■ Caicjnatlon

      Loss of mat rial                                  ■   Typ      of rnatc:i lals           Tops 01' wood n wall
                                                        ■   Con~ru lonm thod                    ud
                                                        ■   Room contents and -fue l
                                                            load                               lsOlilted ilfe of
                                                        ■   Dur       on off r                 consum d car,rt
                                                                                           • Beveling of ,;orner:,;
                                                                                             .ind edges
      Vi . Im In uri s        Ar    , d pth , nd        ■   Lo t on f vi tlm In            ■   Burn to f    nd
                              d g     s of bum              r I, · ion to o·th r             h nd
                              on vi t1rr)'s clothing        objects or victim:;            ■ Absence o-f burn
                              .ind body                 ■   Actions taken prior to,          injuries where
                                                            during, and -fter the            protected by dothing
                                                            fir                              or furntture
                                                                                           ■ Burns on lower torso

                                                                                           ■   Heat shadowing
      sout-r:~: E,cpanded lrnftl Irove ·1 995,


Source: Icove, D. J. & Haynes, G.A. (2018). Kirk’s Fire Investigation (8th Edition),
Pearson-Prentice Hall, Upper Saddle River, New Jersey


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                                                                                                                     ICOVE 57
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                                        Demarcations

The impingement, intensity, and direction of the fire plume’s travel form lines or areas
of demarcation on walls, ceilings, floors, and other materials. These patterns are known
as demarcations, which form at the intersections of heavy and light-burned surfaces.
After extinguishment of the fire, these demarcations are still visible. An example of that
pattern is labeled as (1) in Figure 9.

Damage patterns forming lines of demarcation often appear in simple two-dimensional
(cross-sectional) views of the location where the fire plume meets and damages wall
surfaces. These lines are often called V-shaped fire patterns, based on their characteristic
upward-sweeping curves.

At time, as in this particular fire, these characteristic lines of demarcation form curves
form what is known as an hourglass pattern. This pattern occurs when a fuel package
burns in a room next to a wall or corner, the damage appears in the shape of an
hourglass burn pattern which is a variant of the V-shaped pattern, as shown in Figure 9.
Fire testing and mathematical analysis33 shows that the formation of hourglass burn
patterns is a direct function of the fire plume’s virtual origin, which is mathematically
tied to the fuel package's heat release rate and surface area.

Tests conducted by FM Global (formerly the Factory Mutual Research Corporation)
explained the formation of V-patterns. In FM Global’s testing, a closer examination of a
fire plume’s lines of demarcation reveals distinct areas of damage to the wall surfaces,
also known as the fire propagation boundary. (Figure 10). This pattern is known as the
critical heat flux boundary, which forms visually distinguishable lines where the heavy
pyrolysis of the surface ends.

                                       Surface Effects

Surface effects occur when heat transfer can cause discoloration of masonry surfaces,
scorching or charring of combustible surfaces, melting or color changes, or oxidizing
non-combustible surfaces. Areas not damaged by the heat and flames are called
protected areas and are significant in cases when objects or bodies have been found or
have been removed before inspection.

Surface effects can also include nonthermal deposits of soot or pyrolysis products that
condense on the cooler surfaces. The cooler the surface, the faster these deposits occur.



33   D.J. Icove and J.D. DeHaan. 2006. “Hourglass Burn Patterns: A Scientific Explanation for
     their Formation,” (International Symposium on Fire Investigation Science and Technology,
     Cincinnati, Ohio, June 26-28, 2006.)

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Surface effects appeared on the nearby exposed gypsum board walls, finishing
materials, carpeting, cardboard boxes, and furniture as shown in Figure 11.




    (a) FM Global Fire Testing producing         (b) Area of the fire’s origin that
        an hourglass fire pattern on the             produced a similar hourglass fire
        exposed wall and ceiling surfaces.           pattern on the exposed walls
                                                     outlined in blue. [DEFS 5178].


Figure 10. The correlation between critical heat flux boundary (dashed line) and visible
lines of demarcation (dashed-dotted line) in an FM Global 25-ft corner fire test (left) and
a similar pattern in 218 East Bailey, Naperville, Illinois, fire scene.

                                     Loss of Material

Loss of material occurs in any combustible material located in the path of a fire’s
development and spread. This loss of material helps determine the fire’s intensity and
direction of travel. Heat shadowing can affect the loss of materials by shielding the heat
transfer and masking the potential lines of demarcation of other fire patterns (Kennedy
and Kennedy 1985, 450; NFPA 2021, pt. 6.2.3.) Loss of material can be driven by direct
flame impingement or radiant heat alone.

Figure 12 shows the loss of materials above the point of fire origin where the newspaper
was located on the floor. A noticeable loss occurs on the armrest, which has fallen from
the front post. Note that the armrest and support directly below have burned away and
are missing at the ends closest to the sofa.

There is also a significant loss of material as beveling of the front arm post. Other losses
of material are on surfaces facing the point of fire origin.




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Figure 11. The exposed surfaces marked in blue near the base of the hourglass fire
pattern demonstrating surface effects. When taken into totality, these fire patterns
document the point of fire origin as being the newspapers between the couch, chair,
table, and chair. [DEFS 5258].




Figure 12. The exposed surfaces near the base of the hourglass fire pattern
demonstrating loss of material effects shown with blue lines. When taken into totality,
these fire patterns document the point of fire origin as being the newspapers between
the couch, chair, table, and chair. [DEFS 5258].

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                                        Penetrations

Another typical fire pattern is the occurrence of penetrations through horizontal and
vertical surfaces as direct flame impingement or intense radiant heat on walls, ceilings,
and floors is sustained long enough to affect deeper layers of the material. Ceiling areas
directly overhead of fire plumes may burn through or collapse, allowing flames to
extend into confined spaces.

Rapid charring caused by post-flashover radiant heat can be enhanced by ventilation
from doors or windows to produce penetrations through floors near doors or windows,
in the center of rooms, or across the room from vents where air flows, where post-
flashover mixing is most efficient.

In some cases, the fall-down of combustible debris followed by extended smoldering
can lead to localized penetration of wooden floors, sills, and toe plates in wood-framed
structures. Variables influencing penetrations include preexisting openings in floors,
ceilings, and walls. And direct flame impingement coupled with high heat fluxes helps
create creating the conditions necessary for penetrations. The area where a fire plume
intersects a ceiling is an example of penetration into the ceiling directly above the fire
plume because the high heat flux and temperatures that caused the ceiling materials
failure.

Penetrations or at least the start would have occurred on the ceiling, directly above or
near the hourglass fire plume. But the firefighting operations appear to have pulled
down the ceiling, most likely to check for extensions of the fire.

  3.    The Ignition Source and Sequence as It Relates to Fire Dynamics

Based on the witness statements of Mr. Amor, a competent ignition source and
sequence can be inferred from actual data and scientific studies. As stated in NFPA 921,
2021 Edition, Ch. 3.3.149, defines a fire’s point of origin as “The exact physical location
within the area of origin where a heat source, a fuel, first interact, resulting in a fire or
explosion.”

At the center of this fire scenario were statements to the police and prosecutor where
Mr. Amor stated that the fire started where he dropped a lit cigarette onto newspapers
on which he had spilled vodka on [Doc. 1, ¶25]. As shown in Figure 4, the newspapers
were between the couch and chair.

Except for the initial ignition scenario that was stated by Amor, there is little discussion
of another potential sequence, that is, the cigarette placed on one of the dryer portions
of the newspaper. This is realistic and competent ignition source and resulting scenario
could ignite a fire in that same area.

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As to fire causation, the identification of the fire’s area of origin leads to the fire’s cause.
Fire investigators are taught the once a fire’s area or point of origin is established, the
determination of fire cause typically follows, which is the process of identifying the first
fuel ignited, the ignition source, the oxidizing agent, and the circumstances that
resulted in the fire.

Generally, a fire cause determination can be considered reliable only if the origin has
been correctly determined. (NFPA 921, Ch. 19.1). A fire scene reconstruction by several
investigators confirmed that the fire’s narrowly defined area of origin was indeed
located within the intersection of where the newspapers laid on the floor between the
chair, couch, and coffee table. This is the same area where Mr. Amor admitted
discarding the cigarette.

Mr. Carpenter, for example, does not examine the impact of the cigarette being placed
on one of the dryer portions of the newspaper. This is a realistic and competent ignition
source, and the resulting scenario could ignite a fire in that exact area of origin.

In the scenario of a dropped cigarette onto the newspaper is a competent ignition
source and sequence, there is ample historical peer-reviewed fire testing. The latest
research on smoldering fires by Dr. Vyto Babrauskas reports that laboratory studies on
cigarettes placed on paper goods (aka, newspapers) had short time periods. For
example, a study by Lord and Geiman found a mean time to ignition of 6.2 minutes,
with a range of 1.1 to 16 minutes.34

Babrauskas reports that smoldering is defined as a propagating, self-sustained
exothermic reaction wave deriving its central heat from heterogeneous oxidation of
solid fuel.

After the fire started, it exposed the adjoining couch to convective and radiant heat,
causing the armrest to burn through towards the front of the couch, as shown in Figure
13. Heat damage to the corner caused the formation of an hourglass pattern. A vector
analysis of the fire patterns of exposed surfaces all point back to an initially low fire in
the direct vicinity of where the newspapers rested.




34   Babrauskas, V.B. (2021). Smoldering Fires, Fire Science Publishers, New York, NY.



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Figure 13. (a) Extremely close area of origin documenting the thermal impact on the
couch’s wooden frame and (b) the hourglass fire pattern. Near the glass door to the
balcony is a fire pattern caused by ventilation.

       D.     Conclusions

In this expert report, I have expressed and documented the bases for the following
opinions:

Opinion #1 - The investigation initiated and coordinated by the City of Naperville into
the September 10, 1995, apartment fire at 218 East Bailey, Naperville, Illinois, met in
1995 the minimum professional standards of professional practice for applying the
Scientific Method to the origin and cause in the field of fire and explosion
investigations.

Opinion #2 - The investigation by Douglas J. Carpenter into the September 10, 1995,
apartment fire at 218 East Bailey, Naperville, Illinois, failed to meet the minimum
professional standards of professional practice in the field of fire and explosion
investigations by not correctly applying the scientific method to the facts of this case.

Opinion #3 – Based upon today’s standards of care as well as the standards in effect in
1995, a forensic engineering analysis of the fire in this case, to a reasonable degree of
engineering certainty, confirms that the fire started in the area of origin as determined
by the City of Naperville, and observed by Mr. William Amor and Ms. Marianne Miceli.
The fire’s cause was, with and engineering degree of certainty, a lit cigarette landing on


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                                                                                ICOVE 63
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and igniting newspapers within that area of origin, a human act resulting in an
incendiary fire.

These opinions are supported by NFPA 921’s guidance on ignition sources and
sequences, mainly when there are times that an opinion can be rendered when no
physical evidence remains of the point of fire origin. This ignition scenario can logically
be inferred and does not require finding the actual cigarette in the remains.

When a competent and thorough investigation is undertaken, NFPA 921 (Section
19.4.4.3) provides the following guidance:

       There are times when there is no physical evidence of the ignition source found at
       the origin, but where an ignition sequence can logically be inferred using other
       data. Any determination of fire cause should be based on evidence rather than on
       the absence of evidence; however, there are limited circumstances when the
       ignition source cannot be identified, but the ignition sequence can logically be
       inferred. This inference may be arrived at through the testing of alternate
       hypotheses involving potential ignition sequences, provided that the conclusion
       regarding the remaining ignition sequence is consistent with all known facts (see
       Basic Methodology chapter).

It is evident in this case that based upon witness statements, a thorough investigation,
the following and application of the scientific method, the reliance on established
forensic engineering approaches, and examination of fire patterns associated with
physical debris, a lit cigarette landing initiated this fire on newspapers.

X.   DECLARATION

The analysis performed and opinions provided in this case, to a reasonable degree of
engineering certainty, conform to the generally accepted principles of forensic fire scene
reconstruction and investigation and are based upon the facts and information made
available to the date of this report. Evidentiary support is cited within this report to
document the basis for the opinions rendered.

I hereby certify that I prepared this declaration and that I am a duly licensed Registered
Professional Engineer under the laws of the State of Tennessee, License Number 16650,
Expiration Date: January 21, 2023.

I hereby affirm, pursuant to 28 U.S.C. § 1746, that the foregoing declaration is true and
correct under penalties of perjury.




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Respectfully submitted,




 David J. Icove, Ph.D., P.E., DFE

 June 17, 2021




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       APPENDIX A – DOCUMENTS, INFORMATION, AND DATA
                         REVIEWED

Alarm – 911 Call and Radio Traffic (DEFS 5613-5615)

Dispatch Times (Pl. Amor 038271-038273)

Court Records – Court Divorce of the Amors (SDT-DCPDO 5129-5140, 5795-5802, 5753)

Court Transcripts

   ❑   1997 Trial (DEFS 1134-1993, 2179-2473, SDT-SAO 17107-17271, 20120-20232, and
       Amor 1216-1434)

   ❑   1997 Sentencing Proceedings (DEFS 2488-2561)

   ❑   1997 Motion For Reconsideration (DEFS 2474-2487)

   ❑   2016 Hearings (SDT-SAO 15412 -15736, 15753- 16188, 17361-17511)

   ❑   November 11, 2017 ROP MIL Transcript (SDT-SAO 13163-13210)

   ❑   2018 Trial (AMOR 1523-2798, 2963-3139)

   ❑   2019 Hearings (DEFS 14120-14164)

Exhibits

   ❑   Defense (Pl. Amor, 5960-6010, 6929-6982,11704-11710, 17457-17462, 17463-17464,
       18988-18994, 21137-21145, 21200-21266, 21268- 21277,21278- 21292 23098-23099,
       27992-28004; SDT-SAO- 8574-8604, 10331)

   ❑   Post-Conviction (Pl. Amor 8525-8547, 38288-38355; SDT-SAO 5160-5187,5210-
       5222, 5223-5225, 11416-11434, 12049, 12050-12056, 12057-12065,22761-22762,
       22763-22766, 22767- 22773, 22776-22793, 22794, 22797, 22962, 22963)

Emails -Douglas Carpenter

Court – Federal Filings

Court – State Filings

Standards of Care

   ❑   California Distract Attorney’s Association



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   ❑   NFPA 921, 1993 and 2021 Editions

   ❑   NFPA 1033, 1995 and 2014 Editions

Photos

   ❑   Scene Photos (DEFS 738-739, 5141-5280)

   ❑   Kragh Engineering (DEFS 5309- 5366)

Reports

   ❑   Autopsy (DEFS 102-106)

   ❑   Coroner’s Inquest SDT-SAO (18460-18486)

   ❑   Employment Records – Amor (DEFS 245-308, 352-365, 401-419)

   ❑   Illinois State Fire Marshal (SDT-ISFM 01-09)

   ❑   Kragh Engineering (DEFS 487-490, 597, AMOR 307-308)

   ❑   Naperville Fire Department (DEFS 483, 576-578, 680-686, 692-694; AMOR 209--
       250, 252-306)

   ❑   Naperville Police Department (Investigative File)

   ❑   Naperville Police Department report with the phone records- (DEFS 728-729)

   ❑   Bill Amor Letters to Tina (DEFS 491-557)

   ❑   Richard T. O’Brien & Associates (DEFS 446-449)

   ❑   Reid and Assoc. Report on Amor Polygraph (DEFS 420-422)

   ❑   Pre-Plea (SDT-SAO 8415-8426)

   ❑   Pre-Sentence (SDT-DCDPCS 10-21)

   ❑   Toxicology (DEFS 178-179)

   ❑   12-04-1996 Chiapetta Evaluation (DEFS 927-930)

   ❑   12-06-2017 Declue Expert Report (DEFS 4343-4346)

   ❑   01-04- 2018 David Smith Expert Report (AMOR 2847-2852)


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   ❑   SAO Report (SDT-SAO 5021-5155)

   ❑   Met Life Policy (DEFS 207-217, 390-400)

   ❑   State Farm Homeowners Policy (DEFS 218-241, 444, 367- 389)

   ❑   State Farm Insurance Subpoena Response (SDT-STATEFARM 001-382)

   ❑   Doug Carpenter Flash Testing (Pl. AMOR 039376)

Expert Reports

   ❑   Douglas Carpenter Report and CFAST Models

   ❑   Michael F. Chiapetta

   ❑   Gregory DeClue

   ❑   John D. DeHaan

   ❑   David Ferreri

   ❑   John J. Golder

   ❑   Richard Leo

   ❑   David Smith

Statements

   ❑   William Amor (Deposition; Deposition Video; DEFS 818-820, 13810-13811;SDT-
       SAO 3413-3420, 5300-5381,10690-10692, 22962-22963)

   ❑   Tina Miceli (May 23, 2017, Interview with Pawl and Guerreri; 2020 Deposition)

   ❑   Dr. Richard Leo (Deposition)

   ❑   Doug Carpenter (Deposition)

   ❑   David Bayer (Deposition)

   ❑   Erica Nichols Cook (Deposition)

   ❑   Michael Cross (Deposition)

   ❑   Brian Cunningham (Deposition)


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   ❑   David Ferreri (Deposition)

   ❑   Robert Guerreri (Deposition)

   ❑   Mitchell Kushner (Deposition)

   ❑   Brian Nigohosian (Deposition; DEFS 733-737)

   ❑   Nicholas O’Riordan (Deposition)

   ❑   Russell S. Wiedmann (SDT-DCPDO 5795-5802)

   ❑   Lauren Kaeseberg (Deposition)

   ❑   Shelley Williams (Deposition)

Testing – Videos (DEFS 5293-5294)

Standards

   ❑   ASTM E620-2011. Standard Practice for Reporting Opinions of Technical Experts,
       West Conshohocken, PA: ASTM International.
   ❑   ASTM E678-2013. Standard Practice for Evaluation of Scientific or Technical Data,
       West Conshohocken, PA: ASTM International.
   ❑   ASTM E860-2013. Standard Practice for Examining and Preparing Items that Are or
       May Become Involved in Criminal or Civil Litigation, West Conshohocken, PA:
       ASTM International.
   ❑   ASTM E1020-2013. Standard Practice for Reporting Incidents That May Involve
       Criminal or Civil Litigation. West Conshohocken, PA: ASTM International.
   ❑   ASTM E1138-1989. Terminology of Technical Aspect of Products Liability Litigation,
       ASTM International, West Conshohocken, PA
   ❑   ASTM E1188-2011. Standard Practice for Collection and Preservation of Information
       and Physical Items by a Technical Investigator. West Conshohocken, PA: ASTM
       International.
   ❑   ASTM E1355-2012. Evaluates the predictive capacity of fire models by defining
       scenarios, validating assumptions, verifying the mathematical underpinnings of
       the model, and evaluating its accuracy.
   ❑   ASTM E1459-2013. Standard Guide for Physical Evidence Labeling and Related
       Documentation. West Conshohocken, PA: ASTM International.
   ❑   ASTM E1472-2007. Describes how a fire model is to be documented and includes
       a user’s manual, a programmer’s guide, mathematical routines, and installation
       and operation of the software. Note: Withdrawn in 2010.




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   ❑   ASTM E1492-2011. Standard Practice for Receiving, Documenting, Storing, and
       Retrieving Evidence in a Forensic Science Laboratory. West Conshohocken, PA:
       ASTM International.
   ❑   ASTM E1591-2013. Covers and documents available literature and data that are
       beneficial to modelers.
   ❑   ASTM E1895-2007. Examines the uses and limitations of fire models and
       addresses how to choose the most appropriate model for the situation. Note:
       Withdrawn in 2011. The ASTM felt that SFPE would be best suited to maintain
       this application in the form of a user guide.
   ❑   NFPA 921, 2017 Edition. NFPA 921 – Guide for Fire and Explosion Investigations,
       National Fire Protection Association, Quincy, MA
   ❑   NFPA 1033, 2014 Edition. NFPA 1033 – Professional Qualifications for Fire
       Investigator, National Fire Protection Association, Quincy, MA

Textbooks

   ❑   Babrauskas, V.B. (2021). Smoldering Fires, Fire Science Publishers, New York, NY.
   ❑   Icove, D. J. & Haynes, G. A. (2017). Kirk’s Fire Investigation (8th Edition). Upper
       Saddle River, NJ: Pearson-Prentice Hall
   ❑   Icove, D. J., DeHaan, J. D., & Haynes, G. A. (2013). Forensic Fire Scene
       Reconstruction (3rd Edition). Upper Saddle River, NJ: Pearson-Prentice Hall
   ❑   Rein, G., & Carvel, R. (Eds.). (2007).The Dalmarnock fire tests: experiments and
       modelling. School of Engineering and Electronics, University of Edinburgh.

References

   ❑   Peacock, R. D., Reneke, P. A., & Forney, G. P. (2017). CFAST–Consolidated
       Model of Fire Growth and Smoke Transport (Version 7) Volume 2: User’s Guide.
       NIST Technical Note 1889v2., p.15
   ❑   Geiman, J. A., & Lord, J. M. (2012). Systematic analysis of witness statements for
       fire investigation. Fire technology, 48(2), 219-231.
   ❑   Mowrer, F. W. (2002). The right tool for the job. Journal of Fire Protection
       Engineering, 13, 39-44.




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      APPENDIX B – EXPERIENCE, PUBLICATIONS, TESTIMONY

                             David J. Icove, Ph.D., P.E.
                                        P.O. Box 1348
                              Knoxville, Tennessee 37901-1348
                         (865) 693-4361 (TEL) (865) 693-4369 (FAX)

 PROFESSIONAL EXPERIENCE

   2019 – Present                 Partner/Manager
                                  Icove Ingram Group, LLC, Knoxville, Tennessee

   1998 – Present                 President/Manager
                                  Icove and Associates, LLC, Knoxville, Tennessee

   Apr. 2014 – Present            UL Professor of Practice
                                   Program Coordinator, Fire Protection Engineering
                                      Certificate and Graduate Concentration
                                   Department of Electrical Engineering and Computer
                                   Science, The University of Tennessee, Knoxville
   Oct. 2009 – Apr. 2014          Research Professor
   Oct. 1995 – Sep. 2009          Adjunct Assistant Professor
   Jan. 1980 – Jan. 1984          Instructor

   Dec. 2004 – Present            Adjunct Faculty
                                   Professional Master of Fire Protection Engineering
                                   University of Maryland, College Park, Maryland

   Sep. 2012 – Present            Adjunct Faculty
                                   University of New Haven, Henry C. Lee College of
                                   Criminal Justice and Forensic Sciences, New Haven,
                                   Connecticut

   Mar. 2006 – Present            Reserve Deputy Sheriff
                                   Fire Investigations Bureau
                                   Knox County Sheriff’s Office, Knoxville, Tennessee

   Dec. 1993 – Dec. 2005          Federal Law Enforcement Agent
                                   Criminal Investigations Division
                                   U.S. Tennessee Valley Authority Police
                                   Knoxville, Tennessee



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   Mar. 1984 – Dec. 1993        Program Manager, GM-1801-15
                                 Arson and Bombing Investigative Services Sub-unit
                                 Federal Bureau of Investigation
                                 Behavioral Science Unit, Quantico, Virginia

   Oct. 1979 – Dec. 1983        Supervisor/Investigator
                                 Arson Task Force
                                 Knoxville Police Department, Knoxville, Tennessee

   Mar. 1978 – Sep. 1979        Investigator
                                 Ohio State Fire Marshal’s Office, Reynoldsburg, Ohio

   Aug. 1976 – Mar. 1978        Investigator
                                 Tennessee State Fire Marshal’s Office, Knoxville, Tenn.

   Aug. 1971 – May 1975          Engineer (See above date on leave for additional
                                 degrees) U.S. Navy, Hyattsville, Maryland

EDUCATION
  ❑ B.S., Electrical Engineering, University of Tennessee, Knoxville (1971)
  ❑ M.S., Electrical Engineering, University of Tennessee, Knoxville (1974)
    Thesis: FEDAP: The Fire Engineering Data Analysis Program
  ❑ B.S., Fire Protection Engineering, University of Maryland, College Park, Maryland
    (1975) Thesis: Application of Pattern Recognition to Arson Investigation
  ❑ Ph.D., Engineering Science and Mechanics, University of Tennessee, Knoxville
    (1979) Dissertation: Principles of Incendiary Crime Analysis

PROFESSIONAL CERTIFICATIONS
  ❑ Board Certified and Diplomate Fellow, National Academy of Forensic Engineers,
    2015
  ❑ Certified Fire Investigator, International Association of Arson Investigators,
    Certificate No. 04-121651
  ❑ Certified Fire and Explosion Investigator, National Association of Fire
    Investigators, June 28, 2006, Rec. No. 7271-5469
  ❑ Certified Fire Protection Specialist, National Fire Protection Association, June 1,
    2014, Certification No. 3727
  ❑ Police Officer Standards and Training, Knoxville Police Department, January
    1980
  ❑ Volunteer Recruit School, Prince George’s County, Maryland, 1971


PROFESSIONAL REGISTRATIONS
  ❑ Professional Engineer, State of Alabama, 2010, License No. 31381
  ❑ Professional Engineer, State of Arkansas, July 20, 2010, License No. 14304



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   ❑   Professional Engineer, State of Florida, May 31, 2013, License No. 76243
   ❑   Professional Engineer, State of Georgia, License No. PE041439
   ❑   Professional Engineer, State of Illinois, License No. 062.071463
   ❑   Professional Engineer, State of Kentucky, License No. 35845
   ❑   Professional Engineer, State of Louisiana, May 20, 2010, License No. 0035454
   ❑   Professional Engineer, State of Maryland, July 1, 2010, License No. 39316
   ❑   Professional Engineer, State of Michigan, August 22, 2014, License No.
       6201061513
   ❑   Professional Engineer, State of Nebraska, February 28, 2011, License No. E13655
   ❑   Professional Engineer, State of New Hampshire, May 31, 2013, License No. 14094
   ❑   Professional Engineer, State of North Carolina, February 14, 2011, License No.
       037613
   ❑   Professional Engineer, State of Ohio, February 11, 2014, License No. PE 78661
   ❑   Professional Engineer, State of Pennsylvania, January 7, 2010, License No.
       PE077385
   ❑   Professional Engineer, State of South Carolina, July 11, 2011, License No. 29180
   ❑   Professional Engineer, State of Tennessee, Feb. 25, 1984, License No. 16650
   ❑   Professional Engineer, State of Texas, November 24, 2009, License No. 104460
   ❑   Professional Engineer, State of Virginia, Oct. 1, 1984, License No. 15062
   ❑   Professional Engineer, State of Wisconsin, March 11, 2013, License No. 42851-6
   ❑   National Council of Examiners for Engineering and Surveying (NCEES),
       International Registry for Professional Engineers (IRPE)

PROFESSIONAL ASSOCIATION MEMBERSHIPS
  ❑ Institute of Electrical and Electronic Engineers (IEEE), Member since 1971, Senior
    Member since 2000.
  ❑ Society of Fire Protection Engineers (SFPE), Member since 1971, Fellow since
    2011.
  ❑ International Association of Arson Investigators (IAAI), Member since 1973.
  ❑ National Fire Protection Association (NFPA), Member since 1979.
  ❑ American Society for Industrial Security (ASIS), Member since 1984.
  ❑ International Association of Bomb Technicians and Investigators (IABTI),
    Member since 1988.
  ❑ International Homicide Investigators Association (IHIA), Charter Member 1989.
  ❑ National Society of Professional Engineers (NSPE), Member since 1997.
  ❑ American Society for Testing and Materials (ASTM), Member since 2000.
  ❑ National Association of Fire Investigators (NAFI), Member since 2001.
  ❑ International Code Council (ICC), Member since 2009.
  ❑ National Academy of Forensic Engineers (NAFE), Fellow and Diplomate since
    2015




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COMMITTEE MEMBERSHIPS
  ❑ NFPA 921 “Technical Committee on Fire and Explosion Investigations,” Member
    1992 to 2018, and liaison member to NFPA 901, Fire Incident Reporting
  ❑ NFPA 901 “Fire Incident Reporting,” Chairperson, March 2013 to present.
  ❑ National Institute of Justice (NIJ), Technical Working Group Publications
        o Fire and Arson Scene Evidence: A Guide for Public Safety Personnel (June 2000)
        o Electronic Crime Scene Investigation: A Guide for First Responders” (July 2001)
  ❑ American Society for Testing and Materials (ASTM),
        o Committee E05 on Fire Testing, Member 2000 to present
        o Committee E30.11 on Interdisciplinary Forensic Science Standards, 2009 to
           present
        o Committee E58 on Forensic Engineering, 2009 to present.
  ❑ Underwriters Laboratories, Inc. “Fire Advisory Council,” Member 2005 to
    present.
  ❑ Texas State Fire Marshal’s Office, “Science Advisory Working Group,” Member
    2011 to 2019.
  ❑ Fire and Arson Investigator Journal, Co-Chairperson of the “Editorial Review
    Committee,” International Association of Arson Investigator, Member 2010 to
    2015.
  ❑ City of Knoxville, Building Board of Adjustments and Appeals, representative of
    the Fire Service. Member since 2012.
  ❑ Murder Accountability Project, Board of Directors, Charter Member since 2015.


STUDENT THESIS AND DISSERTATION COMMITTEE MEMBERSHIPS
  ❑ John Francis Wade, Ph.D., 2020, Electrical Engineering-Fire Protection
    Engineering Concentration, University of Tennessee, Arc Flash in Single Phase
    Electrical Systems, Committee: D.J. Icove (Chair), J.E. Lyne, B.J. Blalock, M.E.
    Dean, V. Babrauskas.
  ❑ Dan Caleb Floyd, M.S., 2020, Electrical Engineering, University of Tennessee,
    Non-Thesis option, Committee: S.M. Djouadi (Chair), D.J. Icove, R.T. Wood.
  ❑ Justin T. Beeler, Ph.D., 2019, Electrical Engineering-Fire Protection Engineering
    Concentration, University of Tennessee, An Examination of Methods to Determine
    the Flammability Characteristics of Electrical Cables Exposed to Extended Periods of
    Radiation in Nuclear Facilities, Committee: D.J. Icove, E. Lyne, B. Blalock, A. Fathy.
  ❑ Daniel Wesley Willis, 2019, Electrical Engineering-Fire Protection Engineering
    Concentration, University of Tennessee, Non-Thesis option, Committee: D.J.
    Icove (Chair), M. Taufer, D. Wilson.
  ❑ Jackson Rondy Buckles, 2019, Electrical Engineering-Fire Protection Engineering
    Concentration, University of Tennessee, Non-Thesis option, Committee: D.J.
    Icove (Chair), M. Taufer, D. Wilson.
  ❑ Edward Benjamin Palmer, 2019, Electrical Engineering-Fire Protection
    Engineering Concentration, University of Tennessee, Non-Thesis option,
    Committee: D.J. Icove (Chair), M. Taufer, S. Djouadi, D. Wilson.


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   ❑   Maxwell Hunter Robinson, M.S., 2018, Electrical Engineering and Computer
       Science, University of Tennessee, Non-Thesis option, Committee: B.J. Blalock
       (Chair), K. Islam, D.J. Icove.
   ❑   Jimmy A. Landmesser, Jr., M.S. 2018, Nuclear Engineering, University of
       Tennessee, Density Matching of Particles Affects of Temperature and Viscosity on Brix
       Values of Sucrose-Water Solution, Non-Thesis option, Committee: J.D. Auxier
       (Chair), A.E. Ruggles, D.J. Icove.
   ❑   Alexander Meadows Asbury, M.S. 2017, Electrical Engineering and Computer
       Science, University of Tennessee, Thesis option, Committee: D.J. Icove (Chair),
       B.J. Blalock, M.A. Langston.
   ❑   Jonathan Lamont, M.S. 2016, Electrical Engineering and Computer Science,
       University of Tennessee, Non-Thesis option, Committee: D.J. Icove, B.
       MacLennan, J. Gregor.
   ❑   Donald Charles Collins, M.S., 2015, Electrical Engineering and Computer Science,
       University of Tennessee, Dividing and Conquering Meshes within the NIST Fire
       Dynamics Simulator on Multicore Computing Systems, Committee: D.J. Icove,
   ❑   Andrew Thomas Tinsely, Ph.D., 2015, Civil Engineering, University of
       Tennessee, Determination of Area of Fire Origin through Examination of Structural
       Failure and Deformation, Committee: E.G. Burdette, R. Bennett, H. Deatherage,
       and D.J. Icove.
   ❑   Christopher Adam Shults, Ph.D., 2014, Political Science, University of Tennessee,
       Smoking Related Fires and the Impact of the Fire Standard Compliant Legislation in the
       States, Committee: D. Folz, D.J. Houston, P.F. Freeland, and D.J. Icove.
   ❑   Lucas A. Herrera. M.S., Computer Engineering, University of Tennessee. A Novel
       Authentication Method Using Multi-Factor Eye Gaze, Committee: J.D. Birdwell, T.W.
       Wang, and D.J. Icove.
   ❑   Jonathan Daniel Hatcher, M.S., 2007, Electrical and Computer Engineering,
       University of Tennessee, Non-Thesis option, Committee: D.W. Bouldin, Syed K.
       Islam, and D.J. Icove.
   ❑   Christopher Noel Carroll, M.S., 2006, Electrical and Computer Engineering,
       University of Tennessee, Non-Thesis option, Committee: D.W. Bouldin, D.J.
       Icove, and M. Ferdjallah.
   ❑   Sara Noel Abdulla, M.S., 2006, Industrial Engineering, University of Tennessee,
       Analysis of Information Networks of Freshmen Engineering Students, Committee: D.F.
       Jackson, D. Kong, and D.J. Icove.
   ❑   Joseph D. Barnes, M.S., 2006, Electrical and Computer Engineering, University of
       Tennessee, Non-Thesis option, Committee: D.W. Bouldin, J.R. Roth, D.J. Icove.
   ❑   Ronnie Chai, M.S., 2006, Electrical and Computer Engineering, University of
       Tennessee, Non-Thesis option, Committee: P.B. Crilly, D.W. Bouldin, D.J. Icove.
   ❑   W. Reid Williams, M.S., 2005, Engineering Science, University of Tennessee, A
       Validation Simulation of a Large Pool Fire, Committee: A.J. Baker, D.J. Icove, and C.
       Collins.



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   ❑   Frederic J. Snow, Ph.D., 2004, Anthropology, University of Tennessee, Geometric
       Morphometry Analysis of the Scapula: Implications for the Determination of Sex and
       Ancestry, Committee: W. M. Bass, R.L. Jantz, D.J. Icove, W. Klippel.
   ❑   Jeffrey N. Krumm, M.S., 2004, Electrical and Computer Engineering, University
       of Tennessee, Calculated Combustion: An Investigation of Electronic Equipment
       Tenability in Data Center Fires, Committee: G. Peterson, D.J. Icove, and A.J. Baker.
   ❑   J. Andrew Ridnour, Ph.D., 2003, Mechanical Engineering, University of
       Tennessee, Methodology for Evaluating Vehicle Fatigue Life and Durability,
       Committee: J. Freeman, J.A.M. Boulet, D.J. Icove, and J. Landes.
   ❑   Angi M. Christensen, M.A., 2000, Anthropology, University of Tennessee,
       Debunking the Spontaneous Human Combustion Myth: Experiments in the
       Combustibility of the Human Body, Committee: W.M. Bass, D.J. Icove, R.L. Jantz,
       L.W. Konigsberg.

TEXTBOOKS
  ❑ D.J. Icove and G.A. Haynes. 2018 (released September 2017). Kirk’s Fire
     Investigation, 8th Edition (Prentice Hall, Upper Saddle River, New Jersey)
  ❑ D.J. Icove, J.D. DeHaan, and G.A. Haynes. 2013. Forensic Fire Scene
     Reconstruction, 3rd Edition (Prentice Hall, ISBN 0-13-222857-2, Upper Saddle
     River, New Jersey)
  ❑ J.D. DeHaan and D.J. Icove. 2012. Kirk’s Fire Investigation, 7th Edition (Prentice
     Hall, Upper Saddle River, New Jersey)
  ❑ D.J. Icove. 2006. Forensics in Fire (Harcourt Education, 2006 ISBN 1869703871,
     9781869703875.)
  ❑ D.J. Icove, C.M. Blocher, and J.D. DeHaan. 2002. Instructor’s Manual to Kirk’s
     Fire Investigation, 5th Edition. (Prentice Hall, ISBN 0-13-060458-5, Upper Saddle
     River, NJ, 2002.)
  ❑ D.J. Icove, V.B. Wherry and J.D. Schroeder. 1998. Combating Arson-for-Profit:
     Advanced Techniques for Investigators, 2nd Edition. (Battelle Press, ISBN 0-
     934550-2, Columbus, OH, 1998.)
  ❑ L. Koch and D.J. Icove, editors. 1992. Book of Selected Articles for Arson
     Investigators, 1992 Edition. (International Association of Arson Investigators, St.
     Louis, MO, 1992.)
  ❑ D.J. Icove, editor 1984, 1992 Incendiary Fire Analysis and Investigation. Open
     Learning Fire Service Program, Federal Emergency Management Agency, U.S.
     Fire Administration, Washington, D.C. (Ginn Custom Publishing Program, 1984;
     republished January 1992.)

TEXTBOOK CHAPTERS
  ❑ K.R. Adams, C.S. Barker, E. Cutright-Smith, R.D. de Valdes, R.E. Howell, D.J.
     Icove, J.R. Lally, V.M LaMotta, M.M Hernandez, M. Medeiros, and M. Shaw,
     2016. Chevelon: Pueblo at Blue Running Water. Arizona State Museum-The
     University of Arizona.


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   ❑   A.D. Sapp, T.G. Huff, G.P. Gary, and D.J. Icove. 1998. “Arson and Fire-Related
       Crime Factors” in V.B. Van Hasselt and M. Hersen, editors, Handbook of
       Psychological Approaches with Violent Offenders. (Plenum Publishing Corp.,
       New York, NY, ISBN 0-306-45845-4, 1998.)
   ❑   A.D. Sapp, T.G. Huff, G.P. Gary, and D.J. Icove. 1998. “Arson and Fire-Related
       Crime Factors” in V.B. Van Hasselt and M. Hersen, editors, Handbook of
       Psychological Approaches with Violent Offenders. (Plenum Publishing Corp.,
       New York, NY, ISBN 0-306-45845-4, 1998.)
   ❑   D.J. Icove and M.H. Estepp. 1997. “Motive-Based Offender Profiles of Arson and Fire-
       Related Crimes” in Part VIII-Property Crime, Criminal Detection and the
       Psychology of Crime. (Ashgate-Dartmouth, Brookfield, VT, ISBN 1-85521-963-8,
       1997.)
   ❑   D.J. Icove, G.P. Gary, T.G. Huff, A.D. Sapp. 1995. “A Motive-Based Offender
       Analysis of Serial Arsonists,” The Investigation & Prosecution of Arson, 2nd ed.
       (California District Attorneys Association, CA, 1995.)
   ❑   D.J. Icove, J.E. Douglas, G. Gary, T.G. Huff, and P.A. Smerick. 1993. “Arson” in
       J.E. Douglas et al., Crime Classification Manual. (Lexington Books, New York,
       1993.)
   ❑   J.L. Bryan and D.J. Icove. 1983. “Recent Advances in Computer Assisted Arson
       Investigation,” Chapter 23 in The Social and Economic Consequences of
       Residential Fires.” Chester Rapkin, editor. (Lexington Books, Lexington,
       Massachusetts, ISBN 0-669-04362-1, 1983.)
   ❑   D.J. Icove and M.M. Gohar. 1979. Chapter in “Fire Investigation Photography,” in
       Fire Investigation Handbook. (National Bureau of Standards, Washington, D.C.,
       1979.)

  PEER-REVIEWED PUBLICATIONS AND PRESENTATIONS
   ❑ J.T. Beeler, T.A. Toll, & D.J. Icove. (pending publication 2021). Passively Measuring
      the Flammability Characteristics of Electrical Cables Exposed to Radiation in Nuclear
      Facilities, IM-19-22492, IEEE Transactions on Instrumentation and Measurement,
   ❑ J.T. Beeler, T.A. Toll, & D.J. Icove. (pending publication 2021). Examination of the
      Flammability Characteristics of Electrical Cables Exposed to Radiation in Nuclear
      Facilities, PDST-D-19-00437, Journal of Polymer Degradation and Stability.
   ❑ May, T. R., & Icove, D. J. 2020. Arc Mapping Methodologies & The Pursuit of
      Magical Globules, Notches, & Beads: A Bridge too Far to Establish Fire
      Origin? Lincoln Memorial University Law Review, 7(2), 37-77.
   ❑ E.C. Buc, M.E. Goodson, D.J. Icove, & T.R. May. 2019. State of the Arc (Mapping),
      Invited formal paper presented at the January 2019 meeting of the National Academy of
       Forensic Engineers (NAFE), in Orlando, Florida, January 5-6, 2019.
   ❑   T.R. May & D.J. Icove. 2019. Computer Fire Modeling and the Law: Application to
       Forensic Fire Engineering Investigations, Invited formal paper presented at the January
       2019 meeting of the National Academy of Forensic Engineers (NAFE), in Orlando,
       Florida.


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   ❑   T. Lawton and D.J. Icove. 2018. Forensic Identification and Root Causes of Hot Socket
       Problems Found in Residential Electrical Meters. Invited paper presented at the
       National Academy of Forensic Engineers Seminar, NAFE 2018 Winter
       Conference Technical Program in Phoenix, Arizona on January 13, 2018.
   ❑   D.J. Icove & G.A. Haynes. 2017. Guidelines for Conducting Peer Reviews of Complex
       Fire Investigations. Paper presented at the National Academy of Forensic
       Engineers Seminar, New Orleans, LA, January 13-15, 2017.
   ❑   E.C. Buc & D.J. Icove. 2016. Never Say Never: Black Swan Fire Investigation
       Statements and Hypotheses Development in the Real World. Paper presented at the
       International Symposium on Fire Investigation Science and Technology,
       Scottsdale, AZ, September 12-14, 2016.
   ❑   T.R. May & D.J. Icove. 2016. A Survey of the Use of Learned Treatises in Fire
       Litigation. Paper presented at the International Symposium on Fire Investigation
       Science and Technology, Scottsdale, AZ, September 12-14, 2016.
   ❑   D.J. Icove, J.R. Lally, L.K. Miller, & E.C. Harris. 2014. The Use of the “Harris
       Matrix” In Fire Scene Documentation. Paper presented at the International
       Symposium on Fire Investigation Science and Technology, College Park, MD,
       September 22-24, 2014.
   ❑   M. Goodson & D.J. Icove. 2014. Electrical Characterization of Corrugated Stainless
       Steel Tubing Components and Systems. Paper presented at the International
       Symposium on Fire Investigation Science and Technology, College Park, MD,
       September 22-24, 2014.
   ❑   D.J. Icove & T. K. Hargrove 2014. Project Arson: Uncovering The True Arson Rate in
       The United States. International Symposium on Fire Investigation Science and
       Technology. College Park, MD, National Association of Fire Investigators,
       September 22-24, 2014.
   ❑   A.T. Tinsley, E.G. Burdette, and D.J. Icove. 2014. Structural Deformations as an
       Indicator of Fire Origin. Journal of Performance of Constructed Facilities. Volume
       28, Issue 3 (June 2014).
   ❑   J. Miller and D.J. Icove, 2013. Development and V&V Benchmarking of a High-
       Performance Desktop Computer for FDS Simulations, ANS PSA 2013 International
       Topical Meeting on Probabilistic Safety Assessment and Analysis, Columbia, SC,
       September 22-26, 2013, on CD-ROM, American Nuclear Society, LaGrange Park,
       IL
   ❑   S. Peters, L. Tschaepe, B. Zhang, A. Ruggles, & D.J. Icove. (2011). V&V
       Methodology Comparisons: AIAA G-077 (1998), ASME V&V 20 (2009), ASTM
       E1355-05a (2005), NEA/CSNI/R (2007), and NRC CSAU (1988). Paper presented at
       the 2011 Annual Meeting, Hollywood, FL.
   ❑   J.D. DeHaan, D.J. Icove, R. Crim, and J.L. Blankenship. 2010. “Burning for Profit:
       Putting it all Together.” (ISFI 2010, International Symposium on Fire Investigation
       Science and Technology, College Park, Maryland, September 27-29, 2010)
   ❑   D.J. Icove, G.E. Gorbett, J.D. Birdwell, and R.E. Merck. 2010. “Fire Modeling: Best
       Practices for Constructing Academic High-Performance Computing Clusters.” (ISFI

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       2010, International Symposium on Fire Investigation Science and Technology,
       College Park, Maryland, September 27-29, 2010)
   ❑   D.J. Icove and B.P. Henry. 2010. “Expert Report Writing: Best Practices for Producing
       Quality Reports.” (ISFI 2010, International Symposium on Fire Investigation
       Science and Technology, College Park, Maryland, September 27-29, 2010)
   ❑   A.T. Tinsley, M. Whaley, and D.J. Icove. 2010. “Analysis of Hay Clinkers as an
       Indicator of Fire Cause.” (ISFI 2010, International Symposium on Fire Investigation
       Science and Technology, College Park, Maryland, September 27-29, 2010)
   ❑   A.T. Tinsley and D.J. Icove. 2008. “An Assessment of the Use of Structural
       Deformation as a Method for Determining Area of Fire Origin.” (ISFI 2008,
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       Cincinnati, Ohio, May 19-21, 2008)
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EXPERT WITNESS TESTIMONY (Prior 10 years)
  ❑ December 3, 2020 – Deposition, Civil Case No. 2017-CA-001070, In the Circuit
     Court of the Twelfth Judicial Circuit in and for Manatee County, Florida, THE ESTATE
     OF DORIS L. SHELDONE, by and through RANDOLPH JAMES SHELDONE,
     Personal Representative, Plaintiff, vs, THE OAKS BRADENTON TRS, LLC; et al,
     Defendants (civil fire case)

   ❑   January 11, 2016 – Trial Testimony, Civil Case No. 5:13-cv-00895-CLS, In The
       United States District Court of the Northern District of Alabama, Huntsville
       Division, ACADIA INSURANCE CO., Plaintiff, vs. UNITED STATES OF
       AMERICA, Defendant (civil fire case).

   ❑   November 23, 24, and December 18, 2015 – Deposition, Civil Case Nos. 13-1652,
       13-4425, 13-4424, and 13-4427, In The Circuit Court Of The City Of Richmond,
       Virginia, JESSICA RAE PIERCE, Administrator of the Estate of GARY EUGENE
       PIERCE, Deceased, LON E. BICKHAM, JEREMY EVERETT, TRENT KIMBRELL,
       Plaintiffs, vs. MILLER ELECTRIC MANUFACTURING COMPANY, THE
       MILLER GROUP, LTD., ILLINOIS TOOL WORKS, INC., ONAN
       CORPORATION, CUMMINS POWER GENERATION, INC., and ARCET
       EQUIPMENT COMPANY, Defendants (civil fire case).

   ❑   November 11, 2014 – Deposition, Case No. 5:13-cv-10661-JEL-MKM, In the
       United States District Court Eastern District of Michigan Southern Division, B.
       GERALD BARTUSH, PERSONAL REPRESENTATIVE OF THE ESTATE OF
       RANDY BERGERON, Plaintiff, vs. THE AMERICAN INSURANCE COMPANY,
       Defendant (civil fire case).

   ❑   October 30, 2014 – Courtroom Testimony, Case Nos. No. 12-370 CF & 12-371-CF,
       In The Circuit Court, Fourteenth Judicial Circuit, Washington County, STATE OF
       FLORIDA, Plaintiff, vs. LORRIE LAUREL and RUBEN A. LAUREL, Defendants
       (Daubert Hearing, criminal case).

   ❑   May 20, 2014 – Courtroom Testimony, Case No. 12-93, In The Chancery Court
       For Morgan County, Tennessee, RICHARD W. AUSTIN, Plaintiff, vs.
       TENNESSEE FARMERS MUTUAL INSURANCE COMPANY, Defendant (civil
       fire case).

   ❑   May 13, 2014 – Deposition, Case No. 2012-504,105, In The Lubbock County, 72nd
       Judicial District, State of Texas, KEN TEEL, Individually and as Representative of
       the ESTATE OF BRENNEN CHASE TEEL; BECKY TEEL; ROSS RUSHING and
       MEG RUSHING, Individually and as Next Friend of L.R., a Minor; STATE
       FARM LLOYDS INSURANCE COMPANY, as subrogee of ROSS RUSHING and
       MEG RUSHING; and SAFECO INSURANCE COMPANY, as subrogee of ROSS


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       RUSHING and MEG RUSHING, Plaintiffs, VS. TITEFLEX CORPORATION,
       GASTITE DIVISION; TURNER & WITT PLUMBING, INC.; MSC HOLDINGS,
       INC., f/d/a MORRISON SUPPLY COMPANY-LUBBOCK, INC.; and JERROD
       GRIFFITH, d/b/a TEXAS ELECTRIC COMPANY, Defendants, VS. THERMO
       DYNAMIC INSULATION; STRONG CUSTOM BUILDERS, LLC; and LENNOX
       HEARTH PRODUCTS, LLC, Third-Party Defendants (civil fire case).

   ❑   April 30, 2014 – Deposition, Case No. 12-93, In The Chancery Court For Morgan
       County, Tennessee, RICHARD W. AUSTIN, Plaintiff, vs. TENNESSEE
       FARMERS MUTUAL INSURANCE COMPANY, Defendant (civil fire case).

   ❑   December 3, 2012 – Courtroom Testimony, Indictment Nos.: 2011-GS-39-103-104,
       State of South Carolina, Court of General Sessions, Thirteenth Judicial Circuit,
       County of Pickens; STATE OF SOUTH CAROLINA, vs. DONALD GREGORY
       KINSELA, Defendant (criminal case).

   ❑   November 27, 2012 – Expert Witness Qualification Testimony, Indictment Nos.:
       2011-GS-39-103-104, State of South Carolina, Court of General Sessions,
       Thirteenth Judicial Circuit, County of Pickens; STATE OF SOUTH CAROLINA,
       vs. DONALD GREGORY KINSELA, Defendant (criminal case).

   ❑   June 27, 2012 – Deposition, Case Action No. PJM 09-1894, United States District
       Court, District of Maryland, Southern Division, THE CHARTER OAK FIRE INS.
       CO., Plaintiff vs. MARLOW LIQUORS, LLC, and POTOMAC ELECTRIC
       POWER CO., et al., Defendants (civil fire case).

   ❑   October 25, 2011 - Courtroom Testimony, No. 3669, Court of Common Pleas,
       Philadelphia County, Pennsylvania: EDWIN BRECHBIEL, as Administrator of
       the Estate of KEVIN BRECHBIEL and co-Administrator of the Estates of DEXIE
       BRECHBIEL, KAYLA BRECHBIEL ABBY BRECHBIEL, JUSTIN BRECHBIEL and
       JASON BRECHBIEL and CONSTANCE C. MA YO-COLLIER, as Administratrix
       of the Estate of ANITA PATRICE MA YO and Co-Administratrix of the Estates
       of DEXIE BRECHBIEL, KAYLA BRECHBIEL, ABBY BRECHBIEL, JUSTIN
       BRECHBIEL and JASON BRECHBIEL and SUSAN BRECHBIEL and RUTH
       BRECHBIEL, v. REDMAN HOMES, INC., et al. (hearing).

                                                                               (06/2021)




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            APPENDIX C – NFPA 1033 (1993 and 2014 Editions)




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                                            NFPA 1033
                                           Standard for

                           Professional Qualifications for
                                  Fire Investigator
                                           1993 Edition

   This edition of'. FPA 1033, Si1111dard for Prnft'.No11al Q11alif,callo11� for Fir� fll1 1l'{tigator.
was prepart:d hy the Technical Committee on Fire Investigator Professional Qualifica­
tions. released b ) the Correlating Committee on Professional Qualifications. and acted
on by the National Fire Protection Association, Inc. at its Fall Meeting held ovcmber
 16-18. 1992. in Dallas, Texas. IL was issued by the Standards Council on January 15,
 1993. with an effective date of February 12. 1993. and superst:des all previous eclicions.
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   The 199'.\ edition of this document has been appn>\'t:d b} tht: Amt:rican . ational
Standards Insritute.
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                         Origin and Development of NFPA 1033
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    In 1972. the Joint Council of National Fire Ser\'ice Organizations l.JC FSO) created
tht: :'liational Professional Qualifications Board for the Fire Ser"ice ('.\/PQB) tu fac:iliuttt:
the developmt:nt of nationally appliG1blt: performance standards for uniformed hrt: ser­
vice personnel. On December 14. 197'.?. the Board established four technical rnmmittees
                                                                                                /




to develop those standards using the ational Fire ProteCLion Association ( · F PA)
standard-making system. Tht: initial commi1tees addressed the following job : fire
fighter. fire officer. tire service instructor. and lire inspector and iO\·estigator.
    The original concept of the professional qualification tandards a.s directed by the
                      .,




JCNFSO and the I l'QB was to develop an interrelated set of performance standards
specifically for the uniformt:d fire ser\'ice. The various lt:vels of achit:vt:ment in the stan­
dards were co build upon each other within a strictly defined career laddt:r. In the late
1980s. revisions of the standards recognized that the documents should stand on their
own mt:rit in terms of job performance requirements for a given field. Accordingly. the
strict career ladder concept was revised to allow civilian entry into manv uf the fields.
except for the progression from fire fighter to fire ollicer. These revisions facilitated the
use of the documents by other than the uniformed fire sen·ices.
                                                                        .,,




    TI1e Commillet: on Fire Inspector and l n\'estigator Profe sional Qualifications met
from 1973 through 1977 and produced the first edition of �FP:\ 10:11. Pmfts.{io11al Q11al­
ifiratin11s for Fir, l11sprclM. FirP l111•r1tigator, a/Ill F,rp Pm•mtinn £d 11r111in11 Ojfiar. This doc­
ument was adopted bv the ..\ssociation in May of 1977.
    Subsequent to the adoption of the initial edition. the Commiuee met regular(� LO
rt:vise and update the standJrd. In 1986. tht: Joint Council directed the Commirtee Lo
develop separate documents for each of the job functions 1he original document
addres�t:d. This. direction was coupled with the decision to remove the job or fire inves­
tigator from the strict career path previously followed and allow for civilian entry. The
                                                                                                                        Case: 1:18-cv-02523 Document #: 229-9 Filed: 05/17/24 Page 86 of 116 PageID #:14068




first edition of this new document, N FPA 1033, Standard for Pmfe.mn11ul Q1111/ijimlio11.1 fnr
Fire Jm1eJtigator. was adopted by the Association in June of 19tH.




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                    In 1990, responsibility for lhe appoimmelll or Professional Qualifications commiuees
                and Lhe developrrn:nt of the Professional Qualifications Standards was assumed b) the
                   FPA. The Professional Qualifications Correlating Commiuee was appointed by the
                 � FPA Slandards Council and assumed lhe responsibilitv for coordinating the require­
                ments of all of the documents in the Professional Qualifications syslem.
                   The Technical Commiuee on Fire Investigator Prolessional Qualifications was estab­
                lished by lhe N FPA Standards Council in 1990 based on a recommendation by the Pro­
                les ional Qualifications Correlating Commiltt:e. Thi, recommendation addressed the
                need for specific expertise in lhe area of fire investiga tion 10 review and re\'ise the exisc­
                ing documenl. This committee met numerous times in 1990 and 1991 to complete a job
                task analysis and develop specific job perfom1ance requirements for the job of fire in"es­
                tigator. During this proce , the cummiuee was saddened hy the loss of one or it.s mem­
                bers. George T. Lewis. Fire Marshal of Delaware Councy. PA.
                   The intent of the Technical Committee "·as to de,·elop clear and concise job perfor­
                mance requirements lhat can be used 10 determine thac an individual. when measured
                to the standard. possesses the skills and knowledge to perform as a fire in\'estigator.
                These job performance requirements an: applicable to fire im·e tigators both public and
                pri\'ate.




 1993 Edition



                                                                                                           ICOVE 87
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                                                                              COM�ITIEE PERS01'NEL                                                                                        1033-3

                                            Correlating Committee on Professional Qualifications



                                                                         Douglas P. Fonman, Chn1rm1111
                                                                             Champaign Fire Dept.. IL

                                                                               Jon C. Jones, Srcrrlory
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Louis J. Amabili, Odaware Slalc Fire School                                                                      Jack K.. McElfish, Clayton Cnt) Fir" Ocpt.. GA
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Scq>hcn P. Austin, State Farm Fire &: C:1sual1y C:o.                                                             Mary Nachbar, i\linne!1ofa Stale Fire Marshal Division
  Rep. I Ill ·1 Assn. nf Arson I n\'CStigators, Inc.                                                             William Pl'tenOn, Plano Fire Dept .. TX
Dan W. Bailey, L·so.\ Fores< Scr"in·                                                                               Rep. lni'I Fire s en·tec Tra1111ng Assn.
Ge,., P.CarlllOll, Oklahoma St.ate t·ni,·crsitl". (Hi.                                                           John P. Wolf, l.Jni,·ersi1y of Kansa,. KS
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                            Technical Committee on Fire Investigator Professional Qualifications

                                                                        Stephen P. Austin, <:hnir11rr111
                                                                    State Farm Fire & Casuah, Co.. DE
                                                                Rel'. lni'I Assn. ol ,-\rson lnn,,;11gatnrs. Inc.

Billy L Bucldey, S I::.-\, Inc. FL                                                                                Barry W. Sloaer, Rubi11s. l-.;1pla11. Miller & C:ire,i, GA
�A.Furrow, Grinnell Mu1u;1I Rcin,ur.mcc. I.\                                                                      Dennis W. Smith, Atlantic C:il\ Fire Dept., NJ
Mary M. Gama, stale ofCnnnemnu. C:T                                                                                 Rep. T/C Fire lnn:sti g-JLion,
David 8. Hooton, Tl-chniFirc: St:n•iu:,i Co .. T:--1                                                              Robut A. Slellingwonh, Buri,au of Alcohol. Tobau:o I!.:
TbomM E. Minnich, l'.S. Fire .-\d111i111�11,1111111. MD                                                           Fire;irms, DC
J. Broob Semple, Sniokc/Firc Risk �lg1111. l11c- .. \'A

                                                                                          Aherna1es

John F. Goetz, Bureau of Alcohol, Tobacco & Firearm,. l'A                                                         Jack A. Wanl, l"ntversal Firc: Spedalists. lnl.. FL
  (Ah. 10 R. A. s1ellingwor1h)                                                                                       (AIL tu S. P. :\u�1in)
Jmepb P. TOK&nO, St�tl· .-\1111rney·s Offic" N Cl\' Haven. CT
  (AIL 10 M. M. Galvin)

Jon C. Jones,    "FP-\ S1aff Liaison

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                      111 th,. ,,,,.,Hh,,nh,p ,nm l,,n.,. fH1 urr,.J

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                         m,1.·M1ga1nr�.




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 1033-4                                 l'R<>rl'.SSI0:-,.'.-\1. (.!L'.-\LIFIC\TIO:-,.'S FOR Fllff J:-,.'\'t�<;l Jl:.\TOR



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                                                      AUM IN l!ffR,\TJON/OF.FI :-l lTIONS                                                   1033-5


                          NFPA 1033                                        1-3.7* The fire investigator shall remain current with
                                                                          investigation methocloloy;y. fire protection technology. and
                         Standard for                                     current code requirements by auending workshops/
                                                                          seminars, anci/or through professional publications and
         Professional Qualifications for                                  journals.

                    Fire Investigator
                                                                                               Chapter 2        Definitions
                         1993 Edition
                                                                              Approved.      Acceptable to the "authority having jurn-
   '.\IOTICE: ,\n astel'i.,k r•i lollowmg the numlx·r or lcner             <liction:·
   clesi�n:11ing a paragraph indirnt� explanatory material on
   1ha1 paragraph in Appendix ,\.                                             NOTE: The . Jtional Fin· Pru1ect1011 r\ssocia11u11 <l11es 1101
       lnfomrntion un rdcrenced puhlic:uiuns ,an b,: 111111111 in             apprm·c, inspc:u or ccrtil) am· ins1all:u1e,ns, procedures,
   Chapter -I Jnd Appendix R.                                                 eq11ipmen1. or mate nab nor does it .,pprun, or t:,·aluJle
                                                                              testin)l labor,1t11nes. I II d<·lt:rn1111ini: the ,llLcptahilii.· of
                                                                              installations or prou·durt:s. equipment or materials. the
                                                                              autJ1ori1v h,l\•inl( jurisrlirtion may ba,t: arcep1ancc on tu111-
               Chapter 1       Administration                                 pliantc with NFPA or othH appropn:uc s1andards. In 1he
                                                                              abs.,me ut >11<h st.tnd:trds. said .tuthoriry 111a,, require <·, i­
1-1 Scope. This standard identifies the professio!1al level                   dence ofpmp,:r in,1:illation. prncedun, ur tL'il:. The <1t1lh11r­
of performance required for lire investigators. II Sfk!Cili­                  it ha,·ing jurisdiuiun m.iy JJ,,., reler 10 1he li,ting, ur labd­
cally idemifies the job performance req11iremcnts ncl'essary                  ing prj<1i«·s of' an oqpniz.lliun couccrn.-,t wi1h prcKfuct
                                                                              .-,·aluauons which is in a positi11n lo detcr111im· crnnpliam·e
to perform as a lire investigator.
                                                                              with appmpria1e sr,u1<l.trrls lor the current production of
1-Z- Purpose. The purpose of this standard is LO spccity                      li.stt:<1 items.
in terms of minimum job performance req11irements the
minim11m standards required for service as a fire investiga­                Authority Having Jurisdiction. The ··authority having
tor in both the private and public sector... It is not the                jurisdiction·· is the organization. office or indi"idual
iment of this standard to restrict anv jurisdiction from                  responsible for ··apprn\'ing" equipment. an installation or a
exceeding these minimum ref)uirements. Job performance                    procedure.
requiremenrs describe rhe µerlorman<"e required for a spe­                    NOTF.: The phrase ";u11h11ril) h,l\'in� jurisrl,nu,n" is used
cific job. Th.: cumplete list of ret1uiren1ents fn,· eat·h clu1:,             in NFPA al,"'uiuc111" in it hro.id manner �,nee: juri.sclictions
describes the rnsks an individual must be able to perli1rm in                 ;md "apprm·ar· al(cnries \'an .,, du their responsihilitit-,.
ordt'r to �uccessfull)' car1:· om that duty: however. the�· arc               Where puhhc s.,lcl)'" priman·. th<· ··a111h11ri1y ha,·in • juris­
not intended to measure a levd of knowledge. Together.                        diniou·· ma, be a lcderdl. st.lit'. l,,cal or mht:r rci:ional
the duties and job performanre requirements ddine the                         dt:p.irtmelll 11r iudh1du.1l ,ud, ., a fire chief. fire marshal.
                                                                              ,hiccf ol J fire pre\'tcnlion bureau. lahor depanmcm. health
parameters of the joh of fire investigawr.
                                                                              departmeu1. builclin� ulficial. ekc1ricJI inspector. ur othc:n­
                                                                              ha\'ini: sratuton authorit\'. for in,urance purposes. an
1-3 General.                                                                  in,urance inspectiun dcpar1meo1. raring bureau. ur other
                                                                              insul'ancc cumpau, representauvt: mav be 1he ··aulhori1y
1-3.1   The Iire in "esLigator shall be at le:.ist age:: 18.                  having jurisdiction.· I II many cirnnnstauce, the prupcr1y
                                                                              owm,r or his dcsig11a1ed agenl assume, the role ,.f the
1-3.% The fire investigator shall ha\'e a high                 choul          "'authorih· havin,.; junscliniu11··: :u guvcrnmc::nl installaLions.
diploma or a state rewgnizt'd equivalent.                                     the commanding olfi<-er nr clepanmcmal ulficial may hcc the
                                                                               ··:.,uthuritv h:J\·in� iuri�cl1ui1111 ··
1-3.3 The amhorit)' having jurisciiuion shall wnduu a
thorough hackground and charaner investigation prior LO                       Due Process. ·1 he cumpliancc with the criminal a11d
acceptini-: an individual as a candidate for certifica1ion a� a            civil laws/procedures within the jurisdiction where the im·i­
fire investigator.                                                         dent 11t:c.:urred.

1-3.4 The joh pedcmnance requirements for fire investi­                       Fire DepartmenL .-\11 organizauon providing rescue.
gator shall be completed in acc.:ordam.:e \'.·ith recugni1ec1              fire suppres ion. ,tnrl 01her related activities. For the pur­
practices and procedures or as they are definer! by law or                 poses of this standard. the 1erm "tire depanmem·· shall
by the authoriry ha\'ing jurisdiction.                                     iudude am public. pri,·ate. ell' 111il11ary organi7.a1ion engag­
                                                                           mg in this tnie of ,1t11vit1.
1-3.5* The job performance requirements defined in this
                                                                             Fire Investigator. An individual whn has demonsmned
standard need not be mastered in the order in which thev
appear. Training agencies or authorities shall establish                   the sk.ills and knowledge necessary to conduct. coordinate.
programs that prepare individuals to meet the require­                     and complete an in\'estigation.
menLs defined in this standard.                                               Investigation.      A systematic inqui ry or examination.
1-3.6 Evaluation of joh performance requirements shall                       Job Performance Requirement. A statement that
be by individuals approved by the authority having juris­                  describes a specific jnh task. lists the items necessary tu
diction. The evaluator shall be qualified to conduct the                   complete the task. and defines measurable or observable
evaluation of an investigator.                                             outcomes and evaluaLion areas for 1he specific task.




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1055-fi                                     l'R(lFt�'iSION.-\l. QL.-U.IFIC�-\TI01'S t"CJR FIRt. 1:-,;\·F..'iTJl;ATOR



   Labeled. Equipmem or materials lo which has been                                5-2 Scent- ExamiNN>IL
attached a label, symbol or other identifying mark of an
organization acceptable to the "authority having jurisdic­                         5-2.1 Description of Duty. To inspecl/evaluate the sct:ne
tion"' and concerned with product evaluation, that main­                           so as to determine the area/point of origin, source of igni­
tains periodic inspection of production of labeled equip­                          tion. material(s) ignited, act or activity that brought igni­
ment or materials and by whose labeling the manufacturer                           tion source:: and materials together, and assess the subse­
indicates compliance with appropriate standards m· perfor­                         quent progression, extinguishment. and containmem of
mance in a specified manner.                                                       the lire.

   Listed. Equipment or materials induded in a list puh•                           3-2.2 Secure tht: fire ground. given marking devices. suf­
lished by an organization acceptable to the ..authority ha\"­                      ficien1 personnel and special tools and equipment, so that
ing jurisdiction" and concerned with prnduct evaluation.                           unauthorized persons can recognize the perimeters or the
that maintains periodic inspecrion of produnion of listed                          investigative scene, are kept from restricted areas, and all
equipment or materials and whost! listing states eiLher that                       e\"iden<·e or potential evidence is protl.octed from damage
the equipment or material meets appropriate standards or                           or destruction.
has been rested and found suitable tc,r use in a specified
manner.                                                                            5-2.2.1 l'rn,q11i.1ite Kuowl,dg,: Knowled l{e of fire ground
                                                                                   ha1.ards. t:,q>es of evidence. and the importance of fire
   NOTE: The m<"dllS for idemifying li.�tcd •·q11ipmen1 ma,·                       lK"t:ne security and e1·idence preservation.
   v:1ry li,r each organizatirm rnnc:erncd w11h product cvalua-
   1i11n. some of which do not rec ognize ct1uip111cn1 as lis1ed                   3-2.2.2      Prrrrq,witr Skill:     se of markinl{ devices.
   unless it is alll<> labeled. rhe "a111hurit>· havin� jurisdiction··             3-2.3 Conduct an exterior survey. given standard equip­
   should utilize the system emplnyt-d b� lhe listinK or1r,111i:w­                 ment and tools, so that evidence is preserved, fire damage
   tion 1n idcn1ify a li5ted product.
                                                                                   is imerpreted, hazards are identified to avoid injuries.
                                                                                   accessibility to the property is determined. and all potential
  Prerequisite Knowledge. Fundamental knowledge                                    means of ingress/egress are discovered.
required in order to perform a specific task.
                                                                                   3-2.3.1 l'rerrq111.1i1, K1101J1ledgt: Knowledge nf the trpes of
  Prerequisite Skills. The essential skills required 111                           building rnnstruction and the effects or tire upon construc­
order to perform a specific task.                                                  tion materials. types of evidence commonly found in the
   Sha.II.     Indicates a mandatorr requirement.                                  perimeter. e\"idence preservation method�. the effects of
                                                                                   fire suppression, fire behavior/spread, and hurn patterns.
  Should. Indicates a recommenda1ion or th.it which is
advised hut not required.                                                          3-2.5.2 Prer,q11tsile S/11/l: Assess fire ground and structural
                                                                                   rnndition. obst:rve the damage and effects of the lire. and
  Special Tools. Tools or a specialized or unique nature                           interpret burn pauerns.
that may not be required for every fire investig,-Hion as are
lhe standard equipment and tools. Examples include hea,·y                          5-2.4 Conduct an interior sun·e>·· given standard equip­
equipment, hydrocarbon detectors. microscopes. Rash                                mem and tools. so that areas of potential evidt:ntiary value
point testers. etc.                                                                requiring further examination are identified and pre­
                                                                                   sen·ed, the evidentiary ,·alue of contents is determined,
   Standard Equipment and Tools. Standard equipment                                and hazards are identified to avoid injuries.
and lools arc:: a 35-mm camera. Rash. and film: na,hlight:
shO\·el; broom: hand tools; tape measure: and e,·idence col­                       5-2.4.1 Prrrrq11i.1it, Knou•ltdgr: Knowledge of the 1ypes of
lection containers.                                                                building construction and interior finish and the t:fli:cts of
                                                                                   tire upon those materials. the effects of fire suppression.
  Task. A specific joh behavior or arti�ity.                                       fire heha"ior/spread. evidence preservation methods. burn
                                                                                   pa11erns. effects of building contents on lire 1,•-row1h, and
                                                                                   the relationship of contents to the overall investigation.
                 Chapter 3       Fire Investigator                                 5-2.4.2 Pr,rrqtmitt Skill: A.�sess structural conditions,
                                                                                   observe the damage and effects or the fire. disco\'er the
3-1 General.                                                                       impact of fire suppression efforts on lire flow and ht:at
                                                                                   propagation. and evaluate protected areas to determine
3-1.1* The fire im·estigator shall meet the job perfor­                            the prest·nce ancVor absence of contents.
m,111ce requirements defined in Sections :1-2 through 3-i.                         3-2.5 Interpret burn patterns, given standard equipment
In addition, the fire investigator shall meet the require­                         and tools and some structuraVcontent remains, so that
ments of 2-2.1 through 2-2.3 of NFPA 472. Standard for                             each individual pattern is evaluated with respect to the
Praf,.mnnal Competence of Respundrrs lo Hauirduus Matrria/.1                       burning characteristics of the material involved.
fllcidmL,.
                                                                                   5-2.5.1 Pr,r,q11i.1itt Knowltdgt: Knowledge of fire develop­
5-1.% The lire investigator shall maintain appmpriate liaison                      ment and the imerrelationship of heat release rate, form.
with other interested professionals during an invt:scigacion.                      and ignitability of materials.
5-1.5* The fire investigator shall ensure that due process                         5-2.5.2 Prl'rtq11isit, Sit.ill: Interpret the etlects of burning
of law is served.                                                                  characterislics on different types of materials.




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                                                                                                                              1033-7


3-2.6 Correlate burn pauerns. given standard equipment             systems. and evaluate the impact of suppression efforts on
and tools and some scructuraVconcent remains. so that fire         building systems.
developmem is determined, methods and efleccs of sup­
pressicm are evalualed, false origin an:a patterns are recog­      3-2.10  Discriminate 1he effects of explosions frnm other
nized, and all areas of origin are correctly identified.           cypes of damage. given scandard equipmem and tools.
                                                                   so that an explosion is identified and its evidence is
3-2.6.1 Prrrrq11 i.,i1r 1'11nu•lrdg,: Knowledge of fire            preserved.
hehavior/spread hased on fire chemislrv and physics. lire
suppression dlens. and building construnion.                       3-2.10.1   Prereq111,i1,, 1'11m1•/,,dg,: Different t)'pes of explo­
                                                                   sions and their causes. characcerisLics of an explosion. and
3-2.6.2   Prrn·q1w1/r Skill: Interpret variations of hurn pat­     the difference bet"-•een low- and high-order explosions.
terns on different materials with couside1·ati11n gi\·en to
heat release rate. form. :md ignitabilicy: distinguish impact      3-2.10.2 Prurq1wi1, Shill: l de111ify explosive effects on
of ditlerent types of fut'I loads: ev.1luate fuel lrails: and      glass. walls. foundations. and other building macerials; dis.
analyze and svnthesize information.                                tinguish between low- and high--0rder explosion effecL�: and
                                                                   analyze damaite lO document the blast 1.0ne and origin.
3-2. 7  bcaminc and retnol'e fire debri�. gtven standard
equipment and tools. so lhat all debris is checked lot tire
                                                                   3-3 Documenting the Scene.
cause eviclence. the ignition source(s) is identified. the fire
cause is determined. and evidettre is preserved without
                                                                   3-3.l   Duties shall include diagramming the scene. phnto­
investigawr-inAicted damage or rnntamination.
                                                                   grnphing, and laking field noles to be used to compile a
3-2.7.l Pr,rrqttwit K11n11 1ledg,: Basic understanding of          final report.
ignition proc:.esses, charactl'.riscics of ignilion sources, and
                                                                   3-5.2 Diagrnm the scene, given standard tools and equip­
ease of ignition of fuels. debris-layering techniques. use of
                                                                   ment, so that the scene is accurately representl'.d and evi­
tools and equipment during che debris search. t� pes of lire
                                                                   dence, peninent rnntents. significant patterns. and origin
cause e\·idence commonly lbund in various degrees of dam­
                                                                   areas/points are identified.
age. and evidence-gathering methods and clocumentation.
                                                                   3-3.2.1  Pra,q11i\ltr f.:umd,.,,tg,,: Commonly u eel symbols
3-2.7.2   Pr,,·,q11isi1, Skill: Employ search techniques chat
                                                                   and legends that clarify the diagram, types of evidence and
forther the discovery of fire cause evidence and ignition
                                                                   patterns that need to be documented. and formalS for dia­
$ources. use seardi techniques that incorporau: documen­
                                                                   gramming the scene.
tation. and collen and preser\'e evidence.
                                                                   3-3.2.2  Prmqf11.<itr Sk1ll.t. Ability to sketch the scene, basic
3-2.8   Reronscruct the area of origin. given st.rndard and.       drafting skills. and evidence recognition and observacional
if needed. special equipment and tools as well as sulliciem        skills.
personnel. so that all prutened areas and burn patterns
arc identified and correlated to contents/strurlural               3-3.3• Phowgraphirnlly documelll lhe scene. given Slan­
remains, items potentially criti,.tJ 10 cause delermination        dard tools and equipment. so that the scene is accurately
and phow documentation are rewrned w their pre-fire                depicted and the photographs appropriately support scene
location. and the point(s) of origin is discoverl'.cl.             findings.
3-2.8.1 Prurq11i.tilt K11ou1lerlKe: Knowledge of the dfc:cts of    3-3.3.l  Pr,rrq111.,11r K11ou 1/nli,: Working knowledge of a
fire on diflerent types of material and the importance and         3!'i-mm camera and Aash. types of 35-mm cameras, and
uses of reconstruccion.                                            cypes of film and Oash available. as well as the strengths
                                                                   and limitations of each.
3-2.8.2  Prrreq11i.,1/e Shill: Examine all m;Herials to decer­
mine the effeclS of fire. idemify ancl distinguish among dif­      3-3.3.2 Pru,q1w1/I! Skill.,: Ability LO use a 35-mm camera
ferent cypes of fire-darnaged contents. and relurn materi­         and Hash.
als to their original position using protected areas and           3-3.4 Construct invest.igative notes. given a fire scene, avail­
burn pauerns.                                                      able documenLS (e.g., pre-fire plan�. inspet:Lion repuns, e1c.),
3-2.9*   I nspeCL the performance of building S)'Stems.            and inten·iew information. so that the notes are accurale.
including detection, suppression. H VAC:. utilities. and           provide further documemation of che scene. and represem
building compartmentation. given standard and special              complete documentation of the scene findings.
equipmen1 and tools. so that a determination can be made           3-3.4.1   P.-rrrq1w1lr K t1011 °l,dg,: Relationship between
as to lhe need for expert resources. an operat.ing systems         no1es, diagrdms, and photos: how to reduce scene informa­
impacc on fire gTOwch and spread is considered in idemi�Y­         tion inw concise notes: ai1d the use of notes during report
ing origin areas. and defeated systems are identified.             writing and legal proceedings.
3-2.9.1  Praeqt1isilt Knowl,dg,: Differenl types of detec.:tion.   3-3.4.2    Pr,r,q11i.1itl' Shill.1: Daca reduction skills, note cak­
suppression, UVAC, utility, and building compartmenta­             ing skills, observational and correlating skills.
tion such as fire walls and fire doors; cypes of expert
resources for building systems: the impact of fire on vari­
                                                                   3-4 Evidence Collection/Preservation.
ous systems; and common methods used tu defeat a sys­
tem's functional capability.
                                                                   3-4.l Duties shall include using proper physical and
3-2.9.2  Pru,q11i.,il, Shill: Determine che systems operation      legal procedures to recain evidence required wichin the
and ilS effect on the fire, identify <1lterations lO building      investigat.ion.


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1033-8                                l'ROFESSIONAL QliAUFIC:\'I IONS FUR Fl Rt: INVf.S'llG,\TOR


3-4.2 Utilize proper procedures for managing victims                  includes a relevant questioning strategy for each individual
and fatalities, given a protocol and appropriate personnel,           to be interviewed that promotes the efficient use of the
so that all evidence is discovered and preserved and the              investigator's time.
protocol procedures are followed,
                                                                      3-5.2.1 Prertquiiit, K11owledgt: Persons who may provide
3-4.2.1 Prertq11uilt K11owl,dg,.- Types of evidence associ­           information that furthers the lire cause determination or
ated with fire victims and fatalities and evidence preserva­          the affixing of responsibility. types of questions that are
tion methods,                                                         pertinent and efficient to ask of different information
                                                                      sources (fire departmem. neighbors, witnesses. suspects.
3-4.2.2 Prereqwsit, Skill,,.· Observational skills and the abil­      etc.). and pros and rnns of interviews versus documelll
ity tu apply protocols to gi\·en situations.                          brathering.
3-4.3 Select appropriate evidence for analysis. given                 3-5.2.2 Prtreq111s1/f Skill.- Plannmg skills, development of
information from the investigative tile. so that samples for­         focused questions for specific individuals, and evaluation of
warded for analysis support specific investigative needs.             existing file data to help de\·elop questions and fill investi­
3-4.3.1 Prrrrq111sitr 1\111111•/nlgr.- Knowledge of the capabili­     gative gaps.
ties of the se1vict's performing the analy is, purposes for uh­       3-5.3 Conduct interviews or i111e1Tog-ations. given inci­
mining samples. anrt types of analytical services available.          dent information, so that pertinent information is
3-4.3.2 Prrrrq1w1lr Skills.- E\·aluate the lire incident LO           obtained, follow-up questions art: askt"d. responses 10 all
determine forensic, engineering, or laboratory needs.                 questions are elicited, and the response to each question is
                                                                      documented accurately.
3-4.4 Collect and package evidence, given standard tools
and equipment and evidence collection materials, so that              3-5.3.1 Pm·,.q11iJ1/I' K11ou•ll'dg,._. Knowledge of types of
evidence is idemified. pres erv ed. collected. and packaged           interviews, personal information needed for proper docu­
to avoid contamination and investigator-inflicted damage              mentation or follow-up. documenting methods an<l tools.
and the chain of custody is established.                              and types of nonverbal communications and their meaning.
3-4.4.1 Prrr,qumt, 1(11owf,,dgr: Types uf evidence (exclu­            3-5.3.2 Pra,,q111site Skill.- Adjust interviewing strate!{ies
sionary or fire-cause supportive e\'idence). types of labora­         based on deductive reasoning. interpret verbal and non­
tory tests available. packaKing techniques and materials.             \'erbal communications. apply applicahle legal require­
and impact of evidence colleclion on Lhe investigation.               mems. and exhibit Lrong listening skills.
3-4.4.2 Prrreq11ilill' Skill. .: Ability LO recognize different       3-5.4 F.valuate interview information, given interview
t)·pes of evidence and determine e\'idence critical to the            tr..1nsc.:ripu or notes and incident data. so that all inter\'iew
in\lestigation.                                                       daLa is individuall\' analvzed and correlated with all other
                                                                      interviews, corroborati�e and conAinive information is
3-4.5 Maintain a chain or custody, gi\'en standard investi•           documented. and new leads are disco\'ered.
gative tools. marking tools. and evidence tags/logs. so Lhat
written documentation exists for each piece of evidence               3-5.4.1 Prl'rrq111.11te Kuou•lrdgt: Types of interviews. report
and evidence is secured.                                              e\'aluation methods. and data correlating methods.
3-4.5.1 Pr,r,.q11i.11fr K1111wlrdg,._. Rules ofcusLOdy and trans­     3-5.4.2 Prtrrq111�11, Sic,//: Data correlating skills and the
fer procedures. types of e\'idence (e.g .. physical evidence          ability to evaluate source information (e.g.. fire depart­
obtained at the scene. photos. documents. etc.). and meth­            melll. witness, etc.).
ods of recording the chain of custody.
                                                                      3-6 Post-Incident Investigation.
3-4.5.2 Prntq11i.<1ll' Skill.,.- Ability to execute the chain or
custody procedures and accurate! ) complete neLessary                 3-6.1 Duties shall indude the investigation of all factors
documents.                                                            beyond the lire scene at the time of the origin and c1use
3-4.6 Dispose of evidence, given jurisdictional/agency                determination.
regulations and file information, so that the disposal is             3-6.2 Gather reports and records, gi\'en no special tools,
timel ) . safe),· conducted. and i11 1:umpliance with                 equipment. or materials, so that all gathered documems
jurisdictional/agency requirements.                                   are appropriate LO the investig-.iLion. complete. and authen­
3-4.6.1 Prnl'q111.1itl' K11m,,f,,dw: Disposal sen·ices available      tic. the chain uf cust0dy is maintained. and the material is
and common disposal procedures and problems.                          acceptable LO the courts.

3-4.6.2 Prnrq11is1tr Sl111/.- Documentation skills.                  3-6.2.1 p,-,,.,.quisitr K,,ou·ltdgt: Types of reports needed
                                                                     thal facilitate determining responsibility for the lire (e.g..
3-5 Interview/Interrogation.                                         police reports, fire reports, insurance policies. financial
                                                                     records, deeds, p1ivate investigator reports, outside pho­
3-5.l Duties shall include obtaining information regard­             tos, and videos. etc.) and location of these reports.
ing the overall lire investigation from others through ver­          3-6.2.2 Prer,qui:.ite Skills: Identify the proper reporn and
bal communication.                                                   documents necessary for the investigation. implementing
3-5.2 Develop an interview plan, given no special tools or           the chain of custody. and organizational skills.
equipment. so lhat the plan reflects a strategy to further            3-6.3 Evaluate the investigati\'e file. given all a\'ailable file
determine the lire cause and affix responsibility and                 information, so that areas for further investigation are


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                                                                     ltf.ffkt::-.C:t:ll l'l Rl.l<:\"I 10:\S                                                        1033-Y


idt'lllifiecl. 1he relationship hetween gathered clonunents                                 3-7.2.l l'rm·qui.,ilr J.:111111•/rdgr: Elemerlls of wri1ing. 1ypirnl
and information is interpreted. and rnrrohorati\'e e\'idence                                rnmpunems of a wriuen report. and 1ypcs of audit'nce,
and infi,rmalion discrepancies are disnm.:rnl.                                              ,111d their re,penil'e needs.

3-6.3.l l'rrrrq11i.1itr K11m,•fPdgr: File assessmt·nt ancVor cval­                          3-7.2.2 l'rl'l'l'<(lli.,i/1' Skill.,: Wriling skills. ahility III analyze
u,uion methods. proper and an-ep1ahle don1111enta1io11.                                     inform.uion and apply deductive reasoning. and ahili1y 10
and proper conlents nf in\'esLiga1ive linclinl(S and !,(alherecl                            de1ermi11e 1he rt•acll'r·s needs.
dfl(:11llll'nlali, Ill.
                                                                                            3-7.3 Express i111Tsli !{,1tin: lindittl{S l't'l'halh·. l(ill·n inves•
3-6.3.2 l'rl'rt'q111.,1/f Sltitt.<: lnforma1i11n as.�t·�smc:111 and cor­                    1igati\'t· findings. noll'S. a time allotmenl. and a specific
rda1io11 �kills aud organizational skills.                                                  a11die1Ke. so 1ha1 1he inlc,rma1ion is an:uralt'. the prescnta•
3-6.4 C :11onli11a1e expei-t rcsourn·s. !{in·n d1t· inn·s1igati1e                           1ion is nunplt·it·d within 1he allotted time. and 1he prcsen•
lilt·. rq>ons. and doc:umems. so 1ha1 du- expt·n"s tompc-                                   ta1i1111 inrhule� onh need-Ill-know inli1nna1iun for 1he
1c111 ·it·s are 1m11rhed 10 1hc spc1 iii, inn·s1iga1ion ncc·d�.                             intended audit·rlt'e.
liuanci;il cxpendiwrcs arc j11s1ifiecl. and 111ilitalinn dearly
                                                                                            3-7.3.l f>rrrrlJlliJit, /.:111111 1/rdgl': Types of i1westiga1ivl' l111cl­
runhers 1hc i1l\'es1igation ioward the: goals of causa1ion
                                                                                            i11gs, tlu: i11fi,rnrn1i1111al nct>ds of various 1ypes of auclit'nces.
rlt·1t·nnina1ion or alfixiug rcsponsihili1�.
                                                                                            and the impart of releasing inli,rma1ion.
3-6.4. l l'rl'rt'q111.wlr K11nuilnlg,: 1-i.nowled !{t', ,r I he irwcsli!{a•
lnr\ own expcnisc, qualifications nl't·dl'CI li1r expert 1esti-                             3-7.3.2 l'rrrrq1 1i.1il,, .'ilt1ll.1: C:ommunication skills. ahili1 )' 111
111011y, 1ypcs of expen 1-esou1u·s (e.g.. fon·nsic. Cl'A. poly­                             delerrnim· ;n1dicnn· needs. and ahili1y to rnrrelalt' findinl(S,
l(raph. linandal. human behavioral disorckrs. cn!{incerin�.
ell.). aud 111e1hocls to i<lcnlifv t'Xpert n·sc,un-es.                                      3-7.4 Tes1if)' during lc:)f.il pniccedings. giwn i1westi !{alil'c

           ,,,.,,,,,'I'"·'''"
                                                                                            finclin1-,.-s. ron1en1s of n:pons. and con,ulla1ion wi1h legal
3-6.4.2                  .'ilt,11.,: Rcn> !{ni1.t· I hl· 1ah1t· or t·xptTI                  tounscl. <o 1ha1 all l>t"l'linenl inl'es1iga1il't' inli,r111atio11 is
rt's11111·rt·s 10 runher 1he itn-eslil(ation. 11ct\\·11rk wi1h other                        prest·n1ed dearly and al'l:11ra1ely and 1he iuvt·stigawr·,
in1t·s1iga111rs lO idenLilY experts. qut·s1ion t·xpens rela1i,·e                            demeanor i, appr11pria1e 10 1he proceedinµs.
111 thl'ir q11alilira1ions. and plan u1ili1a1ion of t'Xpcrl
n·sourrcs.                                                                                  3-7.4.l l'rrll'IJlll.\1/r /..'111111'/rdgr: Types of i1l\'es1iga1in· lirrd·
                                                                                            ings. undcrsrnnding of 1he 1ypes of legal pro<-ct·dings.
3-6.5 t:s1ahlish evidence as 10 1m,1il't· ancl/or opponunity.                               appropriale dt·111t·a11or for each, and an 11111lt·rs1;111cli11g of'
gi,-cn an itl('endiary fire. so 1ha1 lht· el'idt·m t· ' is the resuh                        leg-al ))l f' K'l't'di11gs.
or a prnclertt and comple1c invcsli!{,llion. is s11ppor1cd h)
d1><·11111t·n1ation. and 1he e,·idenn· 111c,·1s till' cl'iclcnlian                          3-7.4.2 ,,,.,,,.,.l/,w1/r• Skill.,: C:omml111ira1ion and lis1('11ing
rt·1111irt·n1t'III> of' tht' jurisdic1ion.                                                  <kills: ahili1y Ill dillcren1ia1e fac1s from opinions: and ability
3-6.5.l l'11·1n111r,,fr /.:1 1r,w(nlg 1·: I') pes of 11111,il't'S l'ommon                   lo cletermint· appr11pria1c procedures. pr,Klires. and c1i­
11> inn·ndian· lire inl'es1igation. mt·thncls ust·d 11> dist"over                           q11e11e during legal prot'et'clings.
oppor11111i1y. and 11nders1ancli11!{ human hd1a1·i11ral pat­
tl'ln
    ' s n·la1in· Ill lire selling.                                                          3-7.5 C:11111 1111'1 p11hli1· 1nli,rma1io11al presl'111a1ions. ),{ii en
                                                                                            rc:la1i1·t' da1a. sci 1ha1 infor111a1ion is accura1e. appropri,11e
3-6.5.2 ,,,.,,,.,.,,11,.\1/r Slt1//.1: Finant·ial anall'si,. rt•rorrls gath•                IO 1he a1ulit·nce. and I learl\' ,nppon, dw inli,nna1ion
erin1t ancl anah·sis. i111erl'ie,,·iniz. ancl in1c:rpre1ing tire                            net'ds of lht• audiem·e.
�,·t·ne infor111a1ion and cl'idcnn· lc1r rdalionship 10 11101i,·c
.11trl1or opponuni•�.                                                                       3-7.5.l l'rr11''f""'''' /..'111111•frdg,•: Typt's of da1a ,11ailahle
                                                                                            reganling dw fin· los� problem ;md 1lte iss11t•s aho111 whid1
3-6.6 Formulatt· an opinion of tlu· p1·r.-.111(sl aml/01·                                   1hc 1·0111111111111y 11111s1 k1111w.
prr11l11c1(s) responsihle for 1he tire. gin-11 all inn:s1igati, e
lincling-s. su 1ha1 llu: opinion re!{,mling- rcspon,ihility lc1r a                          3-7 .5.2 l'r,·n·q11i.,1/r Skill.,: ..\hilit,. lo .isst·1nhlt-. org-a1111e.
lirt· is s11pp11rtt·cl by all records. n·pons. clon11nt·111s. and                           and prest·111 111li1rni.11ion.
,., i1lc111 t·.
3-6.6.1 l'1l'rn1111.\III' f..111n1•/nlgl': ..\nah·111 al mt·I hods ancl
pn><cclun·s such as darn recluc1ion 111a1ri�inl(. ll\'po1he,i,                                           Chapter 4         Referenced Publications
1cs1i11g-. ,11,d s1·�1e111s analysi) . t'lt.
3-6.6.2     ,,,,,,,.,/""''' .\ kill..: \11ah ti, :11 .11111 ,1>s11111l:11u111 , k1lk        4-1 rltl' lollowin!{ dtKlllllt:111 or poi-lions lhcn·of are rd�
                                                                                            ererrn·d wi1hi11 1his ,1andard and shall I� wnsidt·rcd pan
                                                                                            of the re1111iremcn1s of 1his rlon1men1. Tht· ccli1ion imli­
3-7 Presentations.                                                                          nllerl for each rdereru-e is 1he current edilion as of 1he
                                                                                            date of 1he N Fl':\ issuance of 1his document.
3-7.l U111ies shall inducle lht' ahili1y IO prt'Sl'lll findings Ill
1hnst· individuals not involn·d in 1he ,Klual inn-s1igation.
                                                                                            4-1.l NFPA Publication. Na1io11al Fire l'ro1t·c·1io11 :\sso·
3-7.2 l'rt,·pare a written inl'es1iga1ion reporl, gin·n inves­                              dation. I Ba11t•n·111arrh Park. P.O. Rox !1101, Q11in<"y. !'.'IA
ti i;a1h-c findings. documcntalion, and a spei-ifir audience.                               022li!l•!ll o I.
so 1ha1 1he report accurately reHects the invt·stigati\'e lind­
ing-s. is rnncise. expresses the inl'es1i1ta1or s' opinion. and is                              NFI':\ -ti'.! . .'i/11111/11rd J11r Prnjl'.l.,i1J1/f,I <:11111j1l'lr111·,, 11/
appropriale li,r 1he in1ended audienn·(s).                                                  l{,,,J,11111/n:- to l/11:,tl'dm1., J\/11/rri1i/., /11r11/n11,. I !1!12 edi1ion.


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1033-10                                      l'ltOff.SSIONAI.. Ql'ALfflC\
                                                                        · ·nor-s FOil flit!-: IN\'El>TIGATOR



                             Appendix A                                        8-1.1 NFPA Publication. National Fire Protection Asso­
                                                                               ciation. I Batterymarch Park. P.O. Box 9101. Quincy. MA
                                                                               02269-910 I.
  Thi., .�ppn1dix 1.< 110111 part oj tht rtq11imnn1LI of tht> NFPA dornmtnl.
but ,., 111d11dtd for in(ormo/1011 p11rpo:i,., 011/_v.
                                                                                    N FPA 907M, Ma11ual for the Dttnmi11atio11 of £/erlrirnl Fir,
A-1-2 See Appendix C.                                                          (',1111.1es, 1988 edition

A-1-3.5     Sec Appendix C.                                                       �FPA 921. G111d, Jnr Fir, nm/ Explosion htl'�fl1gati1111s.
                                                                                1992 edition.
A-1-3.7 Fin: investiga1io11 technology and prdctices are
changing rapidl\'. 11 is esscmial for an investigaior·s perfor­
mance and knowledge lO remain current. l1 is rerom­
menckd that irwesLigaiors be familiar with the technical                                                         Appendix C
information and proredurnl guidance presemed in materi­
als such as N FP:\ 921. G111dr fM Fir, 1111d Explosrn11 /11i•nt1-                 TIii\. l/1/w11d1x ,., 1101 t1 p1111 ,if thr r,q11trr111ml.< 11/ t/11\,V Fl'A dM11111mt.
gatt011.,. and I FPA 907M. Ma1111al for lllf Delrr111i1111tio11 of             /111/ 1.1 111r/11drd Jnr 111/nrmn/1011 /mrpo,r, 1111/v.
£/u/r,ca/ Fire C:1111.,r�.

A-3-l.l      Chapter IO ur N FP:\ Y:! I. G111dt for Ftrr 1111d                     Explanation of the Standards and Concepts of JPRs
F.xplo.11011 fll1•r,ti,1(11/U111.,, also provides the investigator wi1h
guidance.                                                                         The primary benefit of establishing national professional
                                                                               qualification standards is Lo provide hoth public and pri­
A-3-1.3 IL is understood that fire investig-dwrs with arrest                   v:11e sectors with a framework or the job requiremem · for
powers, fire investigators without arrest powers, and pri­                     1he fire sen·ice. Other benefits include enhanceme111 or the
vate set:lor fire investigators may utilize this standard. The                 profession. individual as well as organizational growth and
rolluwin!{ i� a list of those due process issues that are ci-i1i­              development. and standardization or prac:tices.
cal to 1he fire irwestigation field. h is the responsibility of
the authori1v having jurisdiction lO select those issues tha1                        FP:\ professional qualification s1andards identify the
are peninenl lu its respeeti1·e agency or organilation.                        minimum job performance requirements for spedfir fire
Those selened issues should 1hen serve a� the measure­                         service positions. The standards may be used for !raining
ment criteria nr training guideline fur 1he a11thuri1y ha,·ing                 design and evaluation. certification, measuring and critiqu­
jurisdiction.                                                                  ini.{ on-the-joh performance, defining hiring practices. an<l
                                                                               selling organi1.alional policies. procedures. and goals
   Due process issues ( ·raced in task terms): C:onduc-1                       lmher applic-dtions are encouraged).
search and sei1.ure. 1:onduct arrests, conduc:1 in1en·iews and
interrogations. maintain chain or c11st0dy. utiUze rriminal                       Professional qualification standards for a specific.: job are
and civil statutes applicable to the situation, and in1apre1                   organized by major areas of responsibility defined as
and utilize coniract law and insurance law. Shu1v due pro­                     clutie�. For example. the fire fighter's duties may include
cess of dvil rights laws. privacy laws, the fuir credit report­                fire suppression, rescue. and water supply; and the Publir
ing acl. laws of trespass and invasion of privacy. laws 1)1                    Fire F.ducatur·s duties may include edu,Jtion, planning
libel and slander. laws nr puni1ivt" damages anrl a11.ur11cy­                  and developmenc. and administration. 0lllies are mi!jor
clic111 privilege. and other rules of t"videnc.:e and la,, appli­              lunctional areas of responsibility within a joh.
cahle to the authority having jurisdiction.                                       The prolessional qualific.:ation standards are wrillen as
                                                                               joh performance requirements U PRs). Job performance
A-3-2.9 Examples or campered sys1ems: Fire donn                                requirements describe the performance required for a spe­
propped open. sprinkler sys1ems shut down. dccec.:u1111 s �s·                  cific job. J PRs arc grouped according to the duties or a job.
1em, disabled. Examples of proper operating systems: Fire                      The complete lisc ol J PRs for each duty defines wha1 an
doors. sprinkler activatiun s s1ems, shutduwn uf H \':\C.:                     individual mus1 be able to do in order 10 successti.Jlly per­
systems. au1umatit: u1ili1 · shutoff.                                          form that duty. Together. the duties and their J PRs define
                                                                               the joh parameters; that is, the prolessinnal qualification
A-3-3.3 The use or a :15-mm camera or ucher similar high                       standard as a whole is a job description.
l[uaJi1� format is highly 1·ecommended. The use ol various
video camera S)'Stems IO supplemenl visual documema1iun
                                                                                              Breaking Down the Components of a
may be utilized and is encouraged.
                                                                                                Job Performance Requirement


          Appendix B          Referenced Publications                             The job performance requirement is the assembly of three
                                                                               critical components. These components are as follows:

B-1 The following doc·uments or portions thereof are rel�                         (I)     Task tu be performed.
erenced within this standard for informational purposes
only and thus are not considered part of the requirements                         (2) Tools. equipment. or materials that must be pro­
of this document. The edition indicated for each rererence                     vided to successfully comple1e the task.
is the current edition as of the date of the NFP:\ issuance
of this document.                                                                 (:\\    [valuation par.uneLers and/or performance outcomes.


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                                                                                                                                           ICOVE 95
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                                                                       Al'l'ENDIX C                                                       1033-11


                             Example                                                               Examples of Potential Uses

                                                                                Certification:
(l)Task                (I) Vcnlilatc a pitdtecl roof:
(2) Tuols, equipment, (2) Gi\'en an ax. a pike pole. an extension                  JPRs can be used to establish the evaluation criteria for
    or materials          lad cler, ancl a mof ladder;                          certification at a specific job level. When used for certifica­
(:l) Evaluation        (:l) So that a 4-fnnr x �-foot hole is created,          tion, evaluation must be based on the successful comple­
     parameters and         all ,·cr11ila1iun barriers arc rcrnu,·ed; lan­      tion of JPRs.
     pcrform:111n,          ders arc pmpcrl pusi1iu11cd lur
                                                                                   First, the evaluator ,·erifies the attainment of prerequi­
     OlllClllllC�           n,111ib1i1111: ,·t:n1.ila1ion holes Jrc uir­
                            re(lly placed. and smoke. heat. and
                                                                                site knowledge and skills prior to J PR naluation. This
                            c11mhus1i1111 by-pruducrs arc released              might be Lhrough documentalion review or 11..>sting.
                            lrom the srruuurc.                                     Next, the candidate is evaluated on completing the J PRs.
                                                                                The candidate pcrfor·ms 1Jre task and is 1111flhmted based on
   The task ro be performed: The first component is a con­                      the evaluation parameters and/or performance outcomes.
rise statement of what the person is supposed to du.                            This performance-based evaluation can be either practical
   Tools, equipment. or materials that must be provided to                      (for psychomotor kills• sn<.:h as "ventilate a roof") or writ­
surcessfully complete the task: This wmponcnt ensures                           ten (for cognitive ·kills• such as "interpret burn patterns").
that all indi"iduals completing the task arc given the same                        Using Example I. a practicaJ performance-based evalua­
minimal tools, equipment, or materials when being entlu­                        tion would measure the ability to "t>ttt/1/au a p,trhrd rQ(){"
ated. By listing these items. the performer and C\'al11al0r                     The candidate passes this particular evaluation if the stan­
know what must be provided in order lO complete the task.                       dard was met. i.e.. a 4-foot x -t-foot hole was <.:reated: all
   E\'aluation parameters and/or performan<.:e outcomes:                        \'entilation barriers were removed; ladders were properly
This romponent defines how well one must perform each                           positioned for ventilation; ventilation holes wc:re correctly
task-for both the performer and evaluator. The: JPR                             placed: <1nd smoke. heat. and combustion b)·-produc.:ts
guides performan<.:e outcomes. This portion of the JPR                          were released from the structure.
promotes consistency in evaluation by redu<.:ing 1.he \'ari­                       For Example 2. when evaluating the task "i11terprtl bum
ables used ro gauge perli1rmancc.                                               polll'YII.I," the candidate <.:ould be given a written assessment
   In addition to these three component.s. the J PR rnntains                    in the form of a scenario. photographs. and drawings and
prerequisite knowledge and skills. Just as the term prere<t­                    then be asked to respond lO specific written questiom
uisite su�gests. these are th<- necessar>· knowledge and                        related to the J PRs e\'aluation parameters.
skills one musr have p,;or to being able tu perform the
task. Prerequisite knowledge and skills are the foundation                            • NOTE: Psyd1umot0r skills are tho,e tJh s1cal skills 1ha1
for task performance.                                                                 an be dcmo11srratcd or observed. Cogniti\'e skills (or men­
   Onre the components and prerequisit.es are put                                     tal skill�) cannot be ohscrvcd. bu1 rather are evaluated on
                                                                                      hvw one completes the task (prcx:css orienterll ot on the
wgc:ther. the JPR might read as follows:
                                                                                      task ourcumc (pmcluct oriented).
Example l:
                                                                                  Remember. when evaluating performance. candidates
    The Fire Fighter I shall "e111ilatc a pitched roof; given an                must be gi\'en the 1.ools. equipment. or materials listed in
ax. a pike pole, an extension ladder. and a roof ladder; so                     the J PR before they can be properly evaluated. e.g., an ax,
that a -t-foot x -t-foot hole is treated: all \'entilation barri­               a pike pole, an extension ladder, and a roof ladder.
er� are removed; ladders are properly positioned for ven­
tilalion; and ventilation holes arc correctly placed.                           Curriculum Development/Training Design and Evaluation:
    l'r,,,-rq11i.\lll' K11owlnig,: Pitched roof construction. safet�
rnnsiderntions with roof ventilation, the dangers associated                       The s1a1emencs contained in this documenr that refer Lo
,,·ith improper ventilation. knowledge of ventilation tools,                    joh performance were designed and wriuen as job perfor­
the effects of ventilation on fire growth, smoke movement                       mance requiremems. While a resemblance 10 insLruc.:tiunal
in �truer ures. signs of hackdraf1, and the knowledge of vet··                  objecti\'cs may be presem. these statements should not be
tical and forced ventilation.                                                   used in a Leaching si1.uation until after they have been mod­
    Prerrq111sitr Skill.,: Remove roof covering: properly ini­                  ified for instrunional use.
tiate roof cUls; use the pike pole tn clear ventilation barri­
                                                                                   Job performance requirements stale the behaviors
ers: use ax properly for sounding. cu11ing. and stripping;
                                                                                re<�uired 10 perform specific skill(s) on the job, as opposed
position ladrlers: and climb and position sell' on larlrler.
                                                                                to a learning siwation. These statements should be con­
Example 2:                                                                      verted into instructional objectives with behaviors. c.:ondi­
                                                                                tions. and standards that can be measured within the
   The Fire Investigator shall interp1·e1 burn pauerns,
                                                                                teaching/learning environment. A job performance
given standard equipment and tools and some stru<.:turaV
                                                                                requirement that requires a fire fighter 10 "ventilate a
co111ent remains, so that each individual pattern is evalu­
                                                                                pitched roof' should be convened into a measurable
ated with respect co the burning characteristics of the
                                                                                instructional objective for use when teaching t.he skill. (Su
material involved.
                                                                                 Figure C- / .)
   Pr,mp1i.1it, K11ou•l,dgf: Knowledge of fire development
and the interrelationship of heal release rate, form. and                           Using Example 1. a terminal instructional objeclive
ignitability of materials.                                                      might read as follows:
   Pr,r,q11i.1i1, Sir.ill: Interpret the elTens of burning chara<.:­               The candidate will \'entilate a pitched roof, given a sim­
teristics on different types of materials.                                      ulated roof. an ax. a pike pole. an extension ladder, and a


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 1033-12                                    l'ROFt:SSIOI\AL. QllALIFIC.\TIO:-JS FOR Fl Rf. J:S-\'E.STJC.\TllR




                                          Converting JPRs into lnstNctional ObJectives




                                                                      JPR
                                        The Fire Fighter I shaN ventilate a pitched roof given an axe, a pike
                                        pole, an extension ladder, and a roof ladder so lhat a 4 foot x 4-
                                        foot hole is created, al ventilation barriers are removed. ladders
                                        ara properly positioned for ventila1ions, and ventilation holes ara
                                        corractfy placed.

  The JPR, Prerequisite                 Prerequisite Knowl9dge:
  KnowledQe, and Pre--
  requisite�kiRls •e all      __.       Pitched roof construction; safety considerations with roof
  used as information from              ventilation; the dangers associated with improper ventilation;
  which instruc1ional                   knowledge of ventiTation tools: lh• effects of 'lfl(lfj/ation on fire
  objec1i-..s can be writtan.           growth; smoks mo119ment in structures; signs of baclu:tafr; and the
                                        knowledge of vwtical and forctld ventNation.
                                         Prerequisite SkiUs:                                                                JPRs may be convertad
                                                                                                                            inlO any I ns1ructional
                                        Remove roof coWHing; properly initiate roof cvts; use the pike pole                 Objective formal For
                                        to clew V811tilation ba7WS; uu axe property for soundng, cutting,                   demonstration purposes.
                                        laddlK.
                                                                             .              • MIit on
                                        and ltripping; position ladders; and climb and position                             these examples have
                                                                                                                            been wriDan as Terminal




                                                                                                                             I
                                                                                                                            and Example Objectives.
                                                                                                                                       •




                                                                         I
                                                       EXAMPLE TERMINAL OBJECTIVES




                               =�
                     (Cognitive/Knowledge Domain)                                                 (Psychomotor/Skilla Domain)
                                                                                                 (•• example skills chec:klist)

                The Fire Fighter shall describe the methods,                              The Fire Fighter shall demonstrate ventilating
                processes, and safety precautions to be taken                             a pitched roof, given the proper tools, within 5
                in order to perform ventilation on a pitched                              minutes and with 100 percent accuracy on the
                roof in a safe manner.                                                    skills checklist.

                   EXAMPLE;                QBJECTJYES                                         EXAMPLE: ENABLING OBJECTIVES
                                                                                                     (Psychomotor)

         The Fire Fighter shall list the safety precaU1ions to be                      The Fire Fighter shall demonstrate removing roof
         taken when performing roof ventilation as staled in the                       covering in order to prepare a roof for ventilation with
         "XYZ- ventilation manual, with    ·x· percent accuracy                        100 percent accuracy on the skills checklist
         on a written evaluation
                                                                                       The Fire Fighter shall demonstrate the removal of
         The Fire Fighter shall explain the effects of ventilation                     ventilation obstNctions (ceiling materials, insulation,
         on fire growth as ii relates to fire spread, intensity and                    etc.) in order to clear the ventilation opening with
         movement through s1ructures, with       ·x·
                                                   percent                             100 percent accuracy on the skills checklist
         acccuracy on a wrinen evaluation.
                                                                                       The Fire Fighter shall demonstral& the proper use of
         Giwn the conditions surrounding an incident. the Fire                         firefighting tools used for ventilation with 100 percent
         Ftghter will iden1ify baduiraft, flashover, and olher                         accuracy on the skills checklist

         of ven1ilation on these conditions with
         accuracy on a writlen evaluation.
                                                   -x·
         dange rous concitlons aealBd by fire and the effects
                                                      percent




                                                 Figure Cl   Converting JPRs into Instructional Objectives.

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                                                                                                                                ICOVE 97
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                                                                      .\l'PDll>IX I:                                                                     1033-1 '.I


                                                                                                                  Other Uses

                          Skills Checklist                                          While the profession;,! qualifications standards are prin­
                         (Roof Ventilation)                                     cipally used to guide the de1·elopmen1 or training and n:r­
                                                                                tili!·ation programs, there are a number of other potential
                                                                                uses li1r these documents. Because 1hey are written in Jl'R
                                                                                terms, rhey lend themselves well to any area of the profes­
                                                                                sion where a level of performance or c:xpertise must be
                                                                                determined. Sm·h areas might include:
 OBJECTIVE: The Fire Fighter shall dem onstrate
            ventilating a pitched roof, given                                          Employee Evaluation/Performance Critiquing.                             The
            the prope r tools, within 5 minut es                                J PRs can be used as a guide by boil, Lhe supen·isor and the
            and with 100 percent accuracy on                                    employee during an evaluation. The J PRs for a sper.:iti,· job
            the skills checklist .                                              rldine casks that arc: ess1:n1ial lO perform on the job. as wl'll
                                                                                a, 1he evaluation criteria lo meaMtrC: when those casks are
                                                                                comple1ed.
YES     NO
                                                                                    Es1ablisbio1 Hiring Criteria. Professional qualifica­
DD 1. 4' X 4' hole was created.                                                 tions standards ma� he used in a numher of ways Lo further
                                                                                the ,·s1ablishmt:n1 of hiring criteria. !'he Authority I l aving
DD 2. All ventilation barriers were removed.                                    Jurisdiction might simply require cer1ilic·a1ion at a sper.:ifir
                                                                                job level. e.g .. Fire Fighter I. The J l'Rs might also he used
DD 3. Ladders were property positioned.                                         ,L� the basis for prt·-1:111plorment scrL-ening hy esrnhlishing
                                                                                essen1ial minimal LasL:.s and the related evaluation criteria.

DD 4. (directly
       Ventilation holes were correctly placed
                 over fire, highest point, etc.).
                                                                                :\n adcled bendit is 1ha1 indi,·iduals in1ert"sted in emplo ·­
                                                                                men1 ran wort.. toward 1hc minimal hi1ing criteria at !oral
                                                                                collcl(cS.

D D 5. Task completed within 5 minutes.
       (Time to complete task: ___ ).
                                                                                     Employee Development. The pnofessio11al qualilica-
                                                                                1inns standards c.111 ht· useful to bo1h the employee and the
                                                                                employer in cle\'clopi11!,( a plan for 1he indi\'idual's growth
                                                                                ...-i1hi11 the org-aniLation. The J l'Rs amt the associated prc­
                    figun, C.? Skills Chttklisl.                                rcq11isi1e skill, ancl knowledge can he used as a guide 111
                                                                                determine addi1ional !raining and ecl11ra1inn required li>r
roof ladder. so 1ha1 I 00 pen:enl an:urar.:v is a11ained ,m a                   1he employee lll mas1er the job or proli::ssion.
,kills checklist. (,\1 a minimum. till' skills checklist should
                                                                                   Succession Planning. Succt'ssion planning or career
i11dude each of 1he measure111en1 ni1eria from 1he J PR.)
                                                                                pa1hing addresses tlw ellicient placcme111 nf people inio
   Figure C-'.!, is a sample chet·klist for use in l'valuating                  johs in response 111 n1n-en1 needs and an1icipated li1111rc
1his o�jenin·.                                                                  needs. A career dnclopmen1 path can he established fi,r
                                                                                1argc1ecl individuals 10 prepare 1hc111 li,r growth within 1he
    While I he dilli·rences between job perfiirma111·e re1111ire-
                                                                                oqr,111i1.ation. The J l'R, anti prcrcq11isi1e knowledge and
11w111s and ins1rur1ional 11�jer1ivc, are suhtle in appcar­
                                                                                skills n1ulcl 1hen he used to de\'clup a11 ccl11ut1ional pa1h to
.uKe. the p11rp0Sl' or each Slalelllelll diflers weatly. j PRs                  aid in the inclivid11.11"s .11hanccnw111 within the orga11i,..1-
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         ..
"·oriel . fn,1r11rtio11al objective�. ho\\ever. an, u�d 10 iden-
1il� \\'hat students must du ;11 th�· end of a 1rai11i11� session                 Establishing Organizational Policies, Procedures, and
and are s1a1.ed in heha1·ioral 1er111, 1ha1 are mcasurahlc in                   Go als. The J PR, ra11 be inu1rpora1ecl into organi,�11ional
1he lrainin� environment.                                                       poli1 ics. prnceclun·�. ancl goals "'here employee pcrli,r­
                                                                                mam·e i� addrc�secl.
    lh con\'erting J l'Rs into in,1runional ohje('I il·e,. i11s1ruc-
111rs \\'ill be able w dariry perlor111a11n, expl·lta1io11, ,111d                                                Bibliography
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    Prerequisite skills a11d kmm lcd l(t· should Ix· n,11,·cned                 1111111u n11d lt,.,/r11clir111. 28. 42-48.
i11to enablinl( objecti\"eS. These help to define 1hc course
!'ontent. The n,urse con1e111 should include ea!'h of 1he                            C:e1rcm. '.\-1.. & <>Toole. T. (191(1). f:11n,1wlnl 11•1/h //w
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                                                                           NFPA® 1033

                                                                           Standard for

                                           Professional Qualifications for Fire Investigator

                                                                           2014 Edition

                            This edition of NFPA 1033, Standard for Professional Qualifications for Fire Investigator, was
                         prepared by the Technical Committee on Fire Investigator Professional Qualifications and
                         released by the Technical Correlating Committee on Professional Qualifications. It was issued
                         by the Standards Council on May 28, 2013, with an effective date of June 17, 2013, and
                         supersedes all previous editions.
                            This edition of NFPA 1033 was approved as an American National Standard on June 17,
                         2013.

                                                        Origin and Development of NFPA 1033
                             In 1972, the Joint Council of National Fire Service Organizations (JCNFSO) created the
                         National Professional Qualifications Board (NPQB) for the fire service to facilitate the devel-
                         opment of nationally applicable performance standards for uniformed fire service personnel.
                         On December 14, 1972, the board established four technical committees to develop those
                         standards using the National Fire Protection Association (NFPA) standards-making system.
                         The initial committees addressed the following career areas: fire fighter, fire officer, fire
                         service instructor, and fire inspector and investigator.
                             The original concept of the professional qualification standards as directed by the
                         JCNFSO and the NPQB was to develop an interrelated set of performance standards
                         specifically for the uniformed fire service. The various levels of achievement in the stan-
                         dards were to build upon each other within a strictly defined career ladder. In the late
                         1980s, revisions of the standards recognized that the documents should stand on their
                         own merit in terms of job performance requirements for a given field. Accordingly, the
                         strict career ladder concept was revised, except for the progression from fire fighter to
                         fire officer, in order to allow civilian entry into many of the fields. These revisions facili-
                         tated the use of the documents by other than the uniformed fire services. The Committee
                         on Fire Inspector and Investigator Professional Qualifications met and produced the first
                         edition of NFPA 1031, Professional Qualifications for Fire Inspector, Fire Investigator, and Fire
                         Prevention Education Officer. This document was adopted by the NFPA in May of 1977.
                             In 1986, the joint council directed the committee to develop separate documents for each
                         of the job functions the original document addressed. This direction was coupled with the
                         decision to remove the job of fire investigator from the strict career path previously followed
                         and allow for civilian entry. The first edition of this new document, NFPA 1033, Standard for
                         Professional Qualifications for Fire Investigator, was adopted by the NFPA in June of 1987.
                             In 1990, responsibility for the appointment of professional qualifications committees and
                         the development of the professional qualifications standards was assumed by the NFPA. The
                         Professional Qualifications Correlating Committee was appointed by the NFPA Standards
                         Council and assumed the responsibility for coordinating the requirements of all of the docu-
                         ments in the professional qualifications system.
                             The NFPA Standards Council established the Technical Committee on Fire Investigator Pro-
                         fessional Qualifications in 1990 to address the need for specific expertise in the area of fire inves-
                         tigation to review and revise the existing document. This committee completed a job task analysis
                         and developed specific job performance requirements for the job of fire investigator.
                             The intent of the Technical Committee on Fire Investigator Professional Qualifications
                         was to develop clear and concise job performance requirements that can be used to deter-
                         mine that an individual, when measured to the standard, possesses the skills and knowledge
                         to perform as a fire investigator. These job performance requirements are applicable to fire
                         investigators both public and private.




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                                                                                                                                       ICOVE 101
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              In the 2003 edition of the document, the Technical Committee made changes to bring it into conformance with the
          new Manual of Style for NFPA Technical Committee Documents.
              In the 2009 edition of the document, the Technical Committee added an explanatory annex item to the Scope
          statement. The committee’s intent was to clarify that the standard applies to all fire investigation, including outside,
          vehicle, and other fires that are not structural. The committee added a skills maintenance requirement to Chapter 1
          and included more specific Requisite Knowledge statements to various JPRs.
              For the 2014 edition, the fire investigator is expected to remain current on the topics listed in the general requirements
          section of the document by attending formal education courses, workshops, and seminars, and through professional pub-
          lications and journals. While the technical committee views a high-school level education as a minimum, the fire investigator
          is expected to maintain up-to-date basic knowledge of topics already projected in the document, as well as knowledge of fire
          protection systems; evidence documentation, collection, and preservation; and electricity and electric systems. Definitions
          for fire analysis, fire dynamics, fire investigation technology, and fire science have been added. The technical committee has also
          made clarifications under the evidence collection and preservation section of the document.




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                                                                  COMMITTEE PERSONNEL                                                                    1033–3


                              Correlating Committee on Professional Qualifications (PQU-AAC)

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                                                Rep. International Fire Service Training Association

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R. Kirk Hankins, Fire Consulting & Case Review                                         VA [E]
International, Inc., MO [SE]                                                               Rep. National Board on Fire Service Professional
    Rep. International Association of Arson Investigators, Inc.                            Qualifications
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    Rep. North American Fire Training Directors                                            Rep. National Volunteer Fire Council

                                                                         Alternates

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    Professional Qualifications                                                        Michael S. Mayers, Hilton Head Island Fire & Rescue,
John Michael Brackin, Kaplan University, MS [U]                                        SC [U]
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    Qualifications                                                                     Gregory G. Noll, Hildebrand & Noll Associates Inc.,
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    Rep. TC on Public Fire Educator Professional
                                                                                       Jim Stumpf, Organizational Quality Associates, ID [SE]
    Qualifications
                                                                                           Rep. TC on Wildfire Suppression Professional
Edward M. Hawthorne, Shell Oil Company, TX [U]                                             Qualifications
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    Qualifications                                                                         Rep. TC on Fire Marshal Professional Qualifications
Ronald L. Hopkins, TRACE Fire Protection & Safety                                      George A. Wendt, Travelers Insurance Company, NJ [I]
Consultant, Ltd., KY [SE]                                                                  Rep. TC on Fire Investigator Professional Qualifications
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    Rep. TC on Public Safety Telecommunicator Professional                                 Qualifications
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    Rep. TC on Fire Service Occupational Safety and Health                                 Professional Qualifications

Thomas McGowan, NFPA Staff Liaison

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                NOTE: Membership on a committee shall not in and of itself constitute an endorsement of the Association or
                any document developed by the committee on which the member serves.
                Committee Scope: This Committee shall have primary responsibility for the management of the NFPA
                Professional Qualifications Project and documents related to professional qualifications for fire service,
                public safety, and related personnel.




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                      Technical Committee on Fire Investigator Professional Qualifications (PQU-FIV)

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     Steve Campolo, Leviton Manufacturing Company, Inc.,                                  Services, PA [M]
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     Ryan M. Cox, Kodiak Enterprises, Inc., IN [SE]                                       Hal C. Lyson, Fire Cause Analysis, ND [SE]
     Don J. Hancock, Insurance Committee for Arson                                        Russell K. Mason, Central County Fire and Rescue,
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                                                                                          David W. Miller, Grinnell Mutual Reinsurance Company,
     Daniel P. Heenan, U.S. Bureau of Alcohol, Tobacco,
                                                                                          IA [I]
     Firearms & Explosives, NV [U]                                                        Gerard J. Naylis, Penn Well Company, NJ [M]
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     FL [U]                                                                               Dennis W. Smith, Premier Fire Consulting Services, LLC,
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     Todd Kerkhoff, Consolidated Fire District #2, KS [U]                                 G. Terry Smith, EFI Global, IA [SE]
     Roger A. Krupp, State Farm Fire & Casualty Company,                                  Howard S. Stein, State of Connecticut, CT [C]
     IL [SE]                                                                              Christopher Williams, Office of the Fire Marshal of
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     Gerald A. King, Armstrong Teasdale LLP, MO [U]                                           (Alt. to M. S. Linscott)
         (Alt. to K. J. Clinkinbeard)

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     Woodrow W. Stratton, U.S. Department of Homeland
     Security, MD [U]
        (Alt. to M. L. Donahue)

     Thomas McGowan, NFPA Staff Liaison

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                   changes in the membership may have occurred. A key to classifications is found at the back of the document.
                   NOTE: Membership on a committee shall not in and of itself constitute an endorsement of the Association or
                   any document developed by the committee on which the member serves.
                   Committee Scope: This Committee shall have primary responsibility for documents on professional qualifi-
                   cations required of fire investigators.




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                            NFPA 1033                                    ority and the training program content to prepare individuals to
                                                                         meet the job performance requirements of this standard.
                          Standard for                                   1.3.6        * Evaluation of job performance requirements
                                                                         shall be by individuals who are qualified and approved by
              Professional Qualifications                                the authority having jurisdiction.
                 for Fire Investigator                                   1.3.7       * The investigator shall have and maintain at a
                                                                         minimum an up-to-date basic knowledge of the following
                          2014 Edition                                   topics beyond the high school level:
                                                                          (1) Fire science
IMPORTANT NOTE: This NFPA document is made available for
                                                                          (2) Fire chemistry
use subject to important notices and legal disclaimers. These notices
                                                                          (3) Thermodynamics
and disclaimers appear in all publications containing this document
                                                                          (4) Thermometry
and may be found under the heading “Important Notices and Dis-
                                                                          (5) Fire dynamics
claimers Concerning NFPA Documents.” They can also be obtained
                                                                          (6) Explosion dynamics
on request from NFPA or viewed at www.nfpa.org/disclaimers.
                                                                          (7) Computer fire modeling
    NOTICE: An asterisk (*) following the number or letter                (8) Fire investigation
designating a paragraph indicates that explanatory material               (9) Fire analysis
on the paragraph can be found in Annex A.                                (10) Fire investigation methodology
    Changes other than editorial are indicated by a vertical             (11) Fire investigation technology
rule beside the paragraph, table, or figure in which the                 (12) Hazardous materials
change occurred. These rules are included as an aid to the               (13) Failure analysis and analytical tools
user in identifying changes from the previous edition.                   (14) Fire protection systems
Where one or more complete paragraphs have been de-                      (15) Evidence documentation, collection, and preservation
leted, the deletion is indicated by a bullet (•) between the             (16) Electricity and electrical systems
paragraphs that remain.
                                                                         1.3.8         * The fire investigator shall remain current in
    Information on referenced publications can be found in               the topics listed in 1.3.7 by attending formal education courses,
Chapter 2 and Annex C.                                                   workshops, and seminars and/or through professional
                                                                         publications and journals.

                    Chapter 1 Administration
                                                                                    Chapter 2 Referenced Publications
1.1* Scope. This standard identifies the minimum job perfor-
mance requirements (JPRs) for fire investigators.                        2.1 General. The documents or portions thereof listed in this
                                                                         chapter are referenced within this standard and shall be con-
1.2     * Purpose. The purpose of this standard shall be to              sidered part of the requirements of this document.
specify the minimum job performance requirements for
serving as a fire investigator in both the private and public            2.2 NFPA Publications. (Reserved)
sectors.                                                                 2.3 Other Publications.
1.2.1 It is not the intent of this standard to restrict any juris-         Merriam-Webster’s Collegiate Dictionary, 11th edition, Merriam-
diction from exceeding the minimum requirements.                         Webster, Inc., Springfield, MA, 2003.
1.2.2 Job performance requirements for each duty are the                 2.4 References for Extracts in Mandatory Sections. (Re-
tasks an individual must be able to perform in order to success-         served)
fully carry out that duty; however, they are not intended to
measure a level of knowledge. Together, the duties and job
performance requirements define the parameters of the
                                                                                            Chapter 3 Definitions
job of fire investigator.
1.3 General.                                                             3.1 General. The definitions contained in this chapter shall
                                                                         apply to the terms used in this standard. Where terms are not
1.3.1 The fire investigator shall be at least age 18.
                                                                         defined in this chapter or within another chapter, they shall
1.3.2 The fire investigator shall have a high school diploma             be defined using their ordinarily accepted meanings within
or equivalent.                                                           the context in which they are used. Merriam-Webster’s Collegiate
                                                                         Dictionary, 11th edition, shall be the source for the ordinarily
1.3.3 The authority having jurisdiction shall conduct a thor-            accepted meaning.
ough background and character investigation prior to accepting
an individual as a candidate for certification as a fire investigator.   3.2 NFPA Official Definitions.
1.3.4 The job performance requirements for fire investigator             3.2.1* Approved. Acceptable to the authority having juris-
shall be completed in accordance with established practices              diction.
and procedures or as they are defined by law or by the author-
ity having jurisdiction.                                                 3.2.2        * Authority Having Jurisdiction (AHJ).            An
                                                                         organization, office, or individual responsible for enforcing the
1.3.5 * The job performance requirements found in this                   requirements of a code or standard, or for approving equipment,
stan- dard are not required to be mastered in the order they             materials, an installation, or a procedure.
appear. Training agencies or authorities shall establish
instructional pri-


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3.2.3 Labeled. Equipment or materials to which has been              3.3.9 Job Performance Requirement. A statement that de-
attached a label, symbol, or other identifying mark of an orga-      scribes a specific job task, lists the items necessary to complete
nization that is acceptable to the authority having jurisdiction     the task, and defines measurable or observable outcomes and
and concerned with product evaluation, that maintains peri-          evaluation areas for the specific task.
odic inspection of production of labeled equipment or mate-
                                                                     3.3.10 Requisite Knowledge. Fundamental knowledge one
rials, and by whose labeling the manufacturer indicates com-
                                                                     must have in order to perform a specific task.
pliance with appropriate standards or performance in a
specified manner.                                                    3.3.11 Requisite Skills. The essential skills one must have in
                                                                     order to perform a specific task.
3.2.4            * Listed. Equipment, materials, or services
included in a list published by an organization that is acceptable   3.3.12 Task. A specific job behavior or activity.
to the author- ity having jurisdiction and concerned with
                                                                     3.3.13 Tools.
evaluation of products or services, that maintains periodic
inspection of production of listed equipment or materials or            3.3.13.1 * Investigator’s Special Tools. Tools of a specialized
periodic evaluation of services, and whose listing states that          or unique nature that might not be required for every fire
either the equipment, material, or service meets appropriate            investigation.
designated standards or has been tested and found suitable
                                                                        3.3.13.2 * Standard Equipment and Tools. Investigator’s tools
for a specified purpose.
                                                                        and equipment that every investigator must carry.
3.2.5 Shall. Indicates a mandatory requirement.
3.2.6 Should. Indicates a recommendation or that which is
advised but not required.                                                            Chapter 4 Fire Investigator
3.2.7 Standard. A document, the main text of which contains
only mandatory provisions using the word “shall” to indicate         4.1 General.
requirements and which is in a form generally suitable for           4.1.1 * The fire investigator shall meet the job performance
mandatory reference by another standard or code or for adop-         requirements defined in Sections 4.2 through 4.7.
tion into law. Nonmandatory provisions are not to be consid-
ered a part of the requirements of a standard and shall be           4.1.2        * The fire investigator shall employ all
located in an appendix, annex, footnote, informational note,         elements of the scientific method as the operating analytical
or other means as permitted in the Manual of Style for NFPA          process through- out the investigation and for the drawing of
Technical Committee Documents.                                       conclusions.

3.3 General Definitions.                                             4.1.3       * Because fire investigators are required to
                                                                     perform ac- tivities in adverse conditions, site safety
3.3.1 Due Process. The compliance with the criminal and              assessments shall be completed on all scenes and regional
civil laws and procedures within the jurisdiction where the          and national safety stan- dards shall be followed and
incident occurred.                                                   included in organizational poli- cies and procedures.
3.3.2 Fire Analysis. The process of determining the origin,          4.1.4       * The fire investigator shall maintain
cause, development, responsibility, and, when required, fail-        necessary liaison with other interested professionals and
ure analysis of a fire or explosion.                                 entities.
3.3.3 Fire Department. An organization providing rescue,             4.1.5        * The fire investigator shall adhere to all
fire suppression, and related activities. For the purposes of this   applicable legal and regulatory requirements.
standard, the term “fire department” includes any public, pri-
vate, or military organization engaging in this type of activity.    4.1.6 The fire investigator shall understand the organization
                                                                     and operation of the investigative team within an incident
3.3.4 Fire Dynamics. The detailed study of how chemistry,            management system.
fire science, and the engineering disciplines of fluid mechan-
ics and heat transfer interact to influence fire behavior.           4.2 * Scene Examination. Duties shall include inspecting and
                                                                     evaluating the fire scene, or evidence of the scene, and/or
3.3.5 Fire Investigation. The process of determining the ori-        conducting a comprehensive review of documentation gener-
gin, cause, and development of a fire or explosion.                  ated during the examination(s) of the scene if the scene is no
3.3.6 Fire Investigation Technology. Applied technology sub-         longer available, so as to determine the area or point of origin,
jects related to and used in fire investigation including, but       source of ignition, material(s) ignited, and act or activity that
not limited to, specialized knowledge and skills in documenta-       brought the ignition source and materials together and to as-
tion of the investigation, scene and evidence processing, and        sess the subsequent progression, extinguishment, and con-
failure analysis and analytical tools.                               tainment of the fire.

3.3.7 Fire Investigator. An individual who has demonstrated          4.2.1 Secure the fire ground, given marking devices, suffi-
the skills and knowledge necessary to conduct, coordinate,           cient personnel, and special tools and equipment, so that un-
and complete a fire investigation.                                   authorized persons can recognize the perimeters of the inves-
                                                                     tigative scene and are kept from restricted areas and all
3.3.8 Fire Science. The body of knowledge concerning the             evidence or potential evidence is protected from damage or
study of fire and related subjects (such as combustion, flame,       destruction.
products of combustion, heat release, heat transfer, fire and
explosion chemistry, fire and explosion dynamics, thermody-          (A) Requisite Knowledge. Fire ground hazards, types of evi-
namics, kinetics, fluid mechanics, fire safety) and their inter-     dence, and the importance of fire scene security, evidence
action with people, structures, and the environment.                 preservation, and issues relating to spoliation.
                                                                     (B) Requisite Skills. Use of marking devices.




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4.2.2 * Conduct an exterior survey, given standard                    (A) Requisite Knowledge. Basic understanding of ignition
equipment and tools, so that evidence is identified and               processes, characteristics of ignition sources, and ease of igni-
preserved, fire damage is interpreted, hazards are identified         tion of fuels; debris-layering techniques; use of tools and
to avoid injuries, accessibility to the property is determined,       equipment during the debris search; types of fire cause evi-
and all potential means of ingress and egress are discovered.         dence commonly found in various degrees of damage; and
(A) Requisite Knowledge. The types of building construction           evidence-gathering methods and documentation.
and the effects of fire on construction materials, types of evi-      (B) Requisite Skills. Ability to employ search techniques that
dence commonly found in the perimeter, evidence preserva-             further the discovery of fire cause evidence and ignition
tion methods, the effects of fire suppression, fire behavior and      sources, use search techniques that incorporate documenta-
spread, fire patterns, and a basic awareness of the dangers of        tion, and collect and preserve evidence.
hazardous materials.
                                                                      4.2.7 Reconstruct the area of origin, given standard and, if
(B) Requisite Skills. Ability to assess fire ground and struc-        needed, special equipment and tools as well as sufficient per-
tural condition, observe the damage from and effects of the           sonnel, so that all protected areas and fire patterns are identi-
fire, and interpret fire patterns.                                    fied and correlated to contents or structural remains, items
4.2.3 Conduct an interior survey, given standard equipment            potentially critical to cause determination and photo docu-
and tools, so that areas of potential evidentiary value requiring     mentation are returned to their prefire location, and the ar-
further examination are identified and preserved, the eviden-         ea(s) or point(s) of origin is discovered.
tiary value of contents is determined, and hazards are identi-
                                                                      (A) Requisite Knowledge. The effects of fire on different types
fied in order to avoid injuries.
                                                                      of material and the importance and uses of reconstruction.
(A) Requisite Knowledge. The types of building construction
and interior finish and the effects of fire on those materials,       (B) Requisite Skills. Ability to examine all materials to deter-
the effects of fire suppression, fire behavior and spread, evi-       mine the effects of fire, identify and distinguish among differ-
dence preservation methods, fire patterns, effects of building        ent types of fire-damaged contents, and return materials to
contents on fire growth, the relationship of building contents        their original position using protected areas and fire patterns.
to the overall investigation, weather conditions at the time of       4.2.8        * Inspect the performance of building systems,
the fire, and fuel moisture.                                          including detection, suppression, HVAC, utilities, and
(B) Requisite Skills. Ability to assess structural conditions, ob-    building compart- mentation, given standard and special
serve the damage and effects of the fire, discover the impact of      equipment and tools, so that a determination can be made as
fire suppression efforts on fire flow and heat propagation, and       to the need for expert resources, an operating system’s
evaluate protected areas to determine the presence and/or             impact on fire growth and spread is considered in
absence of contents.                                                  identifying origin areas, defeated and/or failed systems are
                                                                      identified, and the system’s poten- tial as a fire cause is
4.2.4 Interpret fire patterns, given standard equipment and           recognized.
tools and some structural or content remains, so that each
individual pattern is evaluated with respect to the burning           (A) Requisite Knowledge. Different types of detection, sup-
characteristics of the material involved and in context and re-       pression, HVAC, utility, and building compartmentation such
lationship with all patterns observed and the mechanisms of           as fire walls and fire doors; types of expert resources for build-
heat transfer that led to the formation of the pattern.               ing systems; the impact of fire on various systems; common
(A) Requisite Knowledge. Fire dynamics, fire development,             methods used to defeat a system’s functional capability; and
and the interrelationship of heat release rate, form, and ig-         types of failures.
nitibility of materials.                                              (B) Requisite Skills. Ability to determine the system’s opera-
(B) Requisite Skills. Ability to interpret the effects of burning     tion and its effect on the fire; identify alterations to, and fail-
characteristics on different types of materials.                      ure indicators of, building systems; and evaluate the impact of
                                                                      suppression efforts on building systems.
4.2.5 Interpret and analyze fire patterns, given standard
equipment and tools and some structural or content remains,           4.2.9 Discriminate the effects of explosions from other types
so that fire development is determined, methods and effects           of damage, given standard equipment and tools, so that an
of suppression are evaluated, false origin area patterns are rec-     explosion is identified and its evidence is preserved.
ognized, and all areas of origin are correctly identified.
                                                                      (A) Requisite Knowledge. Different types of explosions and
(A) Requisite Knowledge. Fire behavior and spread based on            their causes, characteristics of an explosion, and the differ-
fire chemistry, fire dynamics, and physics, fire suppression ef-      ence between low- and high-order explosions.
fects, building construction.
                                                                      (B) Requisite Skills. Ability to identify explosive effects on
(B) Requisite Skills. Ability to interpret variations of fire pat-    glass, walls, foundations, and other building materials; distin-
terns on different materials with consideration given to heat         guish between low- and high-order explosion effects; and ana-
release rate, form, and ignitibility; distinguish impact of differ-   lyze damage to document the blast zone and origin.
ent types of fuel loads; evaluate fuel trails; and analyze and
synthesize information.                                               4.3 Documenting the Scene. Duties shall include diagram-
                                                                      ming the scene, photographing, and taking field notes to be
4.2.6 Examine and remove fire debris, given standard equip-           used to compile a final report.
ment and tools, so that all debris is checked for fire cause
evidence, potential ignition source(s) is identified, and evi-        4.3.1 Diagram the scene, given standard tools and equip-
dence is preserved without investigator-inflicted damage or           ment, so that the scene is accurately represented and evi-
contamination.                                                        dence, pertinent contents, significant patterns, and area(s) or
                                                                      point(s) of origin are identified.


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(A) Requisite Knowledge. Commonly used symbols and legends              (B) Requisite Skills. Ability to evaluate the fire incident to
that clarify the diagram, types of evidence and patterns that need to   determine forensic, engineering, or laboratory needs.
be documented, and formats for diagramming the scene.
                                                                        4.4.4 Maintain a chain of custody, given standard investiga-
(B) Requisite Skills. Ability to sketch the scene, basic drafting       tive tools, marking tools, and evidence tags or logs, so that
skills, and evidence recognition and observational skills.              written documentation exists for each piece of evidence
4.3.2        * Photographically document the scene, given               and evidence is secured.
standard tools and equipment, so that the scene is                      (A) Requisite Knowledge. Rules of custody and transfer pro-
accurately depicted and the photographs support scene                   cedures, types of evidence (e.g., physical evidence obtained at
findings.                                                               the scene, photos, and documents), and methods of record-
(A) Requisite Knowledge. Working knowledge of high-                     ing the chain of custody.
resolution camera and flash, the types of film, media, and
                                                                        (B) Requisite Skills. Ability to execute the chain of custody
flash available, and the strengths and limitations of each.
                                                                        procedures and accurately complete necessary documents.
(B) Requisite Skills. Ability to use a high-resolution camera,
flash, and accessories.                                                 4.4.5 Dispose of evidence, given jurisdictional or agency
                                                                        regulations and file information, so that the disposal is timely,
4.3.3 Construct investigative notes, given a fire scene, avail-         safely conducted, and in compliance with jurisdictional or
able documents (e.g., prefire plans and inspection reports),            agency requirements.
and interview information, so that the notes are accurate, pro-
vide further documentation of the scene, and represent com-             (A) Requisite Knowledge. Disposal services available and
plete documentation of the scene findings.                              common disposal procedures and problems.
(A) Requisite Knowledge. Relationship between notes, diagrams,          (B) Requisite Skills. Documentation skills.
and photos, how to reduce scene information into concise notes,
and the use of notes during report writing and legal proceedings.       4.5 Interview. Duties shall include obtaining information re-
                                                                        garding the overall fire investigation from others through ver-
(B) Requisite Skills. Data-reduction skills, note-taking skills,        bal communication.
and observational and correlating skills.
                                                                        4.5.1 Develop an interview plan, given no special tools or equip-
4.4 Evidence Collection/Preservation. Duties shall include us-          ment, so that the plan reflects a strategy to further determine the
ing proper physical and legal procedures to identify, document,         fire cause and affix responsibility and includes a relevant ques-
collect, and preserve evidence required within the investigation.       tioning strategy for each individual to be interviewed that pro-
4.4.1 Utilize proper procedures for managing victims and                motes the efficient use of the investigator’s time.
fatalities, given a protocol and appropriate personnel, so that
                                                                        (A) Requisite Knowledge. Persons who can provide informa-
all evidence is discovered and preserved and the protocol pro-
                                                                        tion that furthers the fire cause determination or the affixing
cedures are followed.
                                                                        of responsibility, types of questions that are pertinent and effi-
(A) Requisite Knowledge. Types of evidence associated with              cient to ask of different information sources (first responders,
fire victims and fatalities and evidence preservation methods.          neighbors, witnesses, suspects, and so forth), and pros and
                                                                        cons of interviews versus document gathering.
(B) Requisite Skills. Observational skills and the ability to ap-
ply protocols to given situations.                                      (B) Requisite Skills. Planning skills, development of focused
4.4.2          * Locate, document, collect, label, package,             questions for specific individuals, and evaluation of existing
and store evidence, given standard or special tools and                 file data to help develop questions and fill investigative gaps.
equipment and evidence collection materials, so that it is              4.5.2 Conduct interviews, given incident information, so that
properly identified, preserved, collected, packaged, and                pertinent information is obtained, follow-up questions are
stored for use in testing, legal, or other proceedings and              asked, responses to all questions are elicited, and the response
examinations, ensuring cross- contamination            and              to each question is documented accurately.
investigator-inflicted damage to eviden- tiary items is
avoided and the chain of custody is established.                        (A) Requisite Knowledge. Types of interviews, personal infor-
                                                                        mation needed for proper documentation or follow-up, docu-
(A) Requisite Knowledge. Types of evidence, authority re-
                                                                        menting methods and tools, and types of nonverbal communi-
quirements, impact of removing evidentiary items on civil or
                                                                        cations and their meaning.
criminal proceedings (exclusionary or fire-cause supportive
evidence), types, capabilities, and limitations of standard and         (B) Requisite Skills. Ability to adjust interviewing strategies
special tools used to locate evidence, types of laboratory tests        based on deductive reasoning, interpret verbal and nonverbal
available, packaging techniques and materials, and impact of            communications, apply legal requirements applicable, and ex-
evidence collection on the investigation.                               hibit strong listening skills.
(B) Requisite Skills. Ability to recognize different types of           4.5.3 Evaluate interview information, given interview tran-
evidence and determine whether evidence is critical to the              scripts or notes and incident data, so that all interview data is
investigation.                                                          individually analyzed and correlated with all other interviews,
4.4.3 Select evidence for analysis, given all information from          corroborative and conflictive information is documented, and
the investigation, so that items for analysis support specific          new leads are developed.
investigation needs.
                                                                        (A) Requisite Knowledge. Types of interviews, report evalua-
(A) Requisite Knowledge. Purposes for submitting items for              tion methods, and data correlation methods.
analysis, types of analytical services available, and capabilities
and limitations of the services performing the analysis.




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(B) Requisite Skills. Data correlation skills and the ability to              (A) Requisite Knowledge. Analytical methods and proce-
evaluate source information (e.g., first responders and other                 dures (e.g., hypothesis development and testing, systems
witnesses).                                                                   analysis, time lines, link analysis, fault tree analysis, and
                                                                              data reduction matrixing).
4.6 Post-Incident Investigation. Duties shall include the inves-
tigation of all factors beyond the fire scene at the time of the              (B) Requisite Skills. Analytical and assimilation skills.
origin and cause determination.
                                                                              4.7 Presentations. Duties shall include the presentation of
4.6.1 Gather reports and records, given no special tools,                     findings to those individuals not involved in the actual in-
equipment, or materials, so that all gathered documents are                   vestigations.
applicable to the investigation, complete, and authentic; the
chain of custody is maintained; and the material is admissible                4.7.1* Prepare a written report, given investigative findings,
in a legal proceeding.                                                        documentation, and a specific audience, so that the report
                                                                              accurately reflects the investigative findings, is concise, ex-
(A) Requisite Knowledge. Types of reports needed that facili-
                                                                              presses the investigator’s opinion, contains facts and data that
tate determining responsibility for the fire (e.g., police re-
                                                                              the investigator relies on in rendering an opinion, contains
ports, fire reports, insurance policies, financial records, deeds,
                                                                              the reasoning of the investigator by which each opinion was
private investigator reports, outside photos, and videos) and
                                                                              reached, and meets the needs or requirements of the in-
location of these reports.
                                                                              tended audience(s).
(B) Requisite Skills. Ability to identify the reports and docu-
ments necessary for the investigation, implement the chain of                 (A) Requisite Knowledge. Elements of writing, typical compo-
custody, and organizational skills.                                           nents of a written report, and types of audiences and their
                                                                              respective needs or requirements.
4.6.2 Evaluate the investigative file, given all available file
information, so that areas for further investigation are iden-                (B) Requisite Skills. Writing skills, ability to analyze informa-
tified, the relationship between gathered documents and                       tion and determine the reader’s needs or requirements.
information is interpreted, and corroborative evidence and
                                                                              4.7.2 Express investigative findings verbally, given investiga-
information discrepancies are discovered.
                                                                              tive findings, notes, a time allotment, and a specific audience,
(A) Requisite Knowledge. File assessment and/or evaluation                    so that the information is accurate, the presentation is com-
methods, including accurate documentation practices, and                      pleted within the allotted time, and the presentation includes
requisite investigative elements.                                             only need-to-know information for the intended audience.
(B) Requisite Skills. Information assessment, correlation, and                (A) Requisite Knowledge. Types of investigative findings, the
organizational skills.                                                        informational needs of various types of audiences, and the
4.6.3 Coordinate expert resources, given the investigative file,              impact of releasing information.
reports, and documents, so that the expert’s competencies are                 (B) Requisite Skills. Communication skills and ability to de-
matched to the specific investigation needs, financial expendi-               termine audience needs and correlate findings.
tures are justified, and utilization clearly furthers the investigative
goals of determining cause or affixing responsibility.                        4.7.3 Testify during legal proceedings, given investigative
                                                                              findings, contents of reports, and consultation with legal
(A) Requisite Knowledge. How to assess one’s own expertise,
                                                                              counsel, so that all pertinent investigative information and evi-
qualification to be called for expert testimony, types of expert
                                                                              dence are presented clearly and accurately and the investiga-
resources (e.g., forensic, CPA, polygraph, financial, human
                                                                              tor’s demeanor and attire are appropriate to the proceedings.
behavior disorders, and engineering), and methods to iden-
tify expert resources.                                                        (A) Requisite Knowledge. Types of investigative findings, types
(B) Requisite Skills. Ability to apply expert resources to further            of legal proceedings, professional demeanor requirements, and
the investigation by networking with other investigators to iden-             an understanding of due process and legal proceedings.
tify experts, questioning experts relative to their qualifications,           (B) Requisite Skills. Communication and listening skills
and developing a utilization plan for use of expert resources.                and ability to differentiate facts from opinion and deter-
4.6.4 Establish evidence as to motive and/or opportunity,                     mine accepted procedures, practices, and etiquette during
given an incendiary fire, so that the evidence is supported by                legal proceedings.
documentation and meets the evidentiary requirements of the
jurisdiction.                                                             •
(A) Requisite Knowledge. Types of motives common to incen-                                  Annex A       Explanatory Material
diary fires, methods used to discover opportunity, and human
behavioral patterns relative to fire-setting.                                    Annex A is not a part of the requirements of this NFPA document
                                                                              but is included for informational purposes only. This annex contains
(B) Requisite Skills. Financial analysis, records gathering and
                                                                              explanatory material, numbered to correspond with the applicable text
analysis, interviewing, and interpreting fire scene information
                                                                              paragraphs.
and evidence for relationship to motive and/or opportunity.
4.6.5 * Formulate an opinion concerning origin, cause, or                     A.1.1 The intent of this standard applies to all fire investiga-
re- sponsibility for the fire, given all investigative findings, so           tion, including outside, wildland, vehicle, and structural fires.
that the opinion regarding origin, cause, or responsibility for a             A.1.2 See Annex B.
fire is supported by the data, facts, records, reports,
documents, and evidence.                                                      A.1.3.5 See Annex B.


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A.1.3.6 Those responsible for conducting evaluations should          ation; some organizations do not recognize equipment as
have experience levels or qualifications exceeding those being       listed unless it is also labeled. The authority having jurisdic-
evaluated or be certified as a fire investigator by an accredited    tion should utilize the system employed by the listing organi-
agency, and be trained or qualified to conduct performance           zation to identify a listed product.
evaluations. The latter, for authorities having jurisdiction, can
                                                                     A.3.3.13.1 Investigator’s Special Tools. Examples      include
be based on instructor certification. Many agencies select spe-
                                                                     heavy equipment, hydrocarbon detectors, ignitible liquid de-
cialists to evaluate various sections of Chapter 4, which the
                                                                     tection canine teams, microscopes, flash point testers, and so
committee accepts as best practice.
                                                                     forth.
A.1.3.7 Basic up-to-date information on these topics can be
found in the current edition of NFPA 921. NFPA 921 is written        A.3.3.13.2 Standard Equipment and Tools. An investigator’s
on a basic level for competency in fire and explosion investi-       standard equipment and tools include a high-resolution cam-
gation and updated on a three-year cycle “to establish guide-        era, flash, and film or media; a flashlight; a shovel; a broom;
lines and recommendations for the safe and systematic inves-         hand tools; a tape measure or other measuring device; safety
tigation or analysis of fire and explosion incidents” and “is        clothing and equipment; and evidence collection equipment
designed to produce a systematic, working framework or out-          and supplies. Examples of safety clothing and equipment are
line by which effective fire and explosion investigation and         found in the safety chapter of NFPA 921.
origin and cause analysis can be accomplished.” As stated in         A.4.1.1 Job Performance Requirements (JPRs) are organized
NFPA 921, “[It] is not intended as a comprehensive scientific        according to duties. Duties describe major job functions and
or engineering text. Although many scientific and engineer-          result from a job task analysis. JPRs, in total, define the tasks
ing concepts are presented within the text, the user is cau-         that investigators must be able to perform to be qualified; how-
tioned that these concepts are presented at an elementary            ever, it is not logical, nor the committee’s intent, that each and
level and additional technical sources, training, and education      every JPR be performed during each investigation. Rather, the
may often need to be utilized in an investigation.... The docu-      investigator should correctly apply selected JPRs as related to
ments or portions thereof listed in this [document] are refer-       the investigation demands or the individual responsibilities.
enced within this guide and shall be considered part of the
requirements of this document.”                                      A.4.1.2 The basic methodology for fire investigation involves
                                                                     collecting data, then developing and testing hypotheses (see the
A.1.3.8 Fire investigation technology and practices are              methodology chapter of NFPA 921). The methodology recom-
changing rapidly. It is essential for an investigator’s perfor-      mended is the scientific method. Key steps in the scientific
mance and knowledge to remain current. It is recommended             method are as follows:
that investigators be familiar with the technical information
and procedural guidance presented in materials such as               (1) Recognizing the need
NFPA 921 and Fire Protection Handbook.                               (2) Defining the problem
                                                                     (3) Collecting data
A.3.2.1 Approved. The National Fire Protection Association           (4) Analyzing the data
does not approve, inspect, or certify any installations, proce-      (5) Developing the hypothesis
dures, equipment, or materials; nor does it approve or evalu-        (6) Testing the hypothesis
ate testing laboratories. In determining the acceptability of        (7) Selecting final hypothesis
installations, procedures, equipment, or materials, the author-
ity having jurisdiction may base acceptance on compliance                Developing hypotheses is an ongoing process of data col-
with NFPA or other appropriate standards. In the absence of          lection and evaluation that happens throughout the investiga-
such standards, said authority may require evidence of proper        tion. Hypotheses are generally developed and tested for evalu-
installation, procedure, or use. The authority having jurisdic-      ating fire spread and growth, evaluating the nature of fire
tion may also refer to the listings or labeling practices of an      patterns, and determining origin, cause, and responsibility.
organization that is concerned with product evaluations and is           Testing of hypotheses can be either experimental or cogni-
thus in a position to determine compliance with appropriate          tive. Ultimately, the hypotheses and conclusions reached are
standards for the current production of listed items.                only as dependable as the data used or available. Each investi-
A.3.2.2 Authority Having Jurisdiction (AHJ). The phrase “au-         gator must apply a level of confidence in that opinion. For
thority having jurisdiction,” or its acronym AHJ, is used in         additional information regarding evaluation methods see
NFPA documents in a broad manner, since jurisdictions and            ASTM E 678, Standard Practice for Evaluation of Scientific or Tech-
approval agencies vary, as do their responsibilities. Where pub-     nical Data.
lic safety is primary, the authority having jurisdiction may be a    A.4.1.3 For additional information concerning safety re-
federal, state, local, or other regional department or indi-         quirements or training, see applicable local, state, or federal
vidual such as a fire chief; fire marshal; chief of a fire preven-   occupational safety and health regulations and Safety at Scenes
tion bureau, labor department, or health department; build-          of Fire and Related Incidents.
ing official; electrical inspector; or others having statutory
authority. For insurance purposes, an insurance inspection de-       A.4.1.4 Fire investigators are encouraged to interact with
partment, rating bureau, or other insurance company repre-           other professionals or organizations in their respective com-
sentative may be the authority having jurisdiction. In many          munities. The interaction is important for the effective trans-
circumstances, the property owner or his or her designated           fer of information, which can be general, such as what is re-
agent assumes the role of the authority having jurisdiction; at      lated in training seminars or journals, or specific to one
government installations, the commanding officer or depart-          particular incident.
mental official may be the authority having jurisdiction.            A.4.1.5 It is understood that fire investigators with arrest pow-
A.3.2.4 Listed. The means for identifying listed equipment           ers, fire investigators without arrest powers, and private sector
may vary for each organization concerned with product evalu-         fire investigators can utilize this standard. The following is a


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list of those legal and regulatory requirements that are critical               Annex B       Explanation of the Standard and
within the fire investigation field. It is the responsibility of the                           Concepts of JPRs
AHJ to select those issues that are pertinent to its respective
agency or organization. Those selected issues should then serve             This annex is not a part of the requirements of this NFPA document
as the measurement criteria or training guideline for the AHJ.           but is included for informational purposes only.
    Due process issues (stated in task terms) are as follows:            B.1 Explanation of the Standard and Concepts           of    Job
Conduct search and seizure, conduct arrests, conduct inter-              Performance Requirements (JPRs). The primary benefit of
views, maintain chain of custody, utilize criminal and civil stat-       establishing national professional qualification standards is to
utes applicable to the situation, and interpret and utilize con-         provide both public and private sectors with a framework of
tract law and insurance law. Show due process of civil rights            the job requirements for the fire service. Other benefits
laws, privacy laws, the fair credit reporting act, laws of trespass      include enhancement of the profession, individual as well
and invasion of privacy, laws of libel and slander, laws of puni-        as organizational growth and development, and standard-
tive damages and attorney-client privilege, rules of evidence            ization of practices.
including spoliation, and other laws applicable to the AHJ.                  NFPA professional qualification standards identify the
                                                                         minimum JPRs for specific fire service positions. The stan-
A.4.2 Documents reviewed when a scene is not otherwise avail-
                                                                         dards can be used for training design and evaluation, certi-
able can include but not be limited to incident reports, notes,
                                                                         fication, measuring and critiquing on-the-job performance,
photographs, diagrams and sketches, evidence, witness state-
                                                                         defining hiring practices, and setting organizational poli-
ments, test results, laboratory reports, and other information that
                                                                         cies, procedures, and goals. (Other applications are en-
would assist in the determination of the origin and cause.
                                                                         couraged.)
A.4.2.2 For additional information concerning safety re-                     Professional qualification standards for a specific job are
quirements or training, see applicable local, state, or federal          organized by major areas of responsibility defined as duties.
occupational safety and health regulations; Safety at Scenes of          For example, the fire fighter’s duties might include fire sup-
Fire and Related Incidents; IAAI Fire Investigator Safety Checklist;     pression, rescue, and water supply; the public fire educator’s
NFPA 472; Hazardous Materials for Fire and Explosion Investiga-          duties might include education, planning and development,
tors: Guidelines and Procedures; Safety and Health Guidelines for Fire   and administration. Duties are major functional areas of re-
and Explosion Investigators; and the safety chapter of NFPA 921.         sponsibility within a job.
A.4.2.8 Examples of tampered systems are fire doors                          The professional qualifications standards are written as
propped open, sprinkler systems shut down, and detection                 JPRs. JPRs describe the performance required for a specific
systems disabled. Examples of system failures include con-               job. JPRs are grouped according to the duties of a job. The
struction features such as compartmentation or fire doors that           complete list of JPRs for each duty defines what an indi-
do not confine a fire, sprinkler systems that do not control a           vidual must be able to do in order to successfully perform
fire, smoke control systems that do not function correctly,              that duty. Together, the duties and their JPRs define the
HVAC systems that do not perform adequately, and alarm sys-              job parameters; that is, the standard as a whole is a job
tems that fail to provide prompt notification. It is always im-          description.
portant to consider the design and intention of the system.              B.2 Breaking Down the Components of a JPR. The JPR is the
Investigators should keep in mind the possibility that systems           assembly of three critical components. (See Table B.2.) These
might not have failed to function, but rather, might have been           components are as follows:
overcome by the fire development.
                                                                         (1) Task that is to be performed
A.4.3.2 The use of a high-resolution camera is highly recom-             (2) Tools, equipment, or materials that must be provided to
mended. The use of various video camera systems to supple-                   successfully complete the task
ment visual documentation can be utilized and is encouraged.             (3) Evaluation parameters and/or performance outcomes
A.4.4.2 Fire investigators should determine and identify in
advance what authority and specific need each may have to
seize and hold item(s) considered to be evidence. Where such
authority or need is lacking, items should not be seized.                Table B.2 Example of a JPR
    For additional information regarding evidence collection
methods, see ASTM E 860, Standard Practice for Examining and             (1) Task                          (1) Ventilate a pitched roof
Preparing Items that Are or May Become Involved in Criminal or Civil     (2) Tools, equipment, or          (2) Given an ax, a pike pole,
Litigation.                                                                  materials                          an extension ladder, and
    For additional information regarding evidence collec-                                                       a roof ladder
tion methods, see ASTM E 1188, Standard Practice for Collec-             (3) Evaluation parameters         (3) So that a 4 ft × 4 ft hole is
tion and Preservation of Information and Physical Items by a Tech-           and performance                    created, all ventilation
nical Investigator.                                                          outcomes                           barriers are removed,
A.4.6.5 For additional information regarding evaluation                                                         ladders are properly
methods, see ASTM E 678, Standard Practice for Evaluation of                                                    positioned for ventilation,
Scientific or Technical Data.                                                                                   ventilation holes are
                                                                                                                correctly placed, and
A.4.7.1 For additional information regarding the contents of                                                    smoke, heat, and
a written report and evaluation methods, see ASTM E 620,                                                        combustion by-products
Standard Practice for Reporting Opinions of Scientific or Technical                                             are released from the
Experts, and ASTM E 678, Standard Practice for Evaluation of Sci-                                               structure
entific or Technical Data.


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B.2.1 The Task to Be Performed. The first component is a                 tical (for psychomotor skills such as “ventilate a roof”) or writ-
concise, brief statement of what the person is supposed to do.           ten (for cognitive skills such as “interpret fire patterns”).
B.2.2 Tools, Equipment, or Materials that Must Be Provided                  Note that psychomotor skills are those physical skills that
to Successfully Complete the Task. This component ensures                can be demonstrated or observed. Cognitive skills (or mental
that all individuals completing the task are given the same              skills) cannot be observed but are evaluated on how one com-
minimal tools, equipment, or materials when being evaluated.             pletes the task (process-oriented) or on the task outcome
By listing these items, the performer and evaluator know what            (product-oriented).
must be provided in order to complete the task.                             Using Example 1, a practical performance-based evalua-
                                                                         tion would measure the ability to “ventilate a pitched roof.”
B.2.3 Evaluation Parameters       and/or   Performance     Out-          The candidate passes this particular evaluation if the standard
comes. This component defines how well one must perform                  was met — that is, a 4 ft × 4 ft hole was created, all ventilation
each task — for both the performer and the evaluator. The                barriers were removed, ladders were properly positioned for
JPR guides performance toward successful completion by                   ventilation, ventilation holes were correctly placed, and
identifying evaluation parameters and/or performance out-                smoke, heat, and combustion by-products were released from
comes. This portion of the JPR promotes consistency in evalu-            the structure.
ation by reducing the variables used to gauge performance.                  For Example 2, to evaluate the task “interpret fire pat-
   In addition to these three components, the JPR contains               terns,” the candidate could be given a written assessment in
requisite knowledge and skills. Just as the term requisite sug-          the form of a scenario, photographs, and drawings and then
gests, these are the necessary knowledge and skills one must             be asked to respond to specific written questions related to the
have to be able to perform the task. Requisite knowledge and             JPR’s evaluation parameters.
skills are the foundation for task performance.                             Remember, when evaluating performance, you must give
   Once the components and requisites are put together, the              the candidate the tools, equipment, or materials (e.g., an ax, a
JPR might read as follows.                                               pike pole, an extension ladder, and a roof ladder) listed in the
B.2.3.1 Example 1. The Fire Fighter I shall ventilate a pitched          JPRs before he or she can be properly evaluated.
roof, given an ax, a pike pole, an extension ladder, and a roof          B.3.2 Curriculum Development/Training Design and Evalua-
ladder, so that a 4 ft × 4 ft hole is created, all ventilation barri-    tion. The statements contained in this document that refer to
ers are removed, ladders are properly positioned for ventila-            job performance were designed and written as JPRs. While a
tion, and ventilation holes are correctly placed.                        resemblance to instructional objectives might be present,
(A) Requisite Knowledge. Pitched roof construction, safety               these statements should not be used in a teaching situation
considerations with roof ventilation, the dangers associated             until after they have been modified for instructional use.
with improper ventilation, knowledge of ventilation tools, the               JPRs state the behaviors required to perform specific
effects of ventilation on fire growth, smoke movement in struc-          skill(s) on the job as opposed to a learning situation. These
tures, signs of backdraft, and the knowledge of vertical and             statements should be converted into instructional objectives
forced ventilation.                                                      with behaviors, conditions, and standards that can be mea-
                                                                         sured within the teaching/learning environment. A JPR that
(B) Requisite Skills. The ability to remove roof covering; prop-         requires a fire fighter to “ventilate a pitched roof” should be
erly initiate roof cuts; use the pike pole to clear ventilation barri-   converted into a measurable instructional objective for use
ers; use an ax properly for sounding, cutting, and stripping; posi-      when teaching the skill. [See Figure B.3.2(a).]
tion ladders; and climb and position self on ladder.                         Using Example 1, a terminal instructional objective might
B.2.3.2 Example 2. The Fire Investigator shall interpret fire            read as follows.
patterns, given standard equipment and tools and some                        The learner will ventilate a pitched roof, given a simulated
structural/content remains, so that each individual pattern is           roof, an ax, a pike pole, an extension ladder, and a roof lad-
evaluated with respect to the burning characteristics of the             der, so that 100 percent accuracy is attained on a skills check-
material involved.                                                       list. (At a minimum, the skills checklist should include each of
                                                                         the measurement criteria from the JPR.)
(A) Requisite Knowledge. Knowledge of fire development
and the interrelationship of heat release rate, form, and ig-                Figure B.3.2(b) is a sample checklist for use in evaluating
nitibility of materials.                                                 this objective.
                                                                             While the differences between job performance require-
(B) Requisite Skills. The ability to interpret the effects of            ments and instructional objectives are subtle in appearance,
burning characteristics on different types of materials.                 the purpose of each statement differs greatly. JPRs state what is
B.3 Examples of Potential Uses.                                          necessary to perform the job in the “real world.” Instructional
                                                                         objectives, however, are used to identify what students must do
B.3.1 Certification. JPRs can be used to establish the evalua-           at the end of a training session and are stated in behavioral
tion criteria for certification at a specific job level. When used       terms that are measurable in the training environment.
for certification, evaluation must be based on the successful                By converting JPRs into instructional objectives, instructors
completion of JPRs.                                                      will be able to clarify performance expectations and avoid con-
   First, the evaluator would verify the attainment of requisite         fusion related to using statements designed for purposes other
knowledge and skills prior to JPR evaluation. This might be              than teaching. Additionally, instructors will be able to add
through documentation review or testing.                                 local/state/regional elements of performance into the stan-
   Next, the candidate would be evaluated on completing the              dards as intended by the developers.
JPRs. The candidate would perform the task and be evaluated                  Requisite skills and knowledge should be converted into
based on the evaluation parameters and/or performance out-               enabling objectives. The enabling objectives help to define
comes. This performance-based evaluation canbe eitherprac-               the course content. The course content should include the


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                                                                                JPR
                                          The Fire Fighter I shall ventilate a pitched roof given an ax, a pike pole,
                                          an extension ladder, and a roof ladder so that a 4-ft 4-ft hole is
                                          created, all ventilation barriers are removed, ladders are properly
                                          positioned for ventilations, and ventilation holes are correctly placed.
 The JPR, requisite
 knowledge, and requisite                 Requisite knowledge:
 skills are all used as              ~
                                          Pitched roof construction, safety considerations with roof ventilation, the
 information from which              r
                                          dangers associated with improper ventilation, knowledge of ventilation
 instructional objectives                 tools, the effects of ventilation on fire growth, smoke movement in
 can be written.                          structures, signs of backdraft, and the knowledge of vertical and forced                  JPRs can be converted
                                          ventilation.                                                                              into any instructional
                                                                                                                                    objective format. For
                                          Requisite skills:                                                                         demonstration purposes,
                                          The ability to remove roof covering; properly initiate roof cuts; use the pike            these examples have
                                          pole to clear ventilation barriers; use an ax properly for sounding, cutting,             been written as terminal
                                          and stripping; position ladders; and climb and position self on ladder.                   and enabling objectives.




                                                                               '
                                                             EXAMPLE TERMINAL OBJECTIVES
                                                                                                                                          I
                                                                                I
                                    t
                    Cognitive/Knowledge Domain
                                                                                                                        t
                                                                                                    Psychomotor/Skills Domain
                                                                                                    (See example skills checklist.)
          The fire fighter shall describe the methods,                                       The fire fighter shall demonstrate ventilating a
          processes, and safety precautions to be taken in                                   pitched roof, given the proper tools, within
          order to perform ventilation on a pitched roof in                                  5 minutes and with 100 percent accuracy on
          a safe manner.                                                                     the skills checklist.

                EXAMPLE ENABLING OBJECTIVES                                                       EXAMPLE ENABLING OBJECTIVES
                              (Cognitive)                                                                    (Psychomotor)
    The fire fighter shall list the safety precautions to be taken                   The fire fighter shall demonstrate removing roof covering in
    when performing roof ventilation as stated in the “XYZ”                          order to prepare a roof for ventilation with 100 percent accuracy
    ventilation manual, with “X” percent accuracy on a written                       on the skills checklist.
    evaluation.
                                                                                     The fire fighter shall demonstrate the removal of ventilation
    The fire fighter shall explain the effects of ventilation on fire                obstructions (ceiling materials, insulation, and so forth) in order
    growth as it relates to fire spread, intensity, and movement                     to clear the ventilation opening with 100 percent accuracy on
    through structures, with “X” percent accuracy on a written                       the skills checklist.
    evaluation.
                                                                                     The fire fighter shall demonstrate the proper use of fire-fighting
    Given the conditions surrounding an incident, the fire fighter                   tools used for ventilation with 100 percent accuracy on the skills
    shall identify backdraft, flashover, and other dangerous                         checklist.
    conditions created by fire and the effects of ventilation on these
    conditions with “X” percent accuracy on a written evaluation.


FIGURE B.3.2(a) Converting JPRs into Instructional Objectives.
                                                                                    OBJECTIVE: The fire fighter shall demonstrate ventilating a pitched
                                                                                               roof, given the proper tools, within 5 minutes and with
requisite knowledge and skills. Using Figure B.3.2(b) as an
                                                                                               100 percent accuracy on the skills checklist.
example, the enabling objectives are pitched roof construc-
tion, safety considerations with roof ventilation, removal of                        YES     NO
roof covering, properly initiated roof cuts, and so forth. These                      ❏       ❏    1. 4-ft 4-ft hole was created.
enabling objectives ensure that the course content supports
the terminal objective.                                                                ❏      ❏    2. All ventilation barriers were removed.
   Note that it is assumed that the reader is familiar with cur-
riculum development or training design and evaluation.                                 ❏      ❏    3. Ladders were properly positioned.
B.4 Other Uses. While the professional qualifications stan-
dards are principally used to guide the development of train-                          ❏      ❏    4. Ventilation holes were correctly placed
ing and certification programs, there are a number of other                                           (directly over fire, at highest point, and so forth).
potential uses for these documents. Because the documents                              ❏      ❏    5. The task was completed within 5 minutes.
are written in JPR terms, they lend themselves well to any area                                       (Time to complete task:          )
of the profession where a level of performance or expertise
must be determined.                                                                 FIGURE B.3.2(b) Skills Checklist.


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                                                                    ANNEX C                                                           1033–15


   These areas might include the following:                                   ASTM E 1188, Standard Practice for Collection and Preservation
                                                                          of Information and Physical Items by a Technical Investigator, 2011.
(1) Employee Evaluation/Performance Critiquing. The JPRs can be
    used as a guide by both the supervisor and the employee               C.1.2.2 IAAI Publications. International Association of Arson
    during an evaluation. The JPRs for a specific job define tasks        Investigators, 2111 Baldwin Avenue, Suite 203, Crofton, MD
    that are essential to perform on the job as well as the evalua-       21114.
    tion criteria to measure when those tasks are completed.                 Fire Investigator Safety Checklist, 1997.
(2) Establishing Hiring Criteria. The professional qualifications
    standards can be used in a number of ways to further the              C.1.2.3 IFSTA Publications. International Fire Service Train-
    establishment of hiring criteria. The AHJ could simply re-            ing Association, 930 North Willis, Stillwater, OK 74078-8045.
    quire certification at a specific job level (e.g., Fire Fighter I).       Hazardous Materials for Fire and Explosion Investigators: Guide-
    The JPRs could also be used as the basis for pre-employment           lines and Procedures, 1998.
    screening by establishing essential minimal tasks and the re-             Safety and Health Guidelines for Fire and Explosion Investigators,
    lated evaluation criteria. An added benefit is that individuals       2002.
    interested in employment can work toward the minimal hir-
    ing criteria at local colleges.                                       C.1.2.4 Other Publications.
(3) Employee Development. The professional qualifications stan-              Munday, J. W., Safety at Scenes of Fire and Related Incidents.
    dards can be useful to both the employee and the em-                  London: Fire Protection Association, 1994.
    ployer in developing a plan for an individual’s growth                C.2 Informational References. The following documents or
    within an organization. The JPRs and the associated req-              portions thereof are listed here as informational resources
    uisite knowledge and skills can be used as a guide to de-             only. They are not a part of the requirements of this docu-
    termine additional training and education required for                ment. These references apply to Annex B material.
    the employee to master the job or profession.
(4) Succession Planning. Succession planning or career path-                  Boyatzis, R. E., The Competent Manager: A Model for Effective
    ing addresses the efficient placement of people into jobs             Performance. New York: John Wiley & Sons, 1982.
    in response to current needs and anticipated future                       Castle, D. K., “Management Design: A Competency Ap-
    needs. A career development path can be established for               proach to Create Exemplar Performers.” Performance and In-
    targeted individuals to prepare them for growth within an             struction 28:1989; 42–48.
    organization. The JPRs and requisite knowledge and skills                 Cetron, M., and O’Toole, T., Encounters with the Future: A
    can then be used to develop an educational path to aid in             Forecast into the 21st Century. New York: McGraw Hill, 1983.
    the individual’s advancement within the organization or                   Elkin, G., “Competency-Based Human Resource Develop-
    profession.                                                           ment: Making Sense of the Ideas.” Industrial & Commercial
(5) Establishing Organizational Policies, Procedures, and Goals.          Training 22:1990; 20–25.
    The JPRs can be incorporated into organizational poli-                    Furnham, A., “The Question of Competency.” Personnel
    cies, procedures, and goals where employee performance                Management 22:1990; 37.
    is addressed.
                                                                              Gilley, J. W., and Eggland, S. A., Principles of Human Resource
                                                                          Development. Reading, MA: Addison-Wesley, 1989.
           Annex C Informational References                                   Hooton, J., Job Performance = Tasks + Competency × Future Forces.
                                                                          Unpublished manuscript, Vanderbilt University, Peabody Col-
C.1 Referenced Publications. The documents or portions                    lege, Nashville, TN, 1990.
thereof listed in this annex are referenced within the informa-               McLagan, P. A., “Models for HRD Practice.” Training & De-
tional sections of this standard and are not part of the require-         velopment Journal. Reprinted, 1989.
ments of this document unless also listed in Chapter 2 for other              McLagan, P. A., and Suhadolnik, D., The Research Report.
reasons.                                                                  Alexandria, VA: American Society for Training and Develop-
C.1.1 NFPA Publications. National Fire Protection Associa-                ment, 1989.
tion, 1 Batterymarch Park, Quincy, MA 02169-7471.                             Nadler, L., “HRD on the Spaceship Earth.” Training and
   NFPA 472, Standard for Competence of Responders to Hazardous           Development Journal, October 1983; 19–22.
Materials/Weapons of Mass Destruction Incidents, 2013 edition.                Nadler, L., The Handbook of Human Resource Development.
   NFPA 921, Guide for Fire and Explosion Investigations, 2011            New York: Wiley-Interscience, 1984.
edition.                                                                      Naisbitt, J., Megatrends, Chicago: Nightingale-Conant, 1984.
   Fire Protection Handbook, 20th edition.                                     Spellman, B. P., “Future Competencies of the Educational
C.1.2 Other Publications.                                                   Public Relations Specialist” (Doctoral dissertation, University of
                                                                          Houston, 1987). Dissertation Abstracts International, 49:1987; 02A.
C.1.2.1 ASTM Publications. ASTM International, 100 Barr                       Springer, J., Job Performance Standards and Measures. A series
Harbor Drive, P.O. Box C700, West Conshohocken, PA 19428-                 of research presentations and discussions for the ASTD Sec-
2959.                                                                     ond Annual Invitational Research Seminar, Savannah, GA
     ASTM E 620, Standard Practice for Reporting Opinions of Scien-       (November 5–8, 1979). Madison, WI: American Society for
tific or Technical Experts, 2004.                                         Training and Development, 1980.
     ASTM E 678, Standard Practice for Evaluation of Scientific or            Tracey, W. R., Designing Training and Development Systems.
Technical Data, 2007.                                                     New York: AMACOM, 1984.
     ASTM E 860, Standard Practice for Examining and Preparing
Items That Are or May Become Involved in Criminal or Civil Litiga-        C.3 References for Extracts in Informational Sections. (Re-
tion, 2007.                                                               served)



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